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    1                      UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF INDIANA
    2                         INDIANAPOLIS DIVISION
    3
         VON DUPRIN, LLC,            )
    4                                )         CAUSE NO.
                Plaintiff,           )         1:16-cv-1942-TWP-DML
    5                                )
                -vs-                 )
    6                                )         Indianapolis, Indiana
         MORAN ELECTRIC SERVICE, INC.,
                                     )         July 24, 2019
    7    MAJOR HOLDINGS, LLC,              ) 8:30 a.m.
         MAJOR TOOL AND MACHINE,           )
    8    INC. and ZIMMER PAPER             ) VOLUME 3
         PRODUCTS INCORPORATED,            )
    9                                      )
                  Defendants.              )
   10

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   13                               BEFORE THE
                           HONORABLE TANYA WALTON PRATT
   14

   15                   OFFICIAL REPORTER'S TRANSCRIPT OF
   16                                BENCH TRIAL
   17

   18

   19

   20

   21   Court Reporter:       Cathy Easley Jones, RDR, FCRR
                              Official Court Reporter
   22                         46 East Ohio Street, Room 290
                              Indianapolis, IN 46204
   23

   24

   25                PROCEEDINGS TAKEN BY MACHINE SHORTHAND
                          COMPUTER-AIDED TRANSCRIPTION
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    1                          A P P E A R A N C E S
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    1       (In open court)
    2              THE COURT:    Good morning everyone.       We are back on

    3   the record.    And I'm going to swear the witness in.

    4              Would you raise your right hand, sir?

    5       (Witness sworn.)
    6              THE COURT:    You may have a seat.

    7              MS. FRENCH:    Thank you, Your Honor.

    8               DANA WILLIAMS, PLAINTIFF'S WITNESS, SWORN

    9                            DIRECT EXAMINATION

   10   BY MS. FRENCH:

   11   Q   Please state your full name for the record.

   12   A   Dana Sam Williams.

   13   Q   Who is your current employer?

   14   A   Geosyntec Consultants.

   15   Q   What is your current position or title?

   16   A   I'm a senior principal, hydrogeologist.

   17   Q   What job responsibilities do you have at Geosyntec?

   18   A   I supervise the preparation and implementation of work

   19   plans, reports related to state and federal Superfund sites

   20   and contaminated industrial sites and things like that.

   21   Q   What professional licenses do you hold?

   22   A   I have a -- I'm licensed in the state of California as a

   23   professional geologist and certified hydrogeologist and also

   24   as a certified environmental manager in the state of Nevada.

   25   Q   Any other professional licenses or certifications?
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    1   A   I'm a qualified storm water pollution prevention plan

    2   developer.

    3   Q   How long have you been working in the environmental

    4   consulting field?

    5   A   Almost 35 years.

    6   Q   Have you ever served as an expert witness before?

    7   A   Yes.

    8   Q   What is your educational background?

    9   A   I have a bachelor of science degree in geology and a

   10   master of science degree in geology, with an emphasis in

   11   hydrogeology.

   12   Q   Have you taken any other educational courses that are

   13   relevant to your testimony today?

   14   A   Yes.     I took a class at the University of California, San

   15   Diego, related to the regulatory framework for hazardous

   16   materials and toxic substances; and then I subsequently taught

   17   that course from 1990 to 1999.

   18   Q   And what was covered in that particular course?

   19   A   All -- well, many environmental regulations, including

   20   CERCLA, RCRA, Clean Water Act, and things like that.

   21   Q   When were you engaged as an expert witness in this case?

   22   A   I believe it was 2016.

   23   Q   Did you prepare an expert report in this case?

   24   A   Yes.

   25   Q   Did you reach an opinion in this case as to whether Von
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    1   Duprin incurred necessary response costs associated with the

    2   releases and threatened releases of hazardous substances at

    3   and migrating from the upgradient properties?

    4   A   Yes, I did.

    5   Q   What was that opinion?

    6   A   That they incurred response costs associated with impacts

    7   associated with the upgradient properties.

    8   Q   What information did you review in order to determine

    9   whether those response costs were necessary?

   10   A   Numerous reports that had been prepared over many years,

   11   most notably probably the Final Investigation Report, which

   12   summarized all those historical investigations.

   13   Q   In your opinion, what made Von Duprin's incurred costs

   14   necessary?

   15   A   They were required to define the nature and extent of

   16   contamination on their property; and in doing so, they

   17   discovered that there was contamination coming onto their

   18   property from the upgradient sources.        And in order to perform

   19   a CERCLA quality cleanup, they needed to investigate those

   20   upgradient properties.

   21   Q   Who required Von Duprin to conduct that investigation?

   22   A   That was IDEM.

   23   Q   What information did you review which confirmed that

   24   Geosyntec's specific investigation costs were necessary?

   25   A   I reviewed the reports prepared by Geosyntec.
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                             WILLIAMS - DIRECT/FRENCH              Vol. 3 - 519


    1   Q   In your experience, what types of costs are considered

    2   necessary to achieve a CERCLA quality cleanup?

    3   A   Costs associated with site characterization, with removal

    4   actions, and with remedial action.

    5   Q   What is an example of the type of cost you would consider

    6   unnecessary to respond to hazardous substance release?

    7   A   If there were building improvements being made that had

    8   nothing to do with the actual cleanup of the property.

    9   Q   Were all of Von Duprin's response costs in this case

   10   necessary to help achieve a CERCLA-quality cleanup?

   11   A   Yes.

   12   Q   How did you determine that the $1.5 million Von Duprin

   13   paid for work performed by other environmental consultants on

   14   behalf of Threaded Rod was a necessary cost of response?

   15   A   That work consisted of numerous investigations on the site

   16   and the surrounding property; and had that work not been

   17   collected or performed, it would have represented a large

   18   magnitude of work that needed to be done in order to gain the

   19   same information that they already had.

   20   Q   Were any of Von Duprin's response costs unrelated to the

   21   investigation, remediation or removal --

   22              COURT REPORTER:     Excuse me.    Please slow down.

   23              MS. FRENCH:    I'm sorry.     I'll slow down.

   24   BY MS. FRENCH:

   25   Q   Were any of Von Duprin's response costs unrelated to the
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                             WILLIAMS - DIRECT/FRENCH              Vol. 3 - 520


    1   investigation, remediation, or removal of hazardous substance

    2   contamination in the plume area?

    3   A   Some of the response costs were due to the investigation

    4   of their own property, but the bulk of the response costs were

    5   associated with the upgradient and downgradient --

    6                MR. MENKVELD:     Objection, Your Honor.    This is

    7   getting into an opinion that this witness has not disclosed in

    8   this case.     There is no allocation performed by this

    9   particular expert as to what part of response costs were

   10   caused by upgradient versus on site.         This is not part of this

   11   expert's opinion.     I would move to strike the answer he just

   12   gave, Your Honor.

   13                MR. GARDNER:    We would join in that objection or

   14   that motion.

   15                THE COURT:     Your response?

   16                MS. FRENCH:     Your Honor, I don't believe the

   17   witness's answer is nonresponsive, and I don't believe it goes

   18   beyond the opinions disclosed in his report.          He's merely

   19   stating the nature of the response costs that he reviewed and

   20   why they're necessary.

   21                MR. MENKVELD:    That's the same objection, Your

   22   Honor.   He very specifically stated that the bulk of response

   23   costs are due to upgradient versus on site.          That's very much

   24   an allocation opinion.        This expert has not performed that

   25   analysis.    He has not disclosed any expert opinion like that
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 1   in this case.

 2              THE COURT:     Well, his answer was the bulk of the

 3   response costs were associated with the upgradient and

 4   downgradient.

 5              MR. MENKVELD:     That's right, Your Honor.

 6              THE COURT:     You object to that?

 7              MR. MENKVELD:     Absolutely, Your Honor.       He can't

 8   talk about how much of the response costs are associated with

 9   upgradient or downgradient.       That's allocation opinion.       That

10   talks about what contamination came from where and how much it

11   cost to remediate contamination from different areas.           That's

12   not part of his opinion.

13              THE COURT:     So far he hasn't done that.       He's just

14   said that they were associated with both upgradient and

15   downgradient.

16              MR. MENKVELD:     Okay.   Maybe I misheard him, Your

17   Honor.   I thought he said "the bulk" -- the word "bulk."

18              THE COURT:     "Some of the response costs were due to

19   the investigation of their own property.         The bulk of the

20   response costs were associated with the upgradient and

21   downgradient."

22              MR. MENKVELD:     That's the part I would move to

23   strike, Your Honor, when he starts talking about quantity of

24   response costs associated with any particular area.

25              MS. FRENCH:     Your Honor, he's not making a
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 1   percentage allocation.      He's not saying who's responsible for

 2   upgradient or downgradient costs.        He's merely stating his

 3   opinion based on the review of the environmental reports he

 4   reviewed in his case.

 5              THE COURT:     I'm going to overrule the objection with

 6   the response that was given.

 7              Next question.

 8   BY MS. FRENCH:

 9   Q   Would Von Duprin have incurred the same cost of response

10   in the overall plume area if not for the risk presented by the

11   commingled plume?

12              MR. MENKVELD:     We would state the objection, Your

13   Honor.

14              THE COURT:     You object to this question also?

15              MR. GARDNER:     We also do, Major defendants, Your

16   Honor.

17              THE COURT:     What's your objection to this question?

18              MR. GARDNER:     The same objection that Marc stated

19   last, in that it's attempting to allocate what costs they've

20   incurred and who was responsible for those costs.

21              MS. FRENCH:     Your Honor, my question goes directly

22   to a matter addressed by the Major defendants in their

23   pretrial brief that they raised related to Mr. Williams'

24   testimony at his deposition.       Merely seeking to get some of

25   that information into the record so that we can have a
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 1   meaningful conversation about the nature of his opinions.

 2               THE COURT:     Okay.   I'm going to overrule, and I'll

 3   let him answer that question also.

 4               Do you want to repeat the question for the witness?

 5               THE WITNESS:     Please.

 6   BY MS. FRENCH:

 7   Q   Would Von Duprin have incurred the same costs of response

 8   in the overall plume area if not for the risk presented by the

 9   commingled plume?

10   A   No.

11   Q   Did you testify at your deposition that Von Duprin would

12   have been required to incur the costs it has incurred if its

13   contamination was the only contamination present on its

14   property?

15   A   Yes.    But I think I also further clarified that because of

16   the upgradient contamination, the amount of the response costs

17   was much greater in the downgradient area because of the vapor

18   intrusion --

19               MR. MENKVELD:     Objection, Your Honor.     We're using

20   words like "bulk," which implies majority.          We're using words

21   like "much greater," which implies majority.          This is not this

22   expert's area.    He's simply supposed to opine as to NCP

23   compliance, whether Von Duprin's costs complied with

24   regulatory standards under the National Contingency Plan, not

25   how much of those costs were necessary as part of any
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 1   upgradient or downgradient property.        This is way outside of

 2   the scope, Your Honor.

 3               MR. GARDNER:     Your Honor, I would only add that it's

 4   not an opinion that's expressed anywhere in his expert report.

 5   I don't think we had any notice that he was planning on

 6   offering this opinion about "the bulk" or "majority."           For

 7   that reason, in addition to Mr. Menkveld, we would also

 8   object.

 9               MS. FRENCH:     Your Honor, my response is the same

10   with respect to this question as it was for the previous

11   question.    Major defendants have specifically raised the issue

12   of whether Mr. Williams opined as to the quantum of costs

13   which are associated with Von Duprin's contamination versus

14   contamination in the plume area overall.

15               I'm merely asking him to clarify that testimony here

16   today for the Court and put it into the record.

17               THE COURT:     Anything further, lawyers?

18               MR. MENKVELD:     Your Honor, I have Mr. Williams'

19   expert report, and maybe what we can do is show Mr. Williams

20   where the opinion he's expressing today is shown in this

21   report.

22               THE COURT:     You're saying it's not in there?

23               MR. MENKVELD:     It's not in there.     No, Your Honor.

24   He's free to flip through it, look at it, point out where he

25   expressed this opinion in his expert report.
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 1                THE COURT:    No, he doesn't need to do that.      I'm

 2   sure he reviewed his report.

 3                What do you want to say?

 4                MS. FRENCH:   Your Honor, again, in --

 5                THE COURT:    Did he discuss this area in the

 6   deposition?

 7                MS. FRENCH:    Yes.   This was discussed in his

 8   deposition.     He gave a response.     Major Defendants have

 9   latched onto one portion of that response.          I'm asking him to

10   provide his entire response for the Court.

11                THE COURT:    Where did they latch onto one portion of

12   his response?    You're saying in the deposition?

13                MS. FRENCH:   In the deposition.     It has come up in

14   the Daubert motions, and it was raised again in the pretrial

15   briefing.     Specifically --

16                THE COURT:    Let's let her finish.     She's looking for

17   something.

18                Lawyers, it is a bench trial; and so I think --

19                MS. FRENCH:    Your Honor, I found the portion.

20                THE COURT:    It appears to be helpful to the Court.

21   So I'm going to --

22                You've found the portion?

23                MS. FRENCH:    Yes, Your Honor.    At pages 14 and 15 of

24   Major defendants pretrial brief, they discuss a section of

25   Mr. Williams' deposition, pages 104, lines 14 through 19,
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 1   which they argue is his admission that Von Duprin would have

 2   incurred the entirety of the costs it now seeks to recover

 3   from the Major defendants as a result of Von Duprin's own

 4   contamination.    They elicited this testimony at the

 5   deposition.    I believe the testimony as given at the

 6   deposition is unclear.      I'm providing the witness an

 7   opportunity to provide his complete answer.

 8              MR. GARDNER:     Just a brief response -- and

 9   understanding it's a bench trial, so I'll defer to your

10   discretion; but he did say that at his deposition, that all of

11   the costs that Von Duprin incurred would have been incurred

12   regardless of whether there was contamination on the

13   upgradient properties.      When we brought that out at the

14   summary judgment stage, at the Daubert stage, the first

15   response that we got from Von Duprin was, "Well, this is not

16   an opinion he is offering."       He never attempted to

17   differentiate between the amount they're incurring from their

18   own property or from the upgradient properties, and it seems

19   like we're here today, and he is expressing an opinion on that

20   topic.

21              THE COURT:     Well, it is a bench trial; and I'm going

22   to allow the witness to answer the question; and lawyers, you

23   can cross-examine; and if later you believe I should ignore

24   it, I'll ignore it, okay.      At this point I think it's helpful

25   to the Court to hear the answer.
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 1                You have your exact question?

 2                MS. FRENCH:     I believe the objection was to the

 3   witness's answer?

 4                THE COURT:     He was giving clarification.

 5                "Did you testify at your deposition that Von Duprin

 6   would have been required to incur the costs it has incurred if

 7   its contamination was the only contamination present on its

 8   property?"

 9                The answer was, "Yes."     And then you said, "I think

10   it also further needs to be clarified because of the

11   upgradient contamination, the amount of the response costs was

12   much greater in the downgradient area because of the vapor

13   intrusion."

14                Was that the end of your answer?

15                THE WITNESS:     Yes.

16                THE COURT:    All right.   Next question.

17   BY MS. FRENCH:

18   Q   Has IDEM required Von Duprin to investigate and respond to

19   contamination not caused by Von Duprin's releases?

20   A   Yes.

21   Q   What investigation and response has IDEM required?

22   A   IDEM required the upgradient investigation on the Major

23   Tool and Moran properties.

24   Q   Any other response costs not directly related to

25   contamination at the Von Duprin property?
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 1   A   Yes.   There were response costs associated with the vapor

 2   mitigation systems installed in the residential and JTV Hill

 3   Park properties.

 4   Q   Has IDEM reviewed those investigations and responses?

 5   A   Yes.

 6   Q   Has IDEM approved those investigations and responses?

 7   A   Yes.

 8   Q   Have you attempted to determine which parties are

 9   responsible for each specific cost incurred by Von Duprin?

10   A   No.

11   Q   What is the National Contingency Plan?

12   A   The National Oil and Hazardous Substances Pollution

13   Contingency Plan is also known as the NCP.

14   Q   And what does the NCP say that's relevant to the case?

15   A   It basically -- in the 560-some-odd pages of the NCP, it

16   lays out the procedures for primarily assessing and

17   remediating Superfund sites, CERCLA sites.          It also lays out

18   the cost recovery procedures and what portions of the NCP are

19   relevant for cost recovery by private parties.

20   Q   If I say "NCP," will you know that I mean the National

21   Contingency Plan?

22   A   Yes.

23   Q   Why is NCP compliance important?

24   A   Again, because it spells out a procedure for which

25   sites -- and it specifically talks about Superfund sites --
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 1   how they're characterized and remediated.

 2   Q   Is this site a Superfund site?

 3   A   No, it is not.

 4   Q   What type of site is this?

 5   A   It's a contaminated site in the state of Indiana being

 6   regulated by IDEM under the voluntary program -- Voluntary

 7   Remediation Program.

 8   Q   What is the standard for determining whether a party's

 9   response actions are in compliance with the NCP?

10   A   The standard as spelled out in Section 300.700 of the NCP

11   is substantial compliance with the NCP.

12   Q   Have you worked on other sites where the work was

13   conducted under the NCP?

14   A   Yes.

15   Q   Does the NCP specifically define substantial compliance?

16   A   It does, yes, in that section, .700.

17              MS. FRENCH:     Dave, could we pull up 300.700, page

18   182, in the NCP.

19              Your Honor I have a paper copy of this statute if

20   you would like it.

21              THE COURT:     Is it an exhibit?

22              MS. FRENCH:     It's not an exhibit.      It's a federal

23   regulation that the Court could judicially notice, but I have

24   a paper copy if you would like it.

25              THE COURT:     I can't read that.     He probably needs a
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 1   paper copy.

 2               MS. FRENCH:    I have ones for everybody.

 3               THE COURT:    Nobody can read that.      What's the

 4   citation?

 5               MS. FRENCH:    We're at 300.700, which I am not sure I

 6   tabbed for that one.      It's page 181 of the PDF, but I'm not

 7   sure that the page numbers provided by Westlaw are meaningful

 8   in any respect.

 9               THE COURT:    Okay.   Found it.

10   BY MS. FRENCH:

11   Q   What does 300.700 tell you about the substantial

12   compliance standards, Mr. Williams?

13   A   Starting at -- I believe that is 700(C)(3)(i), "Private

14   party response action will be considered consistent with the

15   NCP if the action, when evaluated as a whole, is in

16   substantial compliance with the applicable requirements of

17   paragraphs 5 and 6 of this section and results in a CERCLA

18   quality cleanup."

19   Q   Do any other portions of 300.700 address substantial

20   compliance?

21   A   Yes.    In 4 of that same section, actions -- I'll just read

22   that.   "Actions under 300.700(C)(1) will not be considered

23   inconsistent with the NCP, and actions under 300.700(C)(2)

24   will not be considered not consistent with the NCP based on

25   immaterial or insubstantial deviations from the provisions of
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 1   40 CFR, part 300."

 2   Q   Was a different standard for private party response

 3   actions ever required for cost recovery?

 4   A   Up until the Superfund Amendments and Reauthorization Act

 5   of 1986, the requirement for cost recovery was strict

 6   compliance with the NCP; but after the SARA, Superfund

 7   Amendments Reauthorization Act amendments, the standard for

 8   private parties seeking cost recovery was substantial

 9   compliance with the NCP.

10   Q   How does the difference between substantial and strict

11   compliance influence the work done by consultants on

12   environmental cleanups in your experience?

13   A   Well, it's a less rigorous standard.         The strict

14   compliance standard is typically held for actions taken by the

15   EPA or contractors for the EPA where they are going to be

16   using fund-financed dollars to facilitate the cleanup and

17   investigation; and in this case, there were no fund dollars

18   used; and in that instance, they followed the substantial

19   compliance standard.

20   Q   And when you use fund dollars, could you just explain what

21   that term means for the Court?

22   A   There is a Superfund.      I don't know -- I don't know if

23   it's fund dollars or not because I think it's sunsetted, but

24   there is a fund that came from a tax on petroleum that created

25   the dollars that EPA used to clean up sites where no
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 1   responsible parties could be identified.

 2   Q      Approximately how many sites have you worked on that were

 3   subject to the NCP?

 4   A      Twenty-five or 30 sites.

 5   Q      And how many years have you worked on these types of

 6   sites?

 7   A      Since I began my career in 1985.

 8   Q      And 25 to 30 over 35ish years doesn't sound like a whole

 9   lot.     Is there a reason for that?

10   A      These sites take a long time.     A Superfund site takes a

11   long time to go from the preliminary assessment to the RIFS to

12   selecting an alternative and implementing that alternative.

13   I've known people who have worked on the same site for over 30

14   years.

15   Q      Have you worked on site subject to the previous strict

16   compliance standard with the NCP?

17   A      Just one site for a short time; and that was the Montross

18   Chemical Superfund site, and that was in Torrance, California.

19   Q      Have you been responsible for assuring substantial

20   compliance with the NCP at cleanup sites after SARA was

21   enacted?

22   A      Yes.

23   Q      Approximately how many sites have you been responsible for

24   that?

25   A      Probably 20 sites.
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 1   Q   Have you had occasion to work on any site where a private

 2   party's substantial compliance with the NCP was contested in

 3   litigation?

 4   A   Yes.

 5   Q   What was your role -- what was the site?

 6   A   The site was the Ryan Aeronautical facility in San Diego,

 7   California.

 8   Q   What was your role at that site?

 9   A   I was the project director.        So I supervised the

10   development of -- and implementation of a remedial

11   investigation feasibility study, the development of community

12   relations plans, sampling analysis plans and quality assurance

13   project plans.

14   Q   So were you working for a private party client on that

15   project?

16   A   Yes.     I was working for Ryan Aeronautical.

17   Q   Did Ryan Aeronautical seek cost recovery for those costs

18   that you supervised?

19   A   Right.     They sought cost recovery from the United States

20   government.

21   Q   What was the dispute concerning Ryan Aeronautical's NCP

22   compliance?

23   A   The government contended that Ryan's work was not

24   performed in accordance with the NCP.

25   Q   Did you serve as an expert witness in that case?
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 1   A   I did but not in regards to NCP compliance.

 2   Q   You were just responsible for implementing the work?

 3   A   Correct.

 4   Q   Was that -- sorry.      Did you say that the case was decided?

 5   A   The case was decided, yes.

 6   Q   Did the Court reach a determination as to whether the work

 7   you supervised substantially complied with the NCP?

 8   A   Yes.   The Court found on behalf of Ryan Aeronautical.

 9   Q   Has cost recovery on any site you have supervised been

10   denied due to a lack of NCP compliance?

11   A   No.

12   Q   When you are tasked with ensuring substantial compliance

13   with the NCP on any project, what do you do to ensure such

14   compliance?

15   A   I review the requirements of the NCP.         I review the

16   guidance documents that are commonly referred to in the NCP

17   and by EPA for preparing an RIFS or a sampling analysis plan

18   or Quality Assurance Project Plan, and I also look at the

19   local requirements.     So what does the local agencies -- what

20   do the local agencies require?

21   Q   Are some portions of the NCP relevant in some

22   circumstances but not others?

23   A   Yes.

24   Q   Can you explain what you mean by that?

25   A   For -- there's primarily three components of -- that are
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 1   relevant to the NCP, and they relate to site characterization,

 2   to removal actions, and to remedial actions.          For site

 3   characterizations, they essentially have I think in essence

 4   the lowest bar for compliance with the NCP.

 5              For removal actions, there's very specific

 6   requirements to implement a removal action, whether it's time

 7   critical or not time critical removal.

 8              Then for remedial actions, which is the definition of

 9   the final alternative for the site, it has the most

10   requirements under the NCP.

11   Q   How does the type of response impact your analysis of

12   whether a particular response action substantially complies

13   with the NCP?

14   A   Well, depending on the type of response, there may be more

15   activities performed.      There may need to be more permits

16   obtained.    So depending on the activity, there may be more

17   public communication required or less, again, depending on the

18   removal or the remedial alternative.

19   Q   What involvement do state agencies have in ensuring

20   CERCLA-quality cleanups of environmental contamination?

21   A   The state agencies typically are the lead agency when EPA

22   is not the lead, and typically EPA only takes the lead on

23   federal Superfund sites; and in some cases, the state has the

24   authorization or jurisdiction to take the lead on behalf of

25   the EPA.
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 1                 But the lead agencies typically oversee the work.

 2   They review the work plans, comment on the work plans.            They

 3   approve the work plans and ultimately issue a closure letter

 4   for completion of the work.

 5   Q      Have you reviewed IDEM guidance documents and how they

 6   correlate with the NCP for this case?

 7   A      Yes.    I've reviewed the Remediation Closure Guide and

 8   Remediation Program Guide.

 9   Q      Do either of those documents specifically mention the NCP?

10   A      They do.

11                   MS. FRENCH:   Could we bring up Exhibit 1209, page

12   151.

13   BY MS. FRENCH:

14   Q      Does this portion of the RPG discuss the NCP and how it

15   relates to IDEM's remediation protocols?

16   A      Yes.

17   Q      Could you explain what you learned in reviewing this part

18   of this document?

19   A      Yes.    Kind of in the middle of the paragraph there, it

20   says that, "The SCP, the State Cleanup Program, follows

21   aspects of the National Oil and Hazardous Substance Pollution

22   Contingency Plan," which is the NCP, "as well as the

23   Remediation Closure Guide and that the State Cleanup Program

24   has jurisdiction over remediation of petroleum releases, in

25   addition to releases of hazardous substances."
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 1              Then, "By applying components of the NCP and the

 2   Remediation Closure Guide, the state cleanup program can

 3   handle sites of the same environmental magnitude as Superfund

 4   program sites using a more streamlined approach."

 5   Q   Does Exhibit 1209 also address the level of oversight IDEM

 6   provides to Voluntary Remediation Program projects?

 7   A   Yes, it does.

 8                MS. FRENCH:   Could we go to page 156 of this

 9   exhibit?     Thank you.

10   BY MS. FRENCH:

11   Q   How does the Remediation Program Guide address the level

12   of oversight IDEM provides to VRP projects?

13   A   Well, again, it lays out the process and the program by

14   which they go through to essentially oversee the development

15   of remedial alternatives.

16   Q   Does Exhibit 1209 also address the relationship between

17   Superfund sites and VRP sites?

18   A   It does.

19                MS. FRENCH:   Can we go to page 176 of the exhibit?

20   A   Specifically on this page, it describes a Memorandum of

21   Agreement -- this is the third bullet shown there -- between

22   IDEM and the U.S. EPA for the Indiana Voluntary Remediation

23   Program, which is dated December 4, 1995.

24   BY MS. FRENCH:

25   Q   Did you review that Memorandum of Agreement?
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 1   A   I did, yes.

 2   Q   What does the Memorandum of Agreement say?

 3   A   Basically authorizes IDEM to work on behalf of the EPA,

 4   and it also recognizes that the Voluntary Remediation Program

 5   developed by IDEM is consistent with EPA's requirements.

 6              Can you bring up a copy of the MOA?       Is that an

 7   exhibit?

 8                MS. FRENCH:   Yeah.   We can bring the MOA up.

 9                Next page.

10                THE COURT:    Is that an exhibit?

11                MS. FRENCH:   It's referenced in the Remediation

12   Program Guide.     It's linked.

13                THE COURT:    To which exhibit number?

14                MS. FRENCH:   1209.

15                I think the next page, Dave.

16   A   In the bottom of that page, "Several operational factors

17   are important and will complement the mutual objectives of

18   both IDEM and Region 5."

19   BY MS. FRENCH:

20   Q   And Region 5 is Region 5 of the EPA?

21   A   Yes.    Thank you.     I'm sorry.

22              And it recognizes that IDEM has successfully operated

23   a VRP program since '93, that Region 5 and IDEM find that the

24   VRP provides for response actions that are protective of human

25   health and the environment, and very specifically, Region 5
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 1   and IDEM find the VRP provides adequate opportunities for

 2   public involvement and technical assistance.

 3   Q   Does Geosyntec in particular have its own processes or

 4   procedures in place to ensure CERCLA-quality cleanups?

 5   A   Yes, we do.

 6   Q   What are those policies or procedures?

 7   A   We have standard operating procedures.          We have -- we've

 8   done this so many times throughout the company that we have

 9   libraries of sampling analysis plans, quality assurance

10   project plans, RIFS scoping documents.         I don't know if I said

11   community relations plans.       And those are templates by which

12   we develop and implement on almost all of our projects.

13   Q   Have you reached an opinion in this case regarding whether

14   Von Duprin's response in -- response costs in the plume area

15   were incurred consistent with the NCP?

16   A   Yes.

17   Q   What is that opinion?

18   A   That they were consistent with the NCP.

19   Q   What did you do in order to determine whether Von Duprin's

20   response actions taken as a whole substantially complied with

21   the NCP?

22   A   I reviewed the documents and work plans prepared by

23   Geosyntec and others that Geosyntec relied upon, and I

24   compared them to the specific requirements specified in

25   Section 300.700 of the NCP for substantial compliance with the
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 1   NCP.

 2   Q      Approximately how many documents did you review to reach

 3   this opinion?

 4   A      Dozens, if not tens -- many documents.       I don't know.    A

 5   hundred documents in total?

 6   Q      Are there particular provisions of the NCP which apply to

 7   Von Duprin's response actions in this case?

 8   A      Yes, there are.

 9   Q      What are those provisions?

10   A      Those provisions are spelled out in my expert report.

11   Q      Would reviewing your expert report refresh your

12   recollection as to the list of particular sections of the NCP

13   which apply to this site?

14   A      Yes.

15                 On page 10 of my expert report, I lay out the

16   provisions of the NCP that I feel were relevant for

17   demonstrating substantial compliance with the NCP.

18   Q      What are those provisions?

19   A      Section 300.150 as it relates to worker health and safety;

20   300.160, the section's entitled "Documentation and Cost

21   Recovery"; 300.400(C)(1), (4), (5) and (7); and the section's

22   entitled "Determining The Need For Fund Finance Response

23   Actions"; 300.400(C) -- I'm sorry -- (E) as it relates to

24   permit requirements; 300.400(G) related to the identification

25   of appropriate or relevant and appropriate requirements, also
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 1   known as ARARS; 300.410 and 415 related to removal and site

 2   evaluations -- I'm sorry -- removal site evaluations and

 3   actions; 300.420, referring to remedial site evaluation;

 4   300.430 as it relates to remedial investigation/feasibility

 5   study and remedy selection; 300.435 for remedial design,

 6   remedial action, also known as RDRA and operation and

 7   maintenance; and then lastly, 300.155.415 and .430 related to

 8   public participation and community relations.

 9   Q   I'm going to go through some of these.          Let's start with

10   300.160, documentation and cost recovery.         What are the

11   requirements to comply with 300.160 of the NCP?

12   A   The requirements, there's essentially five areas; and

13   that's to identify the source and circumstances of the

14   release, identify the responsible parties, identify the

15   response actions, evaluate the accounting of costs associated

16   with response actions, and evaluating impacts and potential

17   impacts to human health and the environment.

18   Q   At what point do the requirements in 300.160 need to be

19   satisfied for a party's response actions to be consistent with

20   the NCP?

21   A   I think for -- to be compliant with document -- I'm

22   sorry -- Section .160, it needs to look at the whole -- the

23   body of work as a whole.      So all of the documentation of all

24   the information put forth for this requirement.

25   Q   So you don't show up at the site on the very first day and
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 1   have all five of those boxes checked?

 2   A   That's correct.     That's correct.

 3   Q   Must each of the provisions of Section 300.160 be

 4   satisfied -- hang on -- strike that.

 5             Does the private party have to perform every piece of

 6   work that goes into satisfying 300.160 itself?

 7   A   No.

 8   Q   Could you explain that response?

 9   A   Well, if we -- we start at the source and circumstances of

10   releases.    What was done in this instance was all of the

11   historical investigations were evaluated and summarized, and

12   the data collected from those investigations were utilized in

13   understanding the overall picture of the nature and extent of

14   the contamination at the site.

15             So going back as far as the first investigation -- and

16   as an example, if a consultant went out and collected ten

17   groundwater samples, they would not be required to have a

18   Sampling Analysis Plan.      They wouldn't be required to have a

19   Quality Assurance Project Plan, but they would follow

20   essentially standard procedures that are used in the industry.

21             They -- and this work typically is done in accordance

22   with the local standard.      In this case, it's IDEM; and IDEM

23   has laid out for a long time what are their standards for

24   performing environmental investigations on contaminated sites.

25   Q   Is there adequate documentation as defined by the NCP to
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 1   provide the basis for Von Duprin's cost recovery?

 2   A   Yes.

 3   Q   What documents did you rely upon in determining that

 4   Von Duprin satisfied the requirements in 300.160 that the

 5   source and circumstances of release be described?

 6   A   Again, I looked at the historical investigations and

 7   it's -- I think the important thing is that I can guarantee

 8   you that every single historical investigation was not NCP

 9   compliant, but it's the body of work as a whole where the data

10   was evaluated and the data was accepted by IDEM and also by

11   the defendants.     There's -- none of the data that's been

12   collected in this matter has ever been disputed, whether that

13   data was collected NCP compliant or not; but in terms of this

14   requirement, it's the documentation.        It's compiling the

15   documentation.    It's not that every single document needs to

16   comply with the NCP.      This specific requirement is that the

17   documentation needs to be there to identify the sources and

18   circumstances of the release.

19   Q   Are there any particular documents that specifically

20   address this requirement?

21   A   Well, I think the summary document was the Final

22   Investigation Report, the FIR.

23              MS. FRENCH:     Could we pull up Exhibit 1002?

24   BY MS. FRENCH:

25   Q   What about this particular report satisfies the
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 1   requirement that sources and circumstances of release be

 2   adequately described under 300.160?

 3   A   Well, it summarizes all of the historical investigations;

 4   and it brings them essentially into one place and -- where the

 5   data can be compiled and evaluated and in one location.

 6   Q   Approximately how many investigations took place in this

 7   plume area?

 8   A   I recall seeing something that over 400 borings were

 9   drilled and over 1,500 soil and groundwater samples were

10   collected.

11   Q   Did other documents also support your conclusion that the

12   source and circumstances of release were adequately described?

13   A   Yes.     Yes.

14   Q   What were those documents?

15   A   Again, this FIR, Final Investigation Report and the

16   historical investigations performed at the site.           They were

17   done by EnviroForensics, by Quality Environmental

18   Professionals, by Heartland Environmental and investigations

19   performed by Geosyntec.

20   Q   Do any other -- do any of the specific Geosyntec reports

21   help establish that the circumstances of release are

22   adequately described?

23   A   Yes.     The Upgradient Delineation Investigation Report, the

24   Groundwater and Soil Investigation Technical Memorandum.

25                MS. FRENCH:   Let's go to Exhibit 1073, the
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 1   Upgradient Delineation Investigation Report; and we'll go to

 2   the table of contents.

 3   BY MS. FRENCH:

 4   Q   What about this document supports your opinion that

 5   Von Duprin adequately described sources and circumstances of

 6   release in the plume area?

 7   A   Can you expand that a little bit?         I can barely read that.

 8            This document essentially summarizes all the

 9   investigations that were performed in the upgradient area.            So

10   this is the upgradient report; is that correct?

11   Q   Um-hum.

12   A   And so it goes through the discussion of characterizing

13   each of the media, being soil, soil gas, and groundwater, and

14   the procedures that were followed, essentially, to do that

15   investigation.

16              MS. FRENCH:     And we'll go next to Exhibit 1120, the

17   Groundwater and Soil Gas Investigations Technical Memo.

18   BY MS. FRENCH:

19   Q   What about this document supports your opinion that

20   Von Duprin adequately described sources and circumstances of

21   release in the plume area?

22   A   Again, it describes the investigations done in the

23   downgradient area, the groundwater samples that were collected

24   and describes essentially the nature and extent of

25   contamination.
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 1   Q   Has identification of responsible parties been completed

 2   in compliance with Section 300.160?

 3   A   Yes.   I believe that's been recognized by IDEM as well.

 4   Certainly, Von Duprin is one of the responsible parties; and

 5   then they are working voluntarily with IDEM and understanding

 6   that Major and Moran are working with IDEM or being ordered

 7   through IDEM by IDEM to do their work.

 8   Q   Section 300.160 also requires response actions.           What

 9   response actions has Von Duprin performed in the plume area?

10   A   They've performed removal actions in the form of

11   installing vapor mitigation systems at residential properties

12   and at the JTV Hill Park property.

13   Q   You mentioned 300.160 also requires an accurate accounting

14   of costs associated with response actions.          What information

15   did you review to determine whether this element of 300.160

16   was satisfied here?

17   A   I reviewed specific Geosyntec invoices, and I reviewed a

18   summary of invoices for historical investigations.

19   Q   Do invoices exist which appropriately document and account

20   for the costs incurred for Geosyntec's work in the plume area?

21   A   Yes.

22   Q   What did your review of Geosyntec's invoices and a summary

23   of costs from other consultants tell you about the accounting

24   of costs in this case?

25   A   I think that the -- the costs are well documented; and
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 1   with respect to Geosyntec specifically, I'm familiar with

 2   Geosyntec's accounting procedures, how we prepare proposals,

 3   how we obtain approval from our clients, how we invoice our

 4   clients, and the documentation associated with that.

 5            And I'm also familiar with Von Duprin's procedures for

 6   reviewing our invoices, for authorizing us to perform the

 7   work, as well as approving our invoices for payment.

 8   Q   The last component of 300.160 that you described was the

 9   requirement that impacts and potential impacts to human health

10   and the environment be assessed and described.

11            What information did you review to determine whether

12   this element of Section 300.160 was satisfied?

13   A   I reviewed -- again, contained within the reports is the

14   evaluation of the soil, soil vapor, and groundwater samples,

15   and comparing them to IDEM's screening levels to evaluate

16   potential threat to human health and the environment.

17   Q   We'll move next to 300.400(C) and the four subsections of

18   that provision which apply to determining the need for fund

19   finance response actions.

20            Did you consider whether Von Duprin's response actions

21   in the plume area complied with Section 300.400(C),

22   Subsections 1, 4, 5 and 7, which relate to the need for fund

23   finance response actions?

24   A   Yes, I did.     The title of that is a little misleading,

25   determining the need for fund finance response actions.
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 1   There's a requirement to comply with this section; but to be

 2   clear, there were no fund dollars that paid for the

 3   reimbursement of any costs in this.

 4              The relevant Sections 1, 4, 5 and 7 are to -- that

 5   parties need to conduct a prompt response.          That's one; be

 6   sensitive to public concerns, that's No. 4; consider treatment

 7   technologies, that's No. 5; and share the technology in the

 8   industry with other experts, that's No. 7.

 9   Q   Let's break that down a little bit.         Did Von Duprin

10   conduct a prompt response?

11   A   In my opinion, yes.      They've performed a prompt response;

12   and looking as an example at the response actions associated

13   with the residential installation of vapor mitigation systems,

14   from the time it was discovered in I believe June of 2014,

15   there was a vapor mitigation system installed during August to

16   October 2014 for those directly affected parties.

17   Q   Were Von Duprin's response actions sensitive to public

18   concerns?

19   A   Yes.    I think they were extremely sensitive to public

20   concerns; and again, pointing to the example of the

21   residential vapor mitigation systems, they started off with

22   obtaining an access agreement and communicating directly with

23   the affected parties.

24              These were residences that sat over the top of the

25   contamination plume.      They obtained an access agreement.         They
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 1   went into their homes and collected indoor samples in some

 2   instances.     Where they didn't have access, they collected

 3   samples outdoors.

 4            They submitted those results individually to the

 5   homeowners.    They communicated what those results meant in

 6   terms of did it represent a threat to human health and the

 7   environment.

 8            IDEM was working with Geosyntec and the property

 9   owners on this.     IDEM prepared a fact sheet that talked about

10   the specific activities that would be performed to mitigate

11   potential vapor intrusion.       They -- "they" being Geosyntec --

12   obtained a mitigation agreement from the individual property

13   owners where it was discovered that the contamination exceeded

14   the screening levels for IDEM.

15            They implemented the remedial alternative with the

16   property owners' consent.      They did post-mitigation monitoring

17   to confirm that the mitigation was working, and then they had

18   subsequent reports from -- on either a semiannual or annual

19   basis, again, where they came into the home, collected

20   samples, and then submitted the results with an explanation of

21   what the results meant, and at the same time copied IDEM on

22   that.

23   Q   You mentioned a couple times in your response that they

24   obtained access agreements, mitigation agreements.           What was

25   the process that Geosyntec went about to actually obtain that
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 1   agreement from the property owners?

 2   A   They would -- several methods of contact.          They would

 3   either e-mail them.     They would call them.       They would send

 4   them -- they would put notes on their doors.          They would knock

 5   on their doors and try to gain -- try to communicate with the

 6   directly affected property owners.

 7   Q   Has Von Duprin considered treatment technologies?

 8   A   Yes, they have.     In the broader terms of this requirement

 9   and for future cleanup and the identification of a final

10   remedial alternative, they have looked at innovative remedial

11   technologies such as in situ bioremediation --

12              THE COURT:     Why don't you spell that.

13   A   I-N dash S-I-T-U, bioremediation.         This is a technology in

14   which -- you guys didn't talk about this earlier?

15              THE COURT:     Nope.

16              THE WITNESS:     Where they inject bacteria --

17   specially formulated bacteria and it breeds -- basically

18   degrades the contamination in the groundwater.          It's an

19   innovative technology.      It's recognized by EPA and has been

20   for well over a decade.      So they considered that technology in

21   their feasibility study.

22              They also looked at the options for vapor intrusion

23   mitigation, such as a subslab depressurization system.

24   BY MS. FRENCH:

25   Q   We'll move to Section 300.415, removal actions.
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 1              Has Von Duprin performed any removal actions in the

 2   plume area which are subject to NCP Section 300.415?

 3   A   Yes.    That's specifically what we have been talking about,

 4   the mitigation systems in the residential property as well as

 5   the JTV Hill Park property.

 6   Q   What NCP requirements under 300.415 apply to removal

 7   actions?

 8   A   There are subsections of -- that specifically point to

 9   determining if a removal action is appropriate; conducting an

10   engineering evaluation cost analysis or equivalent; if a

11   planning period of at least six months exists before on site

12   activities must be initiated; preparing sampling analysis

13   plans and the quality assurance project plans if samples are

14   to be collected as part of the removal action; and then it's

15   to make provisions for post-removal site control to the extent

16   practicable.

17   Q   What does a party need to do generally to comply with

18   these provisions of the NCP?

19   A   Well, they need to, essentially, go through this process

20   and prepare the appropriate work plans and approvals of the

21   regulatory agencies to do this.

22   Q   How is a removal action different from a remedial action?

23   A   A removal action is essentially something that's done

24   faster because there's a more immediate threat to the human

25   health and the environment, whereas a remedial action takes
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 1   much longer -- it's the final remedy for a site.

 2              As I stated earlier, sometimes it takes 30 years to

 3   pick a final remedy for a site.        So removal actions are done

 4   to move the process along much faster.

 5   Q   What removal actions has Von Duprin performed for which

 6   Von Duprin seeks to recover its response costs?

 7   A   That's the off-site residential vapor mitigation, as well

 8   as the JTV Hill Park vapor mitigation.

 9   Q   Is it your opinion that the vapor mitigation at JTV Hill

10   Park substantially complied with the requirements of the NCP

11   for removal actions?

12   A   Yes.

13   Q   What did you rely on to reach that opinion?

14   A   I reviewed the mitigation system installation memo and the

15   work plan for the vapor mitigation system.

16                MS. FRENCH:   Let's pull up Exhibit 1026, the JTV

17   Hill Park building subslab depressurization installation memo.

18   BY MS. FRENCH:

19   Q   Does Exhibit 1026 appear to be a copy of the memo you

20   referenced you relied on in forming your opinions?

21   A   Yes.

22   Q   What portions of this particular document support your

23   opinion that the removal actions at JTV Hill Park

24   substantially complied with the NCP?

25   A   Well, I think it was already determined that a removal
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 1   action was appropriate, that it was identified that through

 2   indoor air sampling and subslab sampling that there were vapor

 3   concentrations exceeding screening levels for IDEM.

 4              In this case, they had -- looking at the requirements

 5   of a removal action, I think they prepared the equivalent of

 6   an engineering evaluation cost analysis; and they had a

 7   planning period that was greater than six months.

 8   Q   Could you discuss what the equivalent of an engineering

 9   evaluation cost analysis was for this project?

10   A   Yes.    For -- we'll call it an EE/CA -- E-E slash C-A.

11   There's several components for a complete EE/CA.           The first is

12   it needs to summarize the site characterization; and in the

13   process of doing that, they do a streamlined risk assessment.

14   So the site characterization was the sampling around and over

15   the plume, knowing what the vapor concentrations were; and the

16   streamlined risk assessment was they compared the vapor

17   samples to IDEM screening levels.        So I would say they checked

18   that box for an EE/CA requirement.

19              The second was they needed to define a remedial

20   alternative.     So in this, they identified the remedial

21   alternative of subslab depressurization.

22              Then an EE/CA requirement is to do a detailed cost

23   analysis of remedial alternatives.        In this instance for vapor

24   mitigation of an existing building, the domain of

25   possibilities or alternatives is extremely limited; and it's
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 1   almost the only option is subslab depressurization with some

 2   minor adjustments such as sealing cracks in the slab and

 3   adjusting the HVAC system; but there's not a large amount of

 4   opportunities -- and the other alternative is to get rid of

 5   the building.    That's not an option.      Move everybody out of

 6   the building.    That wasn't an alternative.        So there wasn't a

 7   need or an appropriateness to do a detailed analysis of

 8   remedial alternatives or removal action alternatives.

 9   Q   Did Exhibit 1026 also address the sampling and quality

10   assurance steps taken by Geosyntec?

11   A   Yes.    In my opinion, that the work plan as well as the

12   installation memo laid out what I feel is equivalent to a

13   Sampling Analysis Plan and Quality Assurance Project Plan.

14   There wasn't a specific document that said SAP or QAPP, but

15   these very specific elements are spelled out within the

16   document.

17              A Sampling Analysis Plan essentially describes how

18   samples are going to be collected, where they're going to be

19   collected, what they're going to be analyzed for.           That is all

20   described in these documents.

21              The Quality Assurance Project Plan describes what are

22   the data quality objectives.       Why are we collecting this data?

23   What QAQC procedures are going to be put in place so that the

24   samples -- the integrity of the samples can be used for it to

25   make decisions on?     What laboratories are being used?        Are the
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 1   laboratories certified in this state?         These are all things

 2   spelled out in the Remediation Program Guide, and I think

 3   they're also described in these two documents.

 4   Q   I think we used a couple acronyms there that we maybe

 5   haven't said before.      SAP is the acronym for Sampling and

 6   Analysis Plan?

 7   A   Yes.

 8   Q   And a QAPP is a Quality Assurance Project Plan, correct?

 9   A   Yes.

10   Q   What post-removal site controls were imposed following the

11   removal action at JTV Hill?

12   A   That essentially they come back and do post-installation

13   monitoring on a frequent basis to confirm that the system is

14   operating as designed and anticipated.

15   Q   Page 3 of Exhibit 1026 references interim measures

16   performed at JTV Hill prior to the installation of the subslab

17   depressurization system.      Were these interim measures

18   considered removal actions separate from the subslab

19   depressurization system we've discussed?

20   A   Well, in the broad terms, they could be considered a

21   removal action.     In terms of the NCP, they can go as broad as

22   to say fencing a site is a removal action because it removes

23   the public from exposure, I guess.

24              So in this instance, by sealing a crack in the

25   flooring and by adjusting the HVAC system, in the same sense,
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 1   you are removing those substances from exposure to the public.

 2   Q   Page 4 of 1026 references a draft vapor intrusion work

 3   plan.    Did you review this work plan?

 4   A   Yes.    Yes, I did.

 5                MS. FRENCH:   We'll pull up Exhibit 1029, which is

 6   the referenced work plan.

 7   BY MS. FRENCH:

 8   Q   How does this exhibit support your opinion that

 9   Von Duprin's removal actions at JTV Hill substantially

10   complied with the NCP?

11   A   Can we go to the table of contents, please?

12   Q   Certainly.

13   A   Okay.    In the background section, it essentially describes

14   the purpose of a removal action.        It goes into great detail

15   some of the activity that they performed to make sure that

16   they installed the system correctly.        They looked at

17   electricity consumption and reimbursement to the property

18   owner.     So that was a component of the public communication

19   with JTV Hill.

20              They evaluated the permitting requirements.        So this

21   is -- which we haven't talked about yet, but it's an

22   appropriate relevant requirement.        It's an ARAR, sorry.

23              Then they described the monitoring that was going to

24   be performed after the system was going to be installed.            So

25   it has all of the components laying out essentially what
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 1   samples were going to be collected and how they were going to

 2   be handled and what measures were being taken that the system

 3   was designed appropriately.

 4   Q   Was this work plan approved by IDEM?

 5   A   Yes.

 6   Q   How does IDEM's approval of the JTV Hill Park Removal

 7   Action Work Plan impact your opinion regarding whether those

 8   removal actions substantially complied with the NCP?

 9   A   Again, going back to what we discussed earlier today and

10   IDEM's role as the lead agency according and as authorized by

11   the EPA, I think that underscores the importance that this was

12   consistent with the NCP, substantial compliance with the NCP.

13   Q   Is it your opinion that Von Duprin substantially complied

14   with all applicable provisions of the NCP with respect to the

15   removal action at JTV Hill?

16   A   Yes.

17   Q   Moving to the downgradient residential vapor intrusion, is

18   it your opinion that the vapor intrusion mitigation systems

19   installed at downgradient residences were removal actions

20   performed in substantial compliance with the NCP?

21   A   Yes.

22   Q   What documents did you rely upon to reach that opinion?

23   A   This was the Downgradient Soil Vapor and Groundwater

24   Investigation Report and the Vapor Mitigation Resident --

25   Residential Vapor Mitigation Work Plan.
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 1   Q      Did you also review any documents related to

 2   communications with affected homeowners?

 3   A      Yes.    As I testified earlier, there was a multitude of

 4   communication and documentation related to communication with

 5   the downgradient homeowners.        It's described in my expert

 6   report.       It's described in table 11 of the Final Investigation

 7   Report, and it's described in detail in the Community

 8   Relations Plan.

 9   Q      Let's go to Exhibit 1052, which is a copy of the

10   Residential Vapor Intrusion Sampling Work Plan.          And we'll go

11   to the table of contents.

12                 How does this work plan support your opinion that the

13   downgradient vapor intrusion mitigation work complied with the

14   NCP?

15   A      Again, it describes, in essence, what the plan is, how

16   they were going to collect the samples, how they were going to

17   gain access to do that work; and it describes the QAQC

18   procedures that were going to be employed for the collection

19   of the samples and characterization of the waste that was

20   generated.

21   Q      Was this work plan submitted to IDEM?

22   A      Yes, it was.

23   Q      Did IDEM approve the work plan?

24   A      Yes.

25   Q      How does the submission of this work plan and its approval
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 1   by IDEM impact your analysis of whether the removal actions

 2   complied with the NCP?

 3   A   Again, as I testified previously, IDEM operating as they

 4   were under the RPG and under the Voluntary Remediation

 5   Program, which was consistent with EPA's requirements.

 6   Q   We've been discussing the downgradient residential work,

 7   which as I understand, it happened in some phases sort of as a

 8   whole rather than for each individual homeowner.           Is that how

 9   you considered this work in preparing your opinions for this

10   case?

11   A   Yes.

12   Q   Why is that?

13   A   Again, there was a lot of work being done simultaneously.

14   You can't look at one investigation.        I think you need to look

15   at the body of work for the entire investigation.           That work

16   was summarized in the FIR, and I think that was one of the

17   primary components of moving forward.

18   Q   Were there other removal actions performed by Von Duprin

19   in the plume area that we have not discussed?

20   A   There were removal actions on the 1929 Columbia property

21   that were not -- that we're not seeking cost recovery for.

22   Q   What at the Von Duprin property was a removal action?

23   A   There was a SSD system put in.

24   Q   Has Von Duprin performed any remedial actions?

25   A   They have done remedial action at their property, again,
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 1   the 1929 Columbia Street property, soil remediation.

 2   Q   To perform that remedial action, did Von Duprin develop a

 3   Remediation Work Plan?

 4   A   Yes, they did.

 5   Q   Was that work plan submitted to and approved by IDEM?

 6   A   Yes, it was.

 7   Q   How does the Remediation Work Plan submitted related to

 8   the soil remediation work substantially comply with the NCP as

 9   part of Von Duprin's overall response?

10   A   I think the Remediation Work Plan which was prepared in

11   accordance with the Voluntary Remediation Agreement lays out

12   very specifically what IDEM was requiring for the remediation

13   plan, but it also spells out some of the very specific

14   requirements that are in substantial compliance with the NCP.

15            This is the Remediation Work Plan only for the soil,

16   while all the parties or at least Von Duprin is working with

17   IDEM for the remedial alternative for the groundwater.            And

18   seeing the level of detail included in the soil RWP for

19   Von Duprin, I can expect that that same process and level of

20   detail will be provided in the Groundwater Remediation Plan.

21   Q   And will the IDEM requirements for the Remediation Work

22   Plan for groundwater be the same as they were for the soil

23   remediation?

24   A   Yes, I would expect so.

25   Q   What specific provisions of the NCP are satisfied by the
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 1   Remediation Work Plan?

 2   A   There's a Sampling Analysis Plan.         There's a Quality

 3   Assurance Project Plan.      There's a Community Relations Plan.

 4   I believe there's a Data Management Plan included with that as

 5   well.

 6   Q   Is there a Health and Safety Plan?

 7   A   There is a Health and Safety Plan requirement, yes.

 8   Q   We'll move to a discussion briefly of remedial

 9   investigations and feasibility studies.

10             What is a remedial investigation as that term is used

11   in NCP?

12   A   It's an investigation essentially to define the nature and

13   extent of contamination, as well as to collect data that will

14   be used to evaluate potential risks to human health in the

15   environment and to evaluate remedial alternatives.

16   Q   What NCP provisions are applicable to remedial

17   investigations?

18   A   There is quite specifically the scoping that's .430(B).

19   The remedial investigation itself, which is Section D; Section

20   E, the feasibility study; and the F, the remedy selection.

21   Q   What remedial investigations have been performed by

22   Von Duprin for which it seeks to recover its costs?

23   A   Well, I think there's been a multitude of remedial

24   investigations performed as early as 1987; and it's that body

25   of work for all those investigations that were compiled into
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 1   the Final Investigation Report.        I feel -- it's my opinion

 2   that the Final Investigation Report is equivalent to a

 3   remedial investigation.

 4              MS. FRENCH:     We'll display Exhibit 1002.

 5   BY MS. FRENCH:

 6   Q   How does Exhibit 1002, the Final Investigation Report,

 7   inform your opinion as to whether Von Duprin's remedial

 8   investigation work in the plume area substantially complied

 9   with the NCP?

10   A   Can we go to the table of contents, please?

11            Excluding the RCRA corrective action, which Von Duprin

12   is not seeking cost recovery for, it lays out the specific

13   requirements or components of -- that would be included with

14   the remedial investigation.       So the site background, what's

15   the history, what are the exposure pathways, what are the

16   potentially exposed populations.

17            It describes the study area investigations that have

18   gone on in terms of soil, groundwater, vapor intrusion

19   investigations; and then it evaluates -- prepares the site

20   conceptual model and describes remediation efforts that have

21   been done to date.

22            It also includes a baseline risk assessment, which

23   essentially goes towards what needs to be done to mitigate

24   potential risk to human health.        I believe there's a second

25   page to this, too.
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 1   Q   Would you like to see the second page?

 2   A   Yes, please.

 3              This is broader.   It evaluates the ecological risk, of

 4   which I don't think there's any; and then it summarizes and

 5   conclusions [sic] and essentially provides the baseline

 6   information that is needed to perform the feasibility study,

 7   which is the next step in the process.

 8   Q   Were there any work plans associated with the Final

 9   Investigation Report?

10   A   Yes.    There was a final Remedial Investigation Work Plan

11   that led in part to the production of this document.

12   Q   We'll show Exhibit 1237, Supplemental Remedial

13   Investigation Work Plan.      Is this the work plan that you were

14   referencing just now?

15   A   Yes.

16   Q   What was important about Exhibit 1237 in your analysis of

17   whether Von Duprin's remedial investigation work substantially

18   complied with the NCP?

19   A   Again, if we could go to the table of contents, please.

20              Again, it laid out what was going to be done.         In

21   this, it was very specific to some additional monitor wells

22   that were being installed.       So that description of the monitor

23   wells that were going to be installed, how they were going to

24   be installed, what samples were going to be collected.            Those

25   are to me elements of a sampling and analysis plan.
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 1              And then the discussion of the data quality objectives

 2   at Section 2.6 from 2.61 to 2.66, those are all components of

 3   a Quality Assurance Project Plan.

 4              And then actually, subsequent to the preparation of

 5   this document, a QAPP was prepared by Von Duprin.

 6   Q   And was that QAPP prepared in conjunction with the

 7   Remediation Work Plan that we discussed?

 8   A   Yes.

 9   Q   Are there any other remedial investigations Von Duprin

10   performed in the plume area for which it seeks to recover its

11   costs in this action?

12   A   Not that I can recall.

13   Q   Did Von Duprin perform any feasibility studies for which

14   it seeks to recover its costs in this action?

15   A   Yes.    What I described earlier, they performed the in situ

16   bioremediation feasibility study.

17   Q   Is in situ bioremediation sometimes referred to as ISBR?

18   A   Yes.

19   Q   Did you evaluate those feasibility studies in forming your

20   opinions?

21   A   Yes.

22   Q   Moving to Sections 300.410 and 420 of the NCP, have

23   removal and remedial site evaluations been completed in the

24   plume area consistent with those two sections of the NCP?

25   A   Yes.
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 1   Q   What satisfies those requirements in your review?

 2   A   One of the components of the site evaluation for removal

 3   actions and remedial actions is that a preliminary assessment

 4   needs to be performed, and a preliminary assessment is

 5   essentially a desktop study.       It involves no field work.       It

 6   involves the evaluation of existing data to determine the

 7   scope.

 8              And there have been -- this is -- a preliminary

 9   assessment is extremely analogous and similar to what's known

10   in the industry as a Phase I Environmental Site Assessment and

11   there's been at least 8 Phase I environmental assessments

12   performed on and surrounding or within the study area.

13   Q   Can 300.410 and 420 be satisfied through reliance on data,

14   information, and reports obtained from others?

15   A   Yes.

16   Q   Could you explain that response?

17   A   Well, again, there were numerous Phase Is performed for --

18   in the study area, including reports by EnviroForensics, by

19   Alt Witzig, W-I-T-Z-I-G, Heartland, by Mundell, by PRC and by

20   QEPI, as well as Tetra Tech during the removal, on site

21   assessment.

22   Q   Moving to worker health and safety, you testified that

23   Section 300.150 of the NCP applies to Von Duprin's response

24   actions.    Can you elaborate on the requirements of 300.150?

25   A   Yes.    This requirement is to prepare Health and Safety
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 1   Plans for any response action performed at the site.           The --

 2   or a site.

 3            The requirement is spelled out in 29 CFR 1910.120 of

 4   OSHA, and this spells out the requirements of preparing and

 5   implementing Health and Safety Plan at a hazardous waste site.

 6   These have been required since at least 1990; and any

 7   consultant performing work on a hazardous waste site needs to

 8   have their staff trained, which is at least a 24-hour class,

 9   sometimes a 40-hour class, with an annual 8-hour refresher.

10   And this is very common in the industry for any consultant

11   working on a hazardous waste site.

12   Q   What documents confirm for you that worker health and

13   safety was adequately protected during Von Duprin's work in

14   the plume area?

15   A   I looked specifically at Geosyntec's Health and Safety

16   Plans that they had prepared and confirmed that they existed

17   and were implemented.

18   Q   Was there any other information you reviewed that

19   influenced your decision that Von Duprin substantially

20   complied with those requirements?

21   A   Just my understanding of, again, the OSHA requirements.

22   Q   We'll move to permit requirements, Section 300.400(E).

23   What is the goal of Section 300.400(E), which requires private

24   parties to obtain appropriate permits to perform investigation

25   and response actions?
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 1   A   Well, the goal is to make sure they've acquired all the

 2   appropriate permits to perform their investigations.

 3   Q   How does a consultant comply with that requirement?

 4   A   They apply for and obtain the permits either with the

 5   assistance and guidance or approval from IDEM as well as the

 6   permitting agency.

 7   Q   Did Von Duprin meet the goals of identifying and obtaining

 8   required permits for its response actions in this case?

 9   A   I believe they did.      They obtained permits such as

10   encroachment permits, traffic control plans, right-of-way

11   entry permits and things like that.

12   Q   What is the goal of Section 300.400(G) requiring

13   identification of applicable or relevant and appropriate

14   requirements, sometimes referred to as ARARs, A-R-A-R?

15   A   The requirement for this section of the NCP really looks

16   at three things.     It looks at the chemicals.       It looks at the

17   response action, and it looks at the location.          Those are the

18   three evaluations that need to be evaluated for an ARAR -- for

19   ARARs evaluation.

20            In terms of chemicals, it evaluates -- or typical

21   ARARs are what are the cleanup goals for soil gas.           What are

22   the cleanup goals for the constituents in soil?          What are the

23   cleanup goals for the constituents in groundwater?           Those are

24   very specific ARARs.

25            For an action, for a response action -- and just as an
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 1   example, if I am going to do SSD, subslab depressurization, do

 2   I need an air permit?      It makes the consultant or the party go

 3   through that process to evaluate if they need an air permit.

 4            Do I need an encroachment permit?        So permits are a

 5   component of response actions.

 6            If I'm going to pump groundwater out, do I need a

 7   waste discharge permit?      Do I need an NPDES permit?       So those

 8   are things that need to be considered.

 9            Then in terms of location, what are the specific

10   requirements for my facility?       Do I need to comply with fire

11   code?   Do I need to comply with a building code?          Do I need to

12   comply with a specific Indiana or City of Indianapolis

13   requirements for a specific response?

14   Q   What is the lead agency's role in developing ARARs on a

15   site?

16   A   The lead agency reviews, they comment and provide input on

17   the ARARs, basically.

18   Q   Did Von Duprin meet the goals of identifying ARARs in its

19   response actions in this case?

20   A   There is not a specific document that says ARARs; but in

21   my opinion, yes, they have met the intent of the

22   identification of the ARARs.

23   Q   Could you explain what information you relied on to reach

24   that opinion?

25   A   I reviewed the Remediation Work Plan, and I reviewed the
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 1   Final Investigation Report that describes the activities that

 2   were undertaken to perform their investigations, as well as

 3   the response plans or the removal actions.

 4   Q   And what about those documents convinced you that

 5   Von Duprin had satisfied the requirement of identifying ARARs?

 6   A   It -- essentially, it describes or lists the specific

 7   activities that they did to comply with the ARARs.

 8   Q   Discussing public participation, which I believe is

 9   covered by several provisions of the NCP, most importantly

10   300.155, 300.415 and 300.430, have Von Duprin's actions

11   complied substantially with the public information and

12   community relations requirements of the NCP?

13   A   In my opinion, yes.

14   Q   When the NCP refers to public relations, who is the

15   relevant public?

16   A   The most relevant public are those that are directly

17   affected by the release or the impacts.

18   Q   Would the public include the owners of real property if

19   that property were impacted by contaminants?

20   A   Yes, it would be real property owners, people living --

21   maybe they don't own the property but they're living in it.

22   So people directly exposed -- potentially exposed.

23   Q   Can other potentially responsible parties be considered

24   part of the public?

25   A   Yes.
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 1   Q   Were the owners of JTV Hill Park and individual homeowners

 2   made aware of the threats to their properties posed by vapor

 3   intrusion?

 4   A   Yes, they were.

 5   Q   How were they made aware of those threats?

 6   A   That was through direct communication.          They were provided

 7   copies of the reports, and they had specific communication

 8   with Geosyntec and IDEM.

 9   Q   Were Moran and Major also provided information concerning

10   the ongoing removal actions at the park and the residences?

11   A   It's my understanding they were, yes.

12   Q   Is it your belief that the most directly affected members

13   of the public have been given the information required by the

14   NCP for conducting removal or other response actions?

15   A   Yes.

16   Q   In what way?

17   A   As I testified earlier, there were numerous points of

18   contact or points in time where the affected residents were

19   contacted through the request to gain access, access

20   agreement, through providing them -- through sampling.            That's

21   very direct communication when people come in your house and

22   collect a sample; through getting the results provided to them

23   by Geosyntec directly; by having a fact sheet submitted to

24   them by IDEM when there was going to be vapor mitigation

25   performed on their property; by negotiating a mitigation
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 1   agreement and then the subsequent submittal or sampling in

 2   their property and submittal of the results to them directly.

 3   Q   What is the goal of the public relations requirements in

 4   Sections 300.155, .415 and .430 of the NCP?

 5   A   In generic terms, the goal is to keep the public informed

 6   and provide them an opportunity for -- to provide input on the

 7   remedial alternative.

 8   Q   Are there circumstances in which a written Community

 9   Relations Plan is required under the NCP?

10   A   Yes.

11   Q   And at what point is a Community Relations Plan or CRP

12   required as a specific individual document?

13   A   The -- primarily, the Community -- well, in this instance,

14   a Community Relations Plan was prepared prior to the

15   finalization of the Remediation Work Plan, and this was a

16   requirement; and the timing of that requirement was specified

17   by IDEM.

18   Q   Did IDEM specify the timing in the Remediation Program

19   Guide, Exhibit 1209?

20   A   Yes, yes.

21              MS. FRENCH:     Let's pull that up at page 178.        And if

22   you could just blow up the flow chart portion.          I don't know

23   that I need all the heading.       Hopefully that will make it big

24   enough.

25              THE WITNESS:     Maybe the top part.
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 1                   MS. FRENCH:   Yeah, maybe just to the second black

 2   arrow.        That way we can look at it a little closer.     Thank

 3   you.

 4   BY MS. FRENCH:

 5   Q      Are you familiar with this flow chart from the Remediation

 6   Program Guide?

 7   A      Yes.

 8   Q      Could you briefly explain what the Court is seeing on this

 9   particular exhibit?

10   A      The flow chart through which sites in the voluntary -- or

11   under a Voluntary Remediation Agreement, the process that they

12   go through.

13                 The first step is actually after signing the

14   agreement, they perform a site investigation similar to what

15   we've been calling a remedial investigation.          Then they

16   prepare a Remediation Work Plan, and then it's at that point

17   after the Remediation Work Plan is prepared that the work plan

18   goes out for public notice and comment.

19                 And in this instance, IDEM directed Von Duprin to

20   prepare a Community Relations Plan just slightly before the

21   Remediation Work Plan, if my timing is correct on the

22   documents.

23   Q      And to clarify, I believe you testified earlier regarding

24   EPA's evaluation of this particular process?

25   A      Right.     Right, that EPA has reviewed the Voluntary
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 1   Remediation Program that IDEM has; and they felt the level of

 2   public communication was adequate.

 3   Q   Are there certain circumstances in which public

 4   participation requirements can be satisfied in a different way

 5   than by having a written CRP?

 6   A   In my opinion, yes.      I mean, it's direct communication

 7   with the affected property owners or parties.

 8   Q   What is the lead agency's role in public participation

 9   throughout the life of an environmental cleanup?

10   A   The lead agency essentially steers and determines the

11   process it goes through.      If there were an incident where it

12   was very political, they could have very frequent public

13   meetings.    If it's a fairly simple process, they can do

14   essentially the bare bones; and the bare bones is where the

15   final remedy is selected, and they get public comment on it

16   before it's approved by IDEM.

17   Q   Did Von Duprin meet the goals of public participation in

18   its response to actions in this case?

19   A   Yes.

20   Q   In what way?

21   A   They, I thought, had a very rigorous communication program

22   with the affected parties that I've described previously.

23   Q   You briefly mentioned SAPs earlier in your testimony.

24   What is the goal of Section 300.415's requirement that a SAP

25   be prepared for response actions?
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 1   A   That prior to performing a response action, a Sampling

 2   Analysis Plan be prepared.

 3   Q   What does that SAP do for the consultant performing the

 4   work?

 5   A   The SAP essentially consists of two components.           The first

 6   component is a field sampling plan, and that is -- describes

 7   how the samples would be collected, how many samples, whether

 8   it's soil or groundwater samples, and how they're going to be

 9   analyzed.

10            The second component of a SAP is the Quality Assurance

11   Project Plan.    The QAPP describes the data quality objectives;

12   and then it describes the QAQC procedures for the samples,

13   duplicate samples, replicate samples and then very specific

14   procedures for the laboratories performing the analyses.

15   Q   Did Von Duprin meet the SAP and QAPP goals that you just

16   discussed?

17   A   In regards to their response actions and removal actions,

18   it's my opinion, yes, they did.

19   Q   Could you explain that?

20   A   They, again, prepared work plans that described in detail

21   what samples were going to be collected, how they were going

22   to be analyzed, how they were handled; and they also described

23   in detail the quality assurance, quality control procedures

24   that were going to be in place, while at the same time

25   describing why they were collecting the samples.           In essence,
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 1   what were the data quality objectives?         Those were described

 2   in those work plans.

 3              MS. FRENCH:     Pass the witness.

 4              THE COURT:     Why don't we take our morning break, and

 5   then we will resume in about 15 minutes for the

 6   cross-examination.      So we're in recess.

 7              COURTROOM DEPUTY:      All rise.

 8       (A recess was taken.)

 9              THE COURT:     You may be seated.     We are back on the

10   record.   And who is going to do the cross-examination for

11   Moran?

12              MR. MENKVELD:     I am, Your Honor.      I know Major Tool

13   wanted to go first this time.        I don't know if we can do that.

14              THE COURT:     That's fine.    That is fine.

15              Mr. Gardner?

16              MR. GARDNER:     Yes, Your Honor.

17              THE COURT:     You may.

18                             CROSS-EXAMINATION

19   BY MR. GARDNER:

20   Q   Mr. Williams, my name is Sam Gardner.          We met during your

21   deposition, but it's been some time.          So as a reminder, I

22   represent the defendants Major Tool and Machine and Major

23   Holdings LLC in this lawsuit.

24              MR. GARDNER:     Ms. Woods, can we pull up

25   Mr. Williams' expert report, please?
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 1              THE COURT:     What's the exhibit number?

 2              MR. GARDNER:     Well, we're not offering it as an

 3   exhibit yet, although I do believe Von Duprin has included it

 4   as Exhibit 106.

 5              MS. FRENCH:     Your Honor, if counsel's intention is

 6   to present the exhibit to the Court on the screen, I think

 7   it's appropriate for it to be entered into evidence.

 8              MR. GARDNER:     We don't have an objection to that,

 9   Your Honor.

10              106 I believe is the number.        I don't know if ours

11   has their exhibit number on it.        We have paper copies we can

12   give the Court, if that's easier; but I know that it was

13   included on their exhibit list, Von Duprin's.

14              THE COURT:     Do you have a paper copy?

15              MR. GARDNER:     Sure.

16              THE COURT:     It's very difficult to read the little

17   print.

18              Wouldn't you agree?

19              THE WITNESS:     I agree.    It's very hard to see, and

20   I've got good glasses.

21              THE COURT:     So you've offered 106?

22              MR. GARDNER:     Yes, although I would say this is not

23   labeled 106.

24              THE COURT:     Any objection?

25              MS. FRENCH:     No objection, provided the report copy
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 1   is complete and contains all appendices, which it appears to

 2   do so.

 3                MR. MENKVELD:     No objection.

 4                THE COURT:    Exhibit 106 is admitted into evidence

 5   without objection.

 6       (Plaintiff's Exhibit 106 was previously received in

 7   evidence.)

 8   BY MR. GARDNER:

 9   Q   Mr. Williams, you testified at the outset this morning

10   that you had served as an expert before; but this is the first

11   time you've ever offered an expert opinion on the topic of NCP

12   compliance, right?

13   A   Yes.

14   Q   And you have never reviewed a single response cost

15   incurred by a party in litigation to determine whether that

16   cost was incurred consistent with the NCP, right?

17   A   Correct.

18   Q   And in forming your first expert opinion on this topic,

19   you did not review any literature from the EPA or otherwise to

20   help you understand what the NCP requires, did you?

21   A   Well, I did review the NCP.

22   Q   You reviewed the NCP itself; but you didn't review any

23   other literature from the EPA or otherwise, right?

24                MS. FRENCH:     Objection, Your Honor.    The questioning

25   is inconsistent with the witness's prior testimony.
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 1                THE COURT:   I'll overrule.    He can answer.

 2   A   I did review guidance documents related to

 3   nontime-critical removals.       I reviewed guidance documents

 4   related to sampling analysis plans and QAPPs and IRFSs and

 5   things like that.

 6   BY MR. GARDNER:

 7   Q   Mr. Williams, do you remember being deposed in this

 8   matter?

 9   A   Yes.

10   Q   Do you remember that occurred on June 29, 2018?           Does that

11   sound about right?

12   A   That sounds about right.

13   Q   Do you remember being under oath at the time?

14   A   Yes.

15   Q   And you had an opportunity to review your transcript and

16   to make any changes to it after your deposition was over,

17   right?

18   A   Yes.

19   Q   And do you remember during that deposition, you were

20   asked:     "So outside of reviewing the regulations themselves,

21   have you reviewed any of the literature that helps you

22   understand what the National Contingency Plan requires?"

23              And your response was, "Not specifically."

24              And, in fact --

25                THE COURT:   Let him answer does he remember that.
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 1               Do you remember that?

 2   A   Vaguely, I remember that; but that was well over a year

 3   ago as well.

 4               MR. GARDNER:     May I approach, Your Honor?

 5               THE COURT:     Yes.

 6   BY MR. GARDNER:

 7   Q   In case we need to reference it again, here is a copy of

 8   your deposition.

 9            And, in fact, Mr. Williams, you didn't even review the

10   entire NCP before offering your opinion on NCP compliance,

11   right?

12   A   I didn't review the entire NCP.        I reviewed the NCP

13   related to substantial compliance requirements.

14   Q   So the first and only expert opinion that you've offered

15   on this topic is that work that your employer performed was

16   compliant with the NCP, right?

17   A   I'm sorry.     Could you repeat the question?       I'm sorry.

18   Q   Sure.    The first and only expert opinion that you have

19   offered on NCP compliance is at least, in part, that the work

20   that your employer, Geosyntec, performed was compliant with

21   the NCP, right?

22   A   I'm having trouble with the "first and only" part of your

23   question.

24   Q   So earlier just minutes ago, I asked you if you had ever

25   offered an opinion on -- an expert opinion on NCP compliance.
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 1   Do you remember that?

 2   A   Yes.

 3   Q   And you said this was the first time you had done so?

 4   A   Correct.     Correct.

 5   Q   So just to clarify for the Court, this first opinion that

 6   you're offering on this topic is that your employer's work was

 7   compliant with the NCP, right?

 8   A   I'm confusing -- when you say "first opinion" with the

 9   first opinion in my expert report.        So if you said "first

10   time," I would agree with you.

11   Q   The first time you've offered an opinion on this topic in

12   general --

13   A   That's correct.

14   Q   And to clarify also for the Court, Geosyntec is not just

15   your employer.     You also have an ownership interest in

16   Geosyntec, right?

17   A   A very minor ownership, yes.

18   Q   Now, you testified -- well, you were asked questions about

19   whether costs from any site that you had ever supervised were

20   deemed to be not in compliance with the NCP.          Do you remember

21   that?

22   A   Yes.

23   Q   And you did not supervise the costs that were incurred on

24   these properties, did you?

25   A   No, I did not.
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 1   Q   So if we looked at the invoices that were in the record

 2   from Geosyntec, we wouldn't find your name anywhere in those,

 3   right?

 4   A   You will, yes.

 5   Q   So what work, other than this expert work, did you perform

 6   in supervising the costs related to this site?

 7   A   I reviewed some of the documents commencing in 2016, the

 8   draft Remedial Investigation Work Plan, the Final

 9   Investigation Report.       So yes, I did review those documents

10   during their preparation phase.

11   Q   Okay.    You testified about contamination on upgradient

12   properties, just briefly.       You weren't aware of any operations

13   conducted by Major Holdings or Major Tool that would have

14   caused or contributed to any of the contamination at issue in

15   this lawsuit?

16                MS. FRENCH:    Objection Your Honor.      Outside the

17   scope of direct and outside the witness's -- scope of his

18   opinions.

19                MR. GARDNER:    Your Honor, he was asked questions,

20   albeit over our objections, about the contamination from these

21   upgradient properties.       I want to make clear that he's not

22   testifying that any of that contamination came from my

23   clients, Your Honor.

24                THE COURT:     I'll allow the question.    Overrule the

25   objection.
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 1   A   I have not gone through the process as to who specifically

 2   caused the contamination on the upgradient properties.

 3   BY MR. GARDNER:

 4   Q   Okay.    Now, the first opinion you offered this morning and

 5   that you also offered in your report --

 6               MR. GARDNER:    And we can turn to page 8 of the

 7   report, Ms. Woods.

 8   BY MR. GARDNER:

 9   Q   So the first opinion that you've offered here is that

10   Von Duprin incurred necessary response costs for site

11   investigation and remediation activities associated with the

12   release and threatened release of hazardous substances on the

13   defendants' properties, right?

14   A   Yes.

15   Q   As you're using it here, what does the term "necessary

16   response costs" mean?

17   A   They've performed site investigations and removal actions.

18   Q   And these necessary response costs that you're referring

19   to, these include costs both from Geosyntec or that were

20   incurred by Geosyntec and other consultants, right?

21   A   Yes.

22   Q   Let's start with the costs incurred by the other

23   consultants.    So these would be costs incurred, at least by my

24   count, by Arcadis, Alt & Witzig, August Mack, EnviroForensics,

25   and Mundell & Associates; is that right?
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 1   A   Yes.

 2   Q   Did I miss any?

 3   A   I'm not sure if you missed any.        I wasn't keeping score on

 4   who you listed and who you didn't.

 5   Q   But at least those all sound correct to you, right,

 6   Mr. Williams?

 7   A   Yes.

 8   Q   As you sit on the stand today, you can't think of costs

 9   incurred by any other consultant other than Geosyntec that

10   Von Duprin is seeking to recover in this lawsuit?

11   A   Again, I would have to go back and look at every single

12   consultant and what their work consisted of.          I haven't done

13   that.   So with that caveat, yes.

14   Q   So with regard to those consultants that I listed, you did

15   not review any of the invoices for the work performed by those

16   consultants, right?

17   A   That's correct.

18   Q   You only reviewed cost summaries for that work, right?

19   A   Correct.

20   Q   Because the invoices were not available to you, right?

21   A   That's right.

22   Q   And the cost summaries that you reviewed, those were

23   prepared by Von Duprin's counsel, correct?

24   A   I'm not sure who prepared them.

25   Q   And you don't know then what process the person who did
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 1   create them used to create those cost summaries; isn't that

 2   right?

 3   A   That's correct.

 4   Q   So you don't know what information they decided to include

 5   on the cost summaries or what information they decided to

 6   exclude from the cost summaries, right?

 7   A   That's right.

 8   Q   But you do know that the cost summaries did not contain as

 9   much information as the Geosyntec invoices that you reviewed,

10   correct?

11   A   Correct.

12   Q   For instance, the cost summaries did not list the

13   individual people that were working on the projects.           They

14   didn't list the hours that they were working, and they didn't

15   describe the activities that they were undertaking, right?

16   A   That's right.

17   Q   You also did not conduct an independent analysis of the

18   costs incurred by those consultants to determine if those

19   costs were consistent with the NCP, right?

20   A   That's right.

21   Q   So as you sit here today, you can't say whether any

22   specific costs billed by those consultants complied or did not

23   comply with the NCP, right?

24   A   That's right.

25   Q   And to clarify for the Court, these costs were actually
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 1   costs that were incurred by a different entity, Threaded Rod,

 2   in a different litigation, right?

 3   A      Correct.

 4   Q      Von Duprin did not pay any of those consultants itself,

 5   right?

 6   A      That's my understanding.

 7   Q      But then Von Duprin settled with Threaded Rod; and now it

 8   wants to recover the costs that it paid in that settlement

 9   from the parties in this lawsuit, right?

10   A      That's my understanding, yes.

11   Q      Now, you never reviewed any settlement agreement between

12   Von Duprin and Threaded Rod, did you?

13   A      No.

14   Q      So you don't personally know how that settlement agreement

15   relates to any of these costs for the consultants, right?

16   A      Correct.

17   Q      And you don't know how much the work that was performed by

18   these consultants actually costs, right?

19   A      Well, there was a summary of what that actual work cost,

20   yes.

21   Q      But you don't know how much the actual work performed

22   costs?

23                MS. FRENCH:   Objection, Your Honor, asked and

24   answered.

25                THE COURT:    It's cross-examination.     He may answer
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 1   the second question.

 2               Ask your question again.

 3   BY MR. GARDNER:

 4   Q   I'm merely trying to figure out -- the settlement

 5   agreement you have not reviewed, and the cost summaries you

 6   reviewed don't describe the actual work performed.           So you

 7   can't say how much the cost of the actual work performed was

 8   for these five consultants, right?

 9   A   I had the summary of what the total was.

10   Q   To be clear, the NCP does not address costs paid through

11   settling litigation, does it?

12   A   No, it does not.

13   Q   Let's turn then to the costs relating to Geosyntec's work.

14               MR. GARDNER:    Ms. Woods, if we can pull up

15   Exhibit 1017, please.

16   BY MR. GARDNER:

17   Q   Okay.    Now, there have been, I think, more than 2,600

18   pages of invoices from Geosyntec produced in this case.            Have

19   you reviewed all of those invoices?

20   A   No, I have not.

21   Q   So which invoices did you review specifically?

22   A   I can't remember which specific invoices I reviewed, but I

23   probably looked at three or four invoices and with the sole

24   intent of confirming that the invoicing procedures out of our

25   Ann Arbor office were consistent and similar to the invoicing
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 1   procedures that we do out of my office.

 2   Q   So you can't really testify then to costs that are

 3   included in any of the invoices other than the four or five

 4   that you actually reviewed, right?

 5   A   Well, I can testify that I have an understanding of our

 6   invoicing procedures; and I wouldn't expect them to be any

 7   different beyond those four and five for the other invoices

 8   submitted.

 9   Q   Sure, but you can't testify as to the content of any of

10   those invoices, right, because you didn't review them?

11   A   I can testify to the content that it includes the people,

12   how many hours they worked on, and what tasks they were

13   working on.

14   Q   But that's -- well, you can't even really testify to that

15   because you haven't reviewed them.        So how can you

16   definitively say that those --

17                MS. FRENCH:    Objection, Your Honor, argumentative.

18                THE COURT:    I don't think he's being argumentative.

19                Go ahead and ask your question.

20   BY MR. GARDNER:

21   Q   My point is only that if you didn't review the hundreds of

22   invoices that were included here, you cannot testify as to the

23   content of those invoices, right, because you have not

24   reviewed them?

25   A   I can testify that I know our invoicing procedures.            I
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 1   know our invoicing procedures with Von Duprin, and that the

 2   three to four invoices that I did look at were very specific

 3   as to who was working on the project, what the tasks they were

 4   doing; and therefore, all of the other invoices would likely

 5   be consistent with that invoicing process.

 6   Q   Okay.     Let's take a look at one then.

 7               MR. GARDNER:    Ms. Woods let's keep it here.       Can you

 8   zoom in at the invoice date on the top of this page, please?

 9   BY MR. GARDNER:

10   Q   Do you see here, Mr. Williams, where it says -- it

11   includes an invoice date of January 16th, 2017?

12   A   Yes.

13   Q   That's before you offered your expert opinion in this

14   case, right?

15   A   That's correct.

16               MR. GARDNER:    Ms. Woods, could we then go to page 5

17   of this document.     Right here.    Thank you.

18               If we can zoom in at the top there where it says

19   "Phase IV."    Thank you.    That's good, Ms. Woods.

20   BY MR. GARDNER:

21   Q   So we see here that there are, I'll agree, names of people

22   working on the projects; and there are hours describing,

23   presumably, the amount of time they spent on the project; but

24   here at the top we have something that says "Phase" and then

25   it says, "04 Project Management."
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 1            Now, that's the only description of the work that they

 2   were performing that's included in this invoice, right?

 3   A   Right.

 4   Q   There's no narrative to describe the actual work that they

 5   are performing?

 6   A   Correct, on this invoice.

 7   Q   And in reviewing the invoices that you did review, you saw

 8   that not all of the costs that Geosyntec had incurred were

 9   necessary response costs, right?

10   A   Could you say that again?       I'm sorry.

11   Q   Yeah.    You reviewed four or five invoices you testified

12   today; and in reviewing those invoices, you saw that not all

13   of the costs that Geosyntec incurred in this case were

14   necessary response costs, right?

15                MS. FRENCH:    Objection, Your Honor.

16   Mischaracterizes the witness's testimony.

17                MR. GARDNER:     Can I rephrase, Your Honor?

18                THE COURT:     Rephrase.

19   BY MR. GARDNER:

20   Q   Let me ask it this way.        Were all of the costs that

21   Geosyntec incurred in this case necessary response costs?

22   A   In the matter of the Von Duprin site, not all were

23   necessary response costs, nor -- they weren't costs that we're

24   seeking cost recovery for -- that Von Duprin is seeking cost

25   recovery.
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 1              The response costs associated with this matter that we

 2   sit here today, yes, I think they were all necessary response

 3   costs.

 4   Q   Let's turn to your deposition then.         On page 16 -- I

 5   believe you've got a condensed exhibit there.          I think it's

 6   page 13 of your document maybe.

 7              Do you remember during that deposition, Mr. Williams,

 8   you were asked, "Have you concluded that 100 percent of the

 9   work that Geosyntec performed complied with the National

10   Contingency Plan?"

11              And your response was, "No."

12              Do you remember that?

13   A   Yes.

14   Q   I'm going to return --

15   A   That's a different question.

16   Q   Understood.     Understood.    That's not the question I'm

17   asking.    So I'm going to return to the question I am asking,

18   which is which costs then were you referring to when you said

19   that they were costs that had not been incurred with the

20   National Contingency Plan?

21   A   That's two different questions.        First, you state, "Have

22   you concluded that 100 percent of the work that Geosyntec

23   performed complied with the National Contingency Plan"; and I

24   said I had not concluded that.

25   Q   Okay.    And so my question now is what work that Geosyntec
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 1   did perform did not comply with the National Contingency Plan?

 2   A   That's different.       I just said -- I hadn't made the

 3   conclusion.

 4   Q   Mr. Williams, I understand it's a different question than

 5   what was asked in your deposition.        I'm asking you here today

 6   what's the difference?      What portion of those costs were not

 7   consistent with the National Contingency Plan?

 8   A   I don't know.

 9   Q   And is it also then fair to say that you don't know

10   whether all of the work that Geosyntec performed -- strike

11   that.

12              Is it also fair to say that not all of the costs

13   incurred by Geosyntec were necessary response costs?

14   A   I think all the costs incurred by Geosyntec related to the

15   upgradient and downgradient plume area are necessary response

16   costs.

17   Q   What's the total amount of those costs then?

18   A   I don't know.

19                MR. GARDNER:    Ms. Woods, if we could just briefly go

20   to page 1335 of this exhibit.

21   BY MR. GARDNER:

22   Q   We see the date here January 16th, 2017.          Do you see that,

23   Mr. Williams?

24   A   Yes.

25                MR. GARDNER:   Ms. Woods, could we go to the
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 1   following page?      You may need to rotate it so it's right side

 2   up.    Back up.   1336 is what we're looking for.       Thank you.    We

 3   can zoom in around the middle of the page there and just a

 4   little bit higher where it says 5.09.         Okay.

 5   BY MR. GARDNER:

 6   Q     You see, Mr. Williams, where it says "mediation support"?

 7   A     Yes.

 8   Q     You see under the amount spent column where it says

 9   "$416,933"?

10   A     Yes.

11   Q     That's not a necessary response cost, is it?

12   A     Nope.

13   Q     So there are other costs in these invoices that are

14   similarly not necessary response costs, right?

15   A     That's correct.

16   Q     So if we return then to your first opinion --

17                 MR. GARDNER:   Ms. Woods, can we go back to his

18   report, please?

19   BY MR. GARDNER:

20   Q     When you say, "Von Duprin has incurred necessary response

21   costs," which costs specifically are you referring to?

22   A     The costs for environmental investigations and removal

23   actions.

24   Q     And that's it?

25   A     It doesn't include mitigation costs.       It doesn't include
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 1   RCRA costs on the site itself, correct.

 2   Q   And you don't know the total amount of those necessary

 3   response costs, right?

 4   A   No, I do not.

 5   Q   You didn't differentiate between site investigation

 6   activities and remediation activities, did you?

 7   A   Removal action activities, no, I did not distinguish

 8   between those.

 9   Q   And you didn't do any analysis to determine whether a

10   particular cost relates to a release or even a threatened

11   release from a particular property, right?

12   A   Could you repeat the question, please?

13   Q   Sure.    You did not do any analysis to determine whether a

14   particular cost relates to a release or even a threatened

15   release from a particular property, right?

16   A   I looked at the specific activity and not the individual

17   cost.

18   Q   So then is the answer to my question, "Correct"?

19   A   Correct.

20   Q   So, for instance, you can't say that any of Von Duprin's

21   costs relate to a release or a threatened release on the Ertel

22   facility, for instance, right?

23   A   Not individually to the Ertel facility.

24   Q   And you can't say -- and you cannot say that any cost

25   incurred relates to a release or a threatened release that was
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 1   caused by Major Holdings or Major Tool, right?

 2   A   Correct.

 3   Q   And Von Duprin would have been required to incur the same

 4   costs that it incurred if its contamination was the only

 5   contamination present on its property, correct?

 6              MS. FRENCH:     Objection, Your Honor, mischaracterizes

 7   the witness's prior testimony.

 8              THE COURT:     Your response.

 9              MR. GARDNER:     We can go to his deposition now.        I

10   would like to hear his answer first; but if we need to skip

11   ahead to his deposition, we can.

12              THE COURT:     Why don't you do that.

13   BY MR. GARDNER:

14   Q   Mr. Williams, can you please turn to page 104 of your

15   deposition, line 14?

16            Do you remember being asked, "Would Von Duprin have

17   been required to incur the costs that you're testifying it has

18   incurred if its contamination was the only contamination

19   present on its property?"

20            And your response was, "Yes."

21            Do you remember that?

22   A   Correct.

23   Q   Let's discuss the second opinion you offered.

24              MR. GARDNER:     Ms. Woods if we could scroll down in

25   his report, please.      Right there.    Thank you.
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 1   BY MR. GARDNER:

 2   Q   Now, in this title here and I believe in your testimony at

 3   points today, you've referred to "site investigation

 4   activities"; but this opinion that you're offering here today

 5   and in your report addresses removal actions, as that phrase

 6   is used in the NCP, right?

 7   A   Correct.

 8   Q   And you identified all of the preliminary assessment or

 9   site investigation activities in Section 5.6 of your report,

10   correct?

11                MR. GARDNER:     Ms. Woods, could we skip ahead to 5.6?

12   I believe it starts on page 16 of the report.

13   BY MR. GARDNER:

14   Q   If we read from it, Mr. Williams, in the first sentence

15   there you state, "Sections 300.410 and 420 require preliminary

16   assessments, (PA), and potentially site inspections (SI) for

17   initial evaluation of site conditions."

18              Do you see that?

19   A   Yes.

20   Q   And then in the following paragraph -- the last sentence

21   of the following paragraph, you say, "The PAs/SIs," meaning

22   the preliminary assessments and potentially site inspections,

23   "and Phase Is prepared for the source area include," and then

24   on this page --

25                MR. GARDNER:   And then, Ms. Woods, if we could
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 1   scroll down to page 17 at the top.

 2   BY MR. GARDNER:

 3   Q   -- you list the PAs and SIs that have been performed in

 4   this area, right?

 5   A   Yes.

 6   Q   So the other actions that you referenced, those are

 7   considered removal actions under the NCP, right?           Anything not

 8   included in this section, the other -- the activities that

 9   you've described today, those are considered removal actions,

10   correct?

11                MS. FRENCH:     Objection, Your Honor, mischaracterizes

12   the witness's prior testimony.

13                THE COURT:     I'll let the witness answer.     He can

14   tell us if that's mischaracterizing his testimony.

15   A   I'm confused by the question.

16   BY MR. GARDNER:

17   Q   I don't mean to confuse you.           I will try to make it simple

18   as I can.     I'm trying to make some sense of the report as

19   well.

20              So --

21                THE COURT:     I'm going to strike your commentary from

22   the record.        It's not appropriate.

23                MR. GARDNER:     Sorry.

24   BY MR. GARDNER:

25   Q   In this section, 5.6, you describe the PAs and SIs that
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 1   have been performed in the source area, correct?

 2   A   Yes.

 3   Q   Okay.     And I'm merely trying to figure out are there other

 4   PAs and SIs that are not listed in this section of your report

 5   that you are claiming are PAs or SIs in this case?

 6   A   No.     These are the primary PAs and SIs.

 7   Q   So if it's listed in that section, that's the extent of

 8   the PAs and SIs that are relevant to the source area?

 9   A   Yes, that's my understanding.

10   Q   To determine whether these activities complied with the

11   NCP, you have to evaluate multiple sections of the NCP,

12   correct?

13   A   Yes.

14   Q   Okay.    And you listed a bunch of them in a row.         I don't

15   need to focus on all of them, but I do want to make sure that

16   the ones I'm focusing on are sections that you believe apply

17   to the actions that are performed in this case.

18              So have you determined that the following sections

19   that I will list are applicable:        400 CFR Section 300.150,

20   300.160, 300.400(C), 300.400(G), 300.415, 300.430 and 300.155?

21   Do all of those apply to the actions that were taken in this

22   case?

23   A   You missed some and added one.

24   Q   Well, let's talk about the one I added.          Which one did I

25   add that you don't believe applies in this case?
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 1   A   What was your last one?

 2   Q   I said 300.155?

 3   A   I misheard you.     Okay.    I have that then.     That's fine.

 4   Q   Sorry.     Just so I'm clear, all of those provisions that I

 5   listed, those are sections of the NCP that the actions that

 6   were undertaken in this case need to comply with to comply

 7   with the NCP, right?

 8   A   Correct.

 9   Q   Let's discuss then the first one I listed.          That's

10   Section 300.150.     We don't need to pull it up because I don't

11   think my questions will relate to the text of it necessarily;

12   but just generally, this section requires a OSHA compliant

13   Health and Safety Plan or what's known as a HASP, right?

14   A   Yes.

15   Q   And a HASP is required for all response actions under the

16   NCP, correct?

17   A   Yes.

18   Q   Here a HASP was not created for any of the work before

19   August of 2014, right?

20   A   I don't know that for a fact.

21   Q   Are you aware of any HASP that was created for work that

22   was performed before August 2014?

23   A   I'm aware of the August 2014 HASP that Geosyntec prepared;

24   but as I testified earlier this morning, that because of

25   29 CFR 1910.120, that was the industry standard for all
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 1   consultants working in hazardous waste sites since at least

 2   1990 that they have a HASP for their work.

 3              So maybe it's a broad assumption; but it is an

 4   industry standard for consultants working in the industry,

 5   especially under the jurisdiction -- some of it was under the

 6   jurisdiction and supervision of IDEM.         They would have had a

 7   Health and Safety Plan.

 8   Q   But as you sit here today, you cannot identify any HASP

 9   that was created for any of the work before August 2014,

10   right?

11   A   As I testified previously, I have not reviewed any HASP

12   for the work prior to 2014.

13   Q   And you have not reviewed any HASP for any consultant

14   other than Geosyntec, correct?

15   A   That's correct.

16   Q   Let's move on to Section 300.160.         Now, as part of the

17   requirements in this section, it requires private parties to

18   keep an accurate accounting of costs associated with response

19   actions, right?

20   A   Yes.

21   Q   Okay.    And as we discussed, you did not review any actual

22   invoices for any consultant other than Geosyntec, right?

23   A   That's correct.

24   Q   And the cost summaries that you did review for the other

25   consultants did not indicate the work that was being performed
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 1   or who was performing the work, right?

 2   A   That's correct.

 3   Q   And Geosyntec's invoices, at least the four or five that

 4   you did review, do not contain narratives describing the work

 5   that was performed, right?

 6   A   Not on the invoices, no.

 7   Q   Let's go to Section 300.400(C).        This particular

 8   subsection requires private parties to be sensitive to local

 9   community concerns, correct?

10   A   Yes.

11   Q   (C)(4), that is?

12   A   Yes.

13   Q   And your opinion today is that this requirement was

14   satisfied because Von Duprin or Geosyntec performed activities

15   directly with homeowners and residents of the downgradient

16   properties; is that right?

17   A   That's correct.

18   Q   But the being sensitive to local community concerns under

19   the NCP means more than just communicating with owners and

20   residents of affected properties, doesn't it?

21   A   In some instances in time, yes.

22   Q   Okay.    The NCP doesn't define the local community only to

23   be affected parties, correct?

24   A   They point primarily to the affected parties, but they

25   also specify the timing as to when those affected parties or
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 1   the public as a whole is informed and communicated with.

 2              And as I testified previously, and with EPA's

 3   concurrence and IDEM's policy, the time that the entire

 4   community is informed and communicated with and public comment

 5   is sought is right after the Remediation Work Plan is

 6   prepared.

 7   Q   We will discuss that; but for right now, I only want to

 8   focus on Section 400(C)(4), which requires that the parties be

 9   sensitive to local community concerns.         And so my question to

10   you is simply the local community consists of more than just

11   affected owners and residents, correct?

12   A   I think the most relevant are the exact people that are

13   being affected.

14   Q   But the regulation speaks to the entire community,

15   correct?

16   A   Maybe we should open up and look at the regulation

17   language exactly.      As I recall it, it is to be sensitive to

18   public concerns.

19                MR. GARDNER:   Ms. Woods, then can we pull up

20   Section 300.400.      It would be in a separate document.       I think

21   it's maybe the fifth one down.

22                Okay.   If you could scroll down just a little bit,

23   please.     You just passed it.    Okay.

24                This is Section (C)(4) at the top, Ms. Woods.         Can

25   we scroll in?
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 1   BY MR. GARDNER:

 2   Q      It says, "Be sensitive to local community concerns,"

 3   right?

 4   A      Yep.

 5   Q      Being sensitive to local community concerns requires more

 6   than just performing work in accordance with IDEM's schedules,

 7   right?

 8   A      Yes.

 9   Q      So you could perform all your work in accordance with

10   IDEM's schedules; but you still wouldn't necessarily be

11   sensitive to local community concerns, correct?

12   A      Well, in this instance, as I testified earlier this

13   morning, we were sensitive to the public concerns; and we

14   contacted directly the people over the plume and communicated

15   with them directly, the public community.

16   Q      Well, hold on.   Just so I'm clear, you referenced -- you

17   said you referenced the directly affected property owners; and

18   at the tail end of the answer there, you said you also

19   contacted the public community.        So which is it?     Did they

20   contact the public community or was it only the directly

21   affected residents?

22   A      The directly affected residents and the public community

23   over the plume area.

24                 MR. GARDNER:   Ms. Woods, we can keep that up for

25   now.     Let's turn to Section 300.400(G).      Ms. Woods, could you
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 1   scroll down a little bit so we have it in front of us to

 2   Section G?    I believe that's D.      Keep going.    There's E.

 3   There's F.    Right there.    Thank you very much.

 4   BY MR. GARDNER:

 5   Q   This section requires identification of all applicable

 6   requirements or relevant and appropriate requirements for

 7   release or anticipated response actions, correct?

 8   A   Yes.

 9   Q   As it's used in this section, what does the term

10   "applicable requirements" mean?

11   A   Applicable to the response action.

12   Q   And as the term -- well, what does the term "relevant and

13   appropriate requirements" mean as it's used in this section?

14   A   Requirements, again, related to what responses were going

15   to be implemented.

16   Q   So then what's the difference between applicable

17   requirements and relevant and appropriate requirements?

18   A   I struggle with those terms myself because they all

19   essentially seem to mean the same thing.

20   Q   Okay.    The EPA provides guidance for the process of

21   identifying ARARs, right?

22   A   Yes.

23   Q   And you did not review that guidance before offering your

24   opinion in this case, did you?

25   A   No, that's not true.
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 1   Q   That's not true?

 2   A   That's not true.

 3   Q   So your testimony is now that you did review the EPA

 4   literature?

 5   A   I have reviewed the EPA literature relevant to the

 6   development of ARARs.

 7   Q   Would that have been listed in your expert report under

 8   your references section, do you think?

 9   A   No.

10   Q   So you reviewed it, but you didn't put it in your report?

11   A   Correct.

12   Q   You're not aware of any ARARs that were spelled out in any

13   document for the work performed in this case, correct?

14   A   As I testified earlier today, there's no document that's

15   entitled "ARARs" but --

16   Q   That's my question.      Thank you.

17             If the person performing the work does not document

18   their consideration of ARARs, then how can you know that they

19   actually identified the ARARs and determined that those

20   requirements did or did not apply?

21   A   By looking at the requirements that were satisfied and

22   implemented during the execution of that work.

23   Q   Well, I would agree with you in part that I think that

24   would tell you maybe some of the requirements that they found

25   did apply; but if they don't list them specifically, how do
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 1   you know which ones they considered and which ones they didn't

 2   consider?

 3   A   I don't know.     You're right.

 4   Q   Now, applying IDEM's screening levels is not the same

 5   thing as identifying all ARARs, right?

 6   A   It's one component of ARARs.

 7   Q   Sure, but there are other ARARs that should be considered

 8   that don't have anything to do with the IDEM screening levels,

 9   right?

10   A   Correct.

11   Q   Let's turn to Section 300.415.

12               MR. GARDNER:    And, Ms. Woods, maybe it would be

13   helpful if we pulled this up as well.         It would be a different

14   document.    Okay.   We can keep it here for now.       If we need to

15   reference it, let me know; and we can zoom in on any

16   particular portion.

17   BY MR. GARDNER:

18   Q   Among other things, 300.415 requires a private party to

19   conduct an engineering evaluation/cost analysis or what I

20   understand is called an EE/CA, correct?

21   A   Yes.

22   Q   And the EPA provides guidance for developing EE/CAs,

23   correct?

24   A   Yes.

25   Q   Did you review that guidance before you performed your
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 1   opinion in this case?

 2   A   In the process of forming my opinions, yes.

 3   Q   But that reference, that guidance, that document is not

 4   referenced anywhere in your report, is it?

 5   A   Not specifically, no.

 6   Q   Now, there is no EE/CA that was spelled out for any of the

 7   work that was performed here, is there?

 8   A   As I testified earlier, there is no document that is

 9   entitled "EE/CA" --

10   Q   Thank you.

11   A   -- for this matter.

12   Q   The section also requires a Sampling and Analysis Plan or

13   what is referred to as a SAP and a Quality Assurance Project

14   Plan or a QAPP, right?

15   A   Correct.

16   Q   Both the SAP and the QAPP are also required under

17   Section 300.430, right?

18   A   I can't remember the exact citation.         I'll trust you on

19   that.

20   Q   A SAP was required to be created for the work that was

21   performed here, correct?

22   A   For the response action, yes.

23   Q   And you're not aware of any document where a SAP is

24   spelled out, are you?

25   A   As I testified earlier, the components of the SAP are
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 1   spelled out in the documents; but there is no specific

 2   document entitled "SAP."

 3   Q   And a QAPP was also required to be performed for the

 4   work -- I think you said the response actions that were taking

 5   place here; is that correct?

 6   A   Yes.

 7   Q   And, in fact, a QAPP is required under both the NCP

 8   guidance and IDEM's Remediation Closure Guide, correct?

 9   A   Correct.

10   Q   And here, a QAPP was prepared by Geosyntec in May of 2017,

11   right?

12   A   Correct.

13   Q   So Geosyntec knew how to create a QAPP, right?

14   A   Yes.

15   Q   But Geosyntec did not create any QAPP before May of 2017;

16   isn't that right?

17   A   Correct.

18   Q   And you're not aware of any other QAPPs created by anybody

19   before May of 2017; isn't that right?

20   A   But as I testified earlier, the components of the QAPP

21   were within the documents of the work plans that were prepared

22   in this matter.

23   Q   Just so I have an answer to my question, you're not aware

24   of any other QAPPs created before May of 2017, right?

25   A   Correct.
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 1   Q   And the removal actions that you testified were performed

 2   here, those were performed before May of 2017, right?

 3   A   Yes.

 4   Q   Final sections, these all relate to community involvement

 5   requirements; so I'll lump them together as Von Duprin's

 6   counsel did.

 7              300.155, 300.415 and 300.430, all of those contain

 8   community involvement requirements, correct, Mr. Williams?

 9   A   Yes.

10   Q   For instance, if we were to -- here, we can use this one.

11                MR. GARDNER:   Ms. Woods, can you go down to Section

12   (N)(4).    Keep going.

13   BY MR. GARDNER:

14   Q   Either way, (N)(4) specifies the minimum public comment

15   and review requirements for removal actions, right?           Do you

16   need Ms. Woods to pull it up?       We can do that for you if you

17   want, Mr. Williams.

18                MR. GARDNER:   Ms. Woods, 415, so just the tab over

19   to the left.    That one.    And we are looking for section

20   (N)(4).    That's fine right here.

21   BY MR. GARDNER:

22   Q   So here we've even got (N)(2), (N)(3) as well as (N)(4);

23   but these describe generally the community actions that are

24   required, right?

25   A   Yes.
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 1   Q   Okay.    And as some of those requirements, there's a

 2   requirement that they include a formal Community Relations

 3   Plan, right?

 4   A   Yes.

 5   Q   And there are certain days allocated for the submission of

 6   written or oral comments, right?

 7   A   Yes.

 8   Q   And there's a section that requires them to prepare

 9   written responses to significant comments, right?

10   A   Yes.

11   Q   And there is a requirement that relates to publishing

12   certain documents in a local newspaper, right?

13   A   Yes.

14   Q   And the work that Von Duprin -- the work that was

15   performed for Von Duprin was required to comply with each of

16   these provisions, right?

17   A   Well, I would argue that the Memorandum of Understanding

18   and the authority that EPA Region V gave to IDEM through the

19   Voluntary Remediation Program, that that would govern over the

20   individual specific requirements and that those requirements

21   were essentially satisfied through the Community Relations

22   Program and planning as spelled out in the Remediation Program

23   and Closure Guide.

24   Q   Okay.    Let's start then with the Memorandum of

25   Understanding.    That you were asked about during your
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 1   questioning earlier this morning.        It's a Memorandum of

 2   Understanding between IDEM and the EPA, right?

 3   A   Yes.

 4   Q   And that document doesn't reference the National

 5   Contingency Plan anywhere, does it?

 6   A   Oh, but it does, yes.

 7   Q   You think it does?

 8   A   Yes.

 9   Q   Okay.    We can address that later if we need to.

10              Let's return to the question here.       The NCP itself,

11   does it spell out that if actions are taken in accordance with

12   that Memorandum of Understanding, that they will then be

13   consistent with all these community requirements?

14   A   It does not.

15   Q   And it's your opinion that community outreach performed by

16   Von Duprin or on behalf of Von Duprin was sufficient to comply

17   with all of these community relations requirements, right?

18   A   Yes.

19   Q   But as we discussed earlier, those interactions were

20   limited to the downgradient property owners who are affected

21   by the plume, correct?

22   A   Yes.

23   Q   Now, IDEM's requirements for response actions are not the

24   same as the NCPs, are they?

25   A   I think they're generally consistent but they are not the
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  1   same.

  2   Q     For instance, a Community Relations Plan requirement is

  3   different, right, for -- for IDEM, it's required when the RWP

  4   is created; but for the NCP, it's required much earlier, isn't

  5   it?

  6   A     Yes.    The NCP does spell out that it's the implementation

  7   of the Community Relations Plan, and community relations as a

  8   whole is at the discretion of the lead agency.

  9   Q     Okay.

 10                You've referenced IDEM's oversight of the actions that

 11   were taken in this area; but you don't know which actions were

 12   taken with IDEM's oversight and which were not, do you?

 13   A     I'm sorry.    Could you repeat the question?

 14   Q     Sure.    So you've referenced IDEM's oversight, essentially

 15   that IDEM has overseen the activities that were taken in this

 16   area, correct?

 17   A     Yes.

 18   Q     But you don't know which activities IDEM has overseen and

 19   has not overseen, correct?

 20   A     I don't think that's correct.

 21   Q     Okay.    Let's turn to page 48 of your deposition,

 22   Mr. Williams.      The very last paragraph of page 48, starting on

 23   line 22.      "Of all the work that Geosyntec has performed that

 24   resulted in costs that have been incurred by Von Duprin, has

 25   any of the work been done without IDEM's oversight?"
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  1              And if you turn the page onto 49, your response was,

  2   "I don't know."

  3              And if we skip down to line 8, you were asked:        "Of

  4   all the work that Geosyntec performed in the study area, did

  5   you determine whether that work was performed with IDEM

  6   oversight or if it was performed without IDEM oversight?"

  7              Your response was:   "It is my understanding that the

  8   vast majority of the work was performed with IDEM oversight.

  9   There may have also been some tasks performed without IDEM

 10   oversight, but I can't spell out specifically which those

 11   tasks were."

 12              Then you were asked:    "At what point did you perform

 13   that analysis though?"

 14              And your response was, "I really didn't."

 15              You've also referenced IDEM as being the lead agency,

 16   correct?

 17   A   Yes.

 18   Q   Is it your opinion that IDEM's -- that it's IDEM's

 19   responsibility to fulfill the community relations obligations

 20   in this case?

 21   A   I think it's collectively IDEM and Von Duprin.

 22   Q   The term "lead agency," when the party involved is a

 23   private party and not a governmental entity, does that term as

 24   it's used in the NCP relate or refer to the private party or

 25   to a lead agency?     Do you know?
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  1   A   I don't know exactly.      It does distinguish between private

  2   parties and lead agencies.        So when it uses the term "lead

  3   agency" in the NCP, I'm assuming it refers to the actual lead

  4   agency.

  5   Q   Okay.     You testified that the EPA approved the community

  6   relations requirement required by IDEM for parties in the VRP.

  7   Do you remember that?

  8   A   Yes.     I think you kind of misstated what I said.

  9   Q   Correct me then.     Sorry.    I didn't mean to misstate it.

 10   A   I'm not sure what you're asking me to testify to.

 11   Q   Well, tell me what in my statement was incorrect.

 12   A   Can you repeat your statement?

 13   Q   Sure.     I said -- and again, if I'm wrong, please let me

 14   know -- you testified that the EPA approved the community

 15   relations requirements that are required by IDEM for parties

 16   in the VRP?

 17   A   And what I testified to was that IDEM and EPA agreed that

 18   the community relation -- or that the community relations

 19   components of the VRP was adequate.

 20   Q   Sorry.    I did not mean to mischaracterize your testimony.

 21              My question, though, is the removal actions that were

 22   taken here were taken before Von Duprin was in the VRP,

 23   correct?

 24   A   I'll have to recall when the JTV Hill remediation

 25   occurred; but certainly, the residential mitigation or removal
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                                   11011
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  1   action was done before they were enrolled in the VRA.

  2                  MR. GARDNER:   Briefly, Ms. Woods, can we go back to

  3   his report, please.       Opinion 3.   Okay.

  4   BY MR. GARDNER:

  5   Q      Here in the report and also here today, you testified

  6   about remedy selection and remediation, correct?

  7   A      Yes.

  8   Q      You've not determined that any remedial action relating to

  9   groundwater was performed in compliance with the NCP, have

 10   you?

 11   A      No, I have not.    There's been no remediation of

 12   groundwater to this point.

 13   Q      Sure.   And Section 300.435 of the NCP applies to remedial

 14   actions, correct?

 15   A      That's right.

 16   Q      And you didn't consider that section in forming your

 17   opinions today, correct?

 18   A      Correct, since there has been no remedial action.

 19   Q      And as you sit here today, you can't say whether the costs

 20   that Von Duprin will incur in the future will be necessary

 21   response costs incurred consistent with the NCP, can you?

 22   A      If I heard your question correctly, I'm not sure that's

 23   accurate because of the Remediation Work Plan that I testified

 24   to earlier for soils on the Von Duprin property, that that

 25   sets the framework for the Remediation Work Plan that will
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  1   also be prepared when it comes to determining the Groundwater

  2   Remediation Plan.

  3   Q   So I think we agree that there's a remediation -- a

  4   partial Remediation Work Plan in place.         My question is that

  5   just because that Remediation Work Plan is in place doesn't

  6   mean necessarily that Von Duprin is going to incur necessary

  7   response costs consistent with the NCP in the future, right?

  8   A   I disagree with that because that is the template that's

  9   set that's spelled out in the Voluntary Remediation Agreement,

 10   which parties and how the parties collectively in this room

 11   cooperate to remediate the groundwater, if they do.           That

 12   would certainly serve as a template for going forward, and I

 13   think that template is substantially consistent with the NCP.

 14   Q   One last question, Mr. Williams.

 15              Earlier today, you testified that IDEM required

 16   Von Duprin to perform upgradient delineation activities on

 17   Major Tool and Major Holdings' property.         Do you remember

 18   that?

 19   A   Yes.

 20   Q   In what document did IDEM require that?

 21   A   I remember seeing it, and it was one of the documents

 22   related to the investigation on the Von Duprin -- I can't

 23   remember exactly which document that was.

 24                MR. GARDNER:   Your Honor, I have no further

 25   questions at this time.
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  1                THE COURT:   All right.   Thank you.

  2                On behalf of Moran, Mr. Menkveld, are you going to

  3   do the cross?

  4                MR. MENKVELD:   Yes, Your Honor.

  5                             CROSS-EXAMINATION

  6   BY MR. MENKVELD:

  7   Q   Good morning, sir.

  8   A   Good morning.

  9   Q   I am Marc Menkveld.      I will ask you questions on behalf of

 10   Moran Electric.

 11              First, I want to make sure I understand that you are

 12   an employee of Geosyntec; is that right?

 13   A   Yes.

 14   Q   And you are also a partial owner of Geosyntec?

 15   A   A very small owner.

 16   Q   Some percentage less than 10 percent?

 17   A   Much less than 1 percent.

 18   Q   But you are a partial owner nonetheless; is that right?

 19   A   Yes.

 20   Q   And your job in this case is to assess whether your

 21   employer, which is a company that you partially own, complied

 22   with a federal regulation; is that right?

 23   A   In part, yes.

 24   Q   You offered testimony earlier today that you're aware that

 25   the NCP requires engaging in a prompt response, right?
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  1   A   Yes.

  2   Q   And you defined a prompt response meaning without

  3   unnecessary delay; is that correct?

  4   A   I don't think I used those exact words.

  5   Q   How would you define what it means to be prompt?

  6   A   I believe I used the term that -- I gave very specifics

  7   for the residential vapor intrusion mitigation system, that

  8   they were discovered in June; and a mitigation system was

  9   installed three to four months later, August to October 2014.

 10   Q   So you know your deposition's been taken in this case; and

 11   we've worked with it a little bit, correct?

 12   A   Yes.

 13   Q   Let's just make sure we're on the same page here.           Page

 14   69, line 24 and 25 of your deposition.         And you can use the

 15   one I'm working with here or your own.         It doesn't matter.      I

 16   asked on line 24, "How do you define prompt?"

 17              And what was your answer?

 18   A   "Without delay."

 19   Q   And?

 20   A   "And without unnecessary delay."

 21   Q   Now, when we're talking about engaging in a prompt

 22   response, you're referring to Von Duprin's prompt response,

 23   correct?

 24   A   Yes.

 25   Q   And that response would be a response to a regulator
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  1   making demands of a potentially responsible party; is that

  2   right?

  3   A   That could be one, yes.

  4   Q   Now, a letter from a regulator could trigger a prompt

  5   response; is that correct?

  6   A   Yes.

  7              MR. MENKVELD:     Pull up Exhibit 1010, please.

  8   BY MR. MENKVELD:

  9   Q   Mr. Williams, have you seen this exhibit before?

 10   A   Yes.

 11   Q   Now, was this exhibit worked into your analysis of whether

 12   Von Duprin engaged in a prompt response?

 13   A   Not specifically, no.

 14   Q   Now, if you can tell us, if you recall when Von Duprin

 15   actually removed impacted soils at the Von Duprin site.

 16   A   There was certainly some earlier this year.          There were, I

 17   believe, some tank removals.       I'm not sure the time frame of

 18   those.

 19   Q   You understand that a release of contaminants to soil

 20   leaves contaminated soils in place?

 21   A   Yes.

 22   Q   Is it your understanding that Von Duprin removed

 23   contaminated soils for the first time on the Von Duprin

 24   property in 2019?

 25   A   No.
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  1   Q     Okay.   You don't know whether that occurred or do you

  2   dispute that?

  3   A     For the first time.    I dispute for the first time.

  4   Q     Tell me when Von Duprin first removed contaminated soils

  5   from its site.

  6   A     I don't remember the exact date.      I'm sorry.

  7   Q     Give me an approximate date.

  8   A     I thought it was 2015, 2016 time frame.

  9   Q     Where a soil excavation was performed on the Moran

 10   property?

 11   A     Again, I can't remember the exact event or the document

 12   that summarizes that.

 13   Q     And you can't point me to a document that summarizes that

 14   as we're sitting here right now?

 15   A     As we're sitting here right now, no.

 16   Q     Now, you mentioned earlier that there was some soil

 17   removal from the Von Duprin property, right?

 18   A     Yes.

 19   Q     And that was done in 2019.     Is that what you're referring

 20   to?

 21   A     Yes.

 22   Q     And as part of this case, Von Duprin is not asking Moran

 23   or Major Tool for reimbursement with respect to those costs;

 24   is that correct?

 25   A     That's correct.
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  1   Q   Now, you also mentioned earlier just today, Mr. Williams,

  2   that Moran and MTM were ordered to clean up their properties,

  3   whereas Von Duprin volunteered.       Do you recall that?

  4   A   Yes.

  5   Q   Are you aware, Mr. Williams, that soil removal was

  6   performed on the Ertel property?

  7   A   I recall something like that, yes.

  8   Q   Are you aware that the soil removal was performed on the

  9   Zimmer property?

 10   A   Yes.

 11   Q   Are you aware that soil removal was performed on the Moran

 12   property?

 13   A   Yes, and I recall some of that removal was done by the

 14   City of Indiana -- or Indianapolis and the EPA, if I recall

 15   correctly.

 16   Q   Mr. Williams, do you know whether IDEM required that

 17   removal to be performed?

 18   A   I haven't looked at that specific regulatory record.

 19   Q   So you don't know if an order was entered against Major

 20   Tool or Moran to perform that soil removal?

 21   A   No, I don't.

 22   Q   Do you know one way or the other how many millions of

 23   dollars were spent doing that removal?

 24   A   No, I don't.

 25   Q   And do you know whether Moran Electric actually paid for
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  1   that soil removal?

  2   A   I don't.

  3   Q   Or for that matter, do you know whether Major Tool

  4   actually paid for that soil removal?

  5   A   I don't.

  6   Q   Do you realize buildings were demolished on those

  7   properties?

  8   A   I understood they were.

  9   Q   And you realize buildings were erected on those

 10   properties?

 11   A   I believe so.

 12                MS. FRENCH:     Objection, Your Honor.    I think we're

 13   pretty far afield from the witness's opinions and his earlier

 14   testimony.

 15                MR. MENKVELD:     Your Honor, he testified that Moran

 16   and Major Tool were ordered to do remediation activities, and

 17   I'm establishing those activities occurred without an order.

 18                THE COURT:    Okay.   I'll overrule.     Next question.

 19   BY MR. MENKVELD:

 20   Q   Are you aware that Moran and Major Tool jointly

 21   volunteered to enter into the Voluntary Remediation Program?

 22   A   That's very recent; is that correct?

 23   Q   I'm asking you.

 24   A   I understood it was a very recent activity.          That was

 25   after they were ordered, I believe, in 2018.
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  1   Q   Okay.     So it's your testimony today that you believe the

  2   IDEM order came before the voluntary remediation application.

  3   Is that your testimony?

  4   A   That's my recollection, yes.       I haven't seen the voluntary

  5   agreement, but I did see the order; and I believe the order

  6   came prior to my deposition last year, if I recall correctly.

  7   Q   Well, if I told you that Major Tool and Moran filed their

  8   VRP application before IDEM's order came down, would you

  9   dispute that?

 10   A   Would I dispute it?      Would I change my opinion if I had

 11   saw that document?     Yes, I would change my opinion.

 12   Q   Now, there's been some testimony in this case that

 13   consultants other than Geosyntec did some work to investigate

 14   the study area in general, correct?

 15   A   Yes.

 16   Q   And some of that work was done on the Von Duprin site

 17   itself; is that right?

 18   A   Yes.

 19   Q   Now, it's your opinion and you understand, don't you, that

 20   Von Duprin is actually a responsible party with respect to

 21   releases on its own property?

 22   A   Certainly, yes.

 23   Q   And some of that data that was collected by other

 24   consultants was used to investigate that contamination; is

 25   that right?
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  1   A      Yes.

  2   Q      Now, you referenced earlier that Von Duprin did not pay

  3   those consultants directly for that data, correct?

  4   A      That's my understanding, yes.

  5   Q      And that you believe Von Duprin paid money into a

  6   settlement, and that's how it obtained access to the data; is

  7   that right?

  8   A      Yes.

  9   Q      Now, you did not review that settlement agreement, did

 10   you?

 11   A      No.

 12   Q      You haven't reviewed any documents showing the transfer of

 13   title from -- or of that data from Threaded Rod to Von Duprin,

 14   have you?

 15   A      No.

 16   Q      Do you have any opinion as to whether those data are even

 17   transferable without a written agreement, whether they can be

 18   transferred without a written agreement?

 19   A      Whether the data electronically, physically?       I'm confused

 20   by your question.

 21   Q      That's a good request for clarification.

 22                 You have no opinion as to whether the ownership of

 23   those data are transferable without a written agreement, do

 24   you?

 25   A      I have no opinion on that.     You're correct.
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  1   Q      Now, you are aware of IDEM's Virtual File Cabinet, aren't

  2   you?

  3   A      Yes.

  4   Q      And the Virtual File Cabinet is a repository -- an online

  5   repository where environmental data is put online, right?

  6   A      Right.

  7   Q      And then members of the public can go and then review that

  8   data, correct?

  9   A      Yes.

 10   Q      And these data would have been put on the Virtual File

 11   Cabinet, correct?

 12   A      Not necessarily.

 13   Q      Well, in this case, weren't these reports actually put on

 14   the Virtual File Cabinet from other consultants?

 15   A      I don't know if all of them were or not.       I know a lot of

 16   the Virtual File Cabinets or electronic databases maintained

 17   by state agencies didn't really go into effect until the 2000

 18   or 2005 time frame.       So I haven't gone to see if Indiana went

 19   back and scanned all their historical records and put them on

 20   the file cabinet or not.

 21   Q      So you can't tell me which of these data were actually put

 22   on the Virtual File Cabinet then; is that right?

 23   A      That's correct.

 24   Q      Now, would it be necessary to buy data that is available

 25   to the public at large?
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  1   A   It depends on the format of the data.         If you're obtaining

  2   the data in its electronic database, yes, it would be worth it

  3   to buy.

  4   Q   Well, now, you just said some of those data releases are

  5   at the Von Duprin site, right?

  6   A   Yes.

  7   Q   Are you aware that Moran Electric also paid money to

  8   Threaded Rod to settle Threaded Rod's lawsuit?

  9   A   No.

 10   Q   So you don't know if Moran actually bought some of the

 11   data from Threaded Rod?

 12   A   I do not know.

 13   Q   As a matter of fact, as a responsible party for releases

 14   on the Von Duprin property, are you saying that Von Duprin

 15   bought data that was used to investigate its own releases?

 16   A   No.

 17   Q   Well, what part of that data that Von Duprin supposedly

 18   purchased was associated with releases at the Von Duprin

 19   property?

 20   A   I'm really confused by your question.         I'm sorry.

 21   Q   You understand there was data taken from the Von Duprin

 22   property, right?

 23   A   There were samples collected and data generated, yes.

 24   Q   You understand there was data taken from upgradient

 25   properties, right?
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  1   A   Yes.

  2   Q   And you understand there's been data taken from

  3   downgradient properties; is that right?

  4   A   Yes.

  5   Q   Do you have any understanding at all as to how much money

  6   was paid for data on the Von Duprin property?

  7   A   I understood it was $1.5 million.

  8   Q   For just the data on the Von Duprin property?

  9   A   Oh, I don't know.     It was the domain of all the data

 10   associated with the settlement.       Having not read the

 11   settlement agreement, I can't really opine on that.

 12   Q   And so having not read the settlement agreement, you don't

 13   know how much money Von Duprin paid to reimburse Threaded Rod

 14   for its costs versus how much was paid to buy data; is that

 15   right?

 16   A   That's correct.

 17   Q   What's the fair market value of a monitoring well --

 18   buying a monitoring well?

 19   A   I guess the -- what the cost would be to install a

 20   monitoring well.

 21   Q   Well, the installation of a monitoring well wouldn't be

 22   data, right?    That would be work performed that a fee is

 23   charged for?

 24   A   Well, it requires a driller and a consultant and may

 25   require evaluation of ARARs and an EE/CA, depending on what it
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  1   is.

  2   Q     So how much did Von Duprin pay for the drilling of those

  3   wells?

  4   A     I don't know.

  5   Q     How much did Von Duprin pay for the testing of those

  6   wells?

  7   A     Which wells are you referring to?

  8   Q     Any of the monitoring wells in the area.

  9   A     Including the ones that they installed themselves --

 10   Q     Any of the wells that -- excuse me.       You can finish your

 11   answer.

 12   A     Or the ones that the other parties installed?

 13   Q     The ones that the other parties installed.

 14   A     I don't know.

 15   Q     So it's fair to say you have no idea what the breakdown of

 16   any payment for data versus other things is for; is that

 17   correct?

 18   A     That's correct.

 19              You do make an important distinction, that it wasn't

 20   just the data that they paid for.        They paid for the wells is

 21   my understanding, that they were able to retain the wells that

 22   were installed by others.      So they didn't have to repeat those

 23   costs by installing new wells because the other parties

 24   actually could have destroyed them.

 25   Q     But you don't know how much they paid for the wells
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  1   specifically?

  2   A   No, I don't.

  3   Q   Part of your opinion in this case is whether costs that

  4   Von Duprin incurred were necessary; is that right?

  5   A   Yes.

  6   Q   Do you understand that assessment to require an analysis

  7   of whether releases pose a risk to human health or the

  8   environment?

  9   A   Yes.

 10   Q   And you have not determined whether any releases on the

 11   Zimmer Paper parcel pose a risk to human health or the

 12   environment, correct?

 13   A   Well, there is data that demonstrates that the

 14   concentrations in --

 15   Q   No, that's not what I asked you.

 16              My question is:     You have not determined whether any

 17   releases on the Zimmer parcel pose a risk to human health or

 18   the environment; is that correct?

 19   A   That's incorrect.

 20   Q   Okay.     Let's just go through it.     Pull up your deposition,

 21   please.     You have a copy.     Let's go through the properties.

 22   Turn to page 47, starting with line 2; and we'll go down to

 23   line 12.

 24              Line 2, you were asked:     "Have you determined whether

 25   any release on the Moran property has posed a risk to human
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  1   health or the environment?"      What was your answer?

  2   A   "I have not."

  3   Q   Next question:       "Have you determined whether release on

  4   the Ertel property has posed a risk to human health or the

  5   environment?"    What was your answer?

  6   A   "No."

  7   Q   Next question:       "How about any property identified as the

  8   Zimmer property?"     What was your answer?

  9   A   "Not independently, no."

 10            And to --

 11               MR. MENKVELD:     I'll pass the witness.

 12               THE COURT:    Ms. French, you may cross -- you may

 13   redirect your witness.

 14               MS. FRENCH:     Thank you, Your Honor.

 15                             REDIRECT EXAMINATION

 16   BY MS. FRENCH:

 17   Q   How does your experience in supervising NCP compliance on

 18   site sites inform your analysis in this case?

 19   A   Well, I've been involved in a lot of projects; and they've

 20   involved numerous releases, different types of chemicals,

 21   different types of remedial alternatives; and in the process,

 22   we, I guess, go through a very methodical process in the

 23   investigation and remediation of those sites, working with the

 24   regulatory agencies in the process.

 25   Q   So your experience in supervising compliance with the NCP
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  1   at other sites provides you with working knowledge and

  2   familiarity with the relevant regulations?

  3   A   Yes.

  4   Q   Did you review the reports from other consultants that

  5   were prepared related to the summary of costs you reviewed?

  6   A   Some of them, yes.

  7   Q   So you're familiar with at least a portion of the scope of

  8   work performed?

  9   A   Yes.

 10   Q   And did that assist you in evaluating the cost summary

 11   that you reviewed related to those other consultants' work at

 12   the site?

 13   A   To some degree, yes.

 14   Q   How?

 15   A   Well, it was essentially -- it was the body of work as a

 16   whole, starting from no samples to a fully characterized site

 17   when they were done; and it was essentially having all those

 18   data collectively that helped identify the sources on the

 19   Von Duprin property, as well as defined the downgradient

 20   extent of groundwater contamination, to some degree.           I think

 21   further definition was performed after those initial

 22   investigations.

 23   Q   What do the cost documentation and accounting requirements

 24   under the NCP require private parties performing response

 25   actions to do?
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  1   A   To have an accurate accounting of the costs.          It's not a

  2   line-by-line analysis for NCP compliance.         It's looking at the

  3   costs as a whole for the work that was performed.

  4   Q   Does the NCP require a private party seeking to recover

  5   its costs to redo preliminary assessments that have already

  6   been performed in the site?

  7   A   No.

  8   Q   Did Von Duprin perform additional investigative work after

  9   it began working in the plume area in 2014?

 10   A   Yes.

 11   Q   Does 400 CFR Section 300.400(C)(4) define what the local

 12   community scope is?

 13   A   Could you provide that reference again?

 14   Q   Sure.

 15                MS. FRENCH:   Could we pull up 300.400(C)(4)?       Next

 16   page, please.

 17   A   Specifically, it says, "Be sensitive to local community

 18   concerns."

 19   BY MS. FRENCH:

 20   Q   But that's not further defined in any way?

 21   A   No, it's not.

 22   Q   Has Von Duprin's partial Remediation Work Plan been

 23   submitted for public comment?

 24   A   Yes.

 25   Q   Does the party have to list every single environmental
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  1   statute or regulation and then check the box next to which

  2   ones may apply in order to satisfy the ARARs requirement under

  3   the NCP?

  4   A   I don't think so, no.

  5   Q   How would they go about doing that then?

  6   A   They go and list off the relevant requirements for the

  7   actions that are being taken.

  8   Q   But it's not a rule-out, rule-in document where you have

  9   to show every single regulation in the world that may possibly

 10   apply?

 11   A   No.    It can be exhaustive but not every single regulation.

 12   Q   What specific requirements of the NCP does the Remediation

 13   Work Plan satisfy?

 14   A   Well, there's numerous components in that it does satisfy

 15   the requirement for QAPP.      I think it outlines the

 16   requirements or the intent and scope of a SAP is included in

 17   that.     It goes through the specific remedial site evaluation,

 18   which is .420.    It includes the Community Relations Plan.          It

 19   includes .430, which is the remedy selection phase of that

 20   specific line item.

 21              It has Health and Safety Plan, which is .150 and --

 22   Q   Go ahead.

 23   A   -- does a detail documentation, which is .160 of the

 24   investigations performed.

 25   Q   Does the Final Investigation Report also satisfy several
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  1   requirements of the NCP?

  2   A   Yes.

  3   Q   What are those requirements?

  4   A   Similar to what I just said.       Includes .430, which in my

  5   opinion is consistent with a remedial investigation.           It

  6   describes and evaluates the impact to human health and the

  7   environment, defines the nature and extent of contamination.

  8   These are all specific NCP requirements.

  9              It does describe in great detail the public

 10   communication that was performed and I believe table 11 of

 11   that document as well.

 12                MS. FRENCH:   Could we pull up table 11 of the Final

 13   Investigation Report?      Could you zoom in on the first page of

 14   that?   And could you include the page numbers at the bottom?

 15   BY MS. FRENCH:

 16   Q   What does this table tell you about the community

 17   relations efforts of Von Duprin and its work in the plume

 18   area?

 19   A   Well, it's hard to read; but there are six pages.           I can

 20   read here on the bottom it's 1 of 6 pages, and this describes

 21   the individual outreach to affected community members, in the

 22   process of gaining access to their property, to sampling their

 23   property, sending them the sample results, and mitigation

 24   plans and things like that.       So this is a line item accounting

 25   for contact with each one of the individual residential
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  1   properties downgradient.

  2   Q   Do you still have a copy of your deposition with you up

  3   there?

  4   A   Yes.

  5   Q   Going to deposition page 104, line 14, I believe the

  6   question in the deposition says:       "So my question is would

  7   Von Duprin have been required to incur the costs that you're

  8   testifying that it has incurred if its contamination was the

  9   only contamination present on its property?"

 10              And your response was, "Yes."

 11   A   Yes.

 12   Q   What did you mean by that response?

 13   A   I meant that if Von Duprin was the only party and

 14   responsible for the contamination, then they would have had to

 15   investigate the downgradient plume as they had.          But also, the

 16   important part that seems to get lost is that the contribution

 17   from the upgradient parties has made the plume much larger;

 18   and the costs are much higher than what was originally -- or

 19   if Von Duprin was the only party.

 20   Q   And, in fact, at your deposition, you shortly thereafter

 21   actually stated that, didn't you?

 22   A   Yes.

 23   Q   At 104, line 25, you were asked:        "Are you offering any

 24   opinion that Von Duprin has specifically incurred response --

 25   necessary response costs as a result of Major Holdings' or
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  1   Major Tool's action on any property upgradient of the

  2   Von Duprin site?"

  3            Line 4, your response, if you would read it for the

  4   Court?

  5   A   "Von Duprin has performed upgradient investigations on

  6   properties of their own in an effort to define upgradient

  7   sources, if I understand your question correctly, yes."

  8   Q   The next question was:      "Which response costs has

  9   Von Duprin incurred as a result of Major Holdings' or Major

 10   Tool's actions?"

 11   A   "As I testified earlier, I haven't distinguished between

 12   Major Tool, Zimmer or Ertel or Moran of the upgradient costs."

 13   Q   Later in your deposition at page 122, line 23, you were

 14   asked:   "And does the term 'commingled plume' mean to you that

 15   there are multiple sources that contribute contamination into

 16   that single groundwater plume?"

 17              MR. MENKVELD:     Objection, Your Honor.      I'm not sure

 18   if we're eliciting witness testimony or if counsel is

 19   impeaching the witness here.       I'm not sure if this is proper

 20   use of a deposition at trial.

 21              MS. FRENCH:     Your Honor, I'm merely allowing the

 22   witness to provide his complete responses to the lines of

 23   questioning that have been elicited on cross related to page

 24   104 of his testimony and the later testimony he offered on the

 25   same topic in order to clarify.
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  1                MR. MENKVELD:   That's done through asking the

  2   witness questions, Your Honor, not reading his prior

  3   testimony.

  4                THE COURT:   I agree.   Rephrase your questions,

  5   counsel.

  6   BY MS. FRENCH:

  7   Q   Mr. Williams, did you opine that groundwater containing

  8   hazardous substances has and continues to migrate from

  9   defendants' properties beneath the property and into the

 10   downgradient area?

 11   A   Yes.

 12   Q   And what was your basis for that statement in your report?

 13   A   The results -- primarily the results of the upgradient

 14   investigation of the defendants' properties.

 15              Also, IDEM has recognized -- and it's not disputed --

 16   that it's a commingled plume; and that plume is commingled by

 17   the fact of multiple contributors to the groundwater plume.

 18   Q   So while you were not asked specifically to opine on what

 19   percentage of costs were attributable to each upgradient

 20   property, your opinion does include that the commingled plume

 21   contributes generally to the costs that Von Duprin incurred

 22   throughout the plume area?

 23   A   That's correct.

 24   Q   Was the soil removal completed at the Von Duprin property

 25   a remedial action?
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  1   A      Yes.

  2   Q      And was that completed following the completion of a

  3   remedial investigation?

  4   A      The remedial investigation on the Von Duprin property,

  5   yes.

  6   Q      And is that the typical course of events in performing a

  7   remedial action?

  8   A      Yes, to basically characterize the site, evaluate the risk

  9   to human health and the environment, evaluate remedial

 10   alternatives, prepare a Remediation Work Plan, get agency

 11   approval, and then implement that work plan, yes.

 12   Q      Are Von Duprin's reports and work plans available to the

 13   public in the Virtual File Cabinet?

 14   A      Yes.

 15   Q      Did Von Duprin conduct investigative work between the time

 16   in which they received the Special Notice of Liability, which

 17   you were showed earlier, in 2019 when the soil removal was

 18   performed at the Von Duprin property?

 19   A      Yes.

 20   Q      Is the NCP a checklist?

 21   A      I don't think so, no.

 22   Q      How does the NCP work?

 23   A      That's a really broad question.     Could you rephrase the

 24   question?

 25   Q      Sure.   If I'm a consultant trying to perform work at a
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  1   property consistent with the NCP, how should I interact with

  2   the NCP's requirements?

  3   A   It's, I believe, really up to the lead agency.           It's what

  4   the lead agency requires, because nobody wants to do more work

  5   than they have to.        So we would follow the guidance; and

  6   ultimately, the lead agency is the one who's going to issue

  7   closure and some finality to an environmental contamination

  8   problem.

  9              So they would work with the lead agency, while at the

 10   same time making sure they're in substantial compliance with

 11   the NCP to satisfy the objectives and achieve a CERCLA-quality

 12   cleanup.

 13              And I think what gets lost on this site is it is not a

 14   Superfund site.     It's not a federal Superfund site.        It's not

 15   a state Superfund site.        It's a contaminated site with

 16   multiple parties; and there were multiple activities going on

 17   simultaneously, including the removal actions, while at the

 18   same time they're trying to identify the nature and extent of

 19   contamination.

 20                MS. FRENCH:     Thank you.

 21                THE COURT:     Any recross?

 22                MR. GARDNER:     I do not have any, Your Honor.

 23                MR. MENKVELD:     No, Your Honor.

 24                THE COURT:     All right.     Thank you very much.   You

 25   may be excused as a witness.
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  1       (Witness excused.)

  2                THE COURT:   We'll go ahead and have our lunch break.

  3   It's 12:09.     We'll resume at 1:10.     Have a good lunch break

  4   everybody.

  5                COURTROOM DEPUTY:    All rise.

  6       (A luncheon recess was taken.)

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  1                   A F T E R N O O N       S E S S I O N

  2       (In open court)
  3              THE COURT:    You may be seated.      We're back on the

  4   record and plaintiffs, you may call your next witness.

  5              MR. GRIGGS:    Your Honor, we have called the six

  6   witnesses that were on our original witness list.           There are

  7   additional nonparty witnesses that are on our list; but per

  8   the Court's order, docket No. 209, we were asked and

  9   instructed to conduct our examination of such witnesses when

 10   they were called.     So we intend to examine those witnesses

 11   when they appear next week.

 12              THE COURT:    So you have no more witnesses today?

 13              MR. GRIGGS:    That is correct.

 14              MR. BOWMAN:    Your Honor, we're aware of the Court's

 15   instruction in 209, but it's the plaintiff's responsibility to

 16   prove their case and to bring their witnesses.

 17              I don't believe we need to be in a situation where

 18   we're trying to prove negatives.       At some point, the plaintiff

 19   rests; and I didn't read 209 or any of our agreements to mean

 20   that all of the witnesses would be put in one bowl and that

 21   everybody would rest at the end.       That was not my

 22   understanding; that there would be a point at which Von Duprin

 23   would rest, and then their burden of proof would be

 24   questioned.

 25              And even in a bench trial, there's issues of whether
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  1   at the end of plaintiff's case there can be partial findings

  2   of fact; and the point of that is without that or that

  3   potential, we start the process of trying to prove negatives.

  4   So I didn't think that 209 meant how I think Mr. Griggs is

  5   interpreting it.

  6                THE COURT:    Who will be -- who would have been your

  7   next witness?     Which of the plaintiff's -- is it a party?

  8                MR. GRIGGS:    These are all nonparty witnesses -- I

  9   take that back.     Two are nonparties.      One is a party witness.

 10   The additional names on our list are Adam Love, Janice

 11   Stathyelich, and Natalie Weir.

 12                THE COURT:    And those are your exclusive witnesses?

 13                MR. GRIGGS:    No.   These were witnesses that were

 14   also on the list of the defendants.

 15                THE COURT:    All right.

 16                Are any of those persons available?       Are they here?

 17                MR. GRIGGS:    Ms. Weir has been the corporate

 18   representative, and we understand she may be called tomorrow

 19   morning.

 20                MR. BOWMAN:    And to be clear, Dr. Adam Love is an

 21   expert from Roux and Associates in California coming

 22   Wednesday.    So he's our expert.       Janna Stathyelich is an

 23   underlying fact environmental consultant who had been an

 24   expert in the prior state court cases.         We've chosen not to

 25   call because she did none of the sampling that Your Honor has
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  1   heard about.

  2               THE COURT:    So you're not calling her?

  3               MR. BOWMAN:    Not calling Stathyelich, and Love would

  4   be our expert in our case in chief.

  5               THE COURT:    Do you intend to call Janet Stathyelich?

  6               MR. GRIGGS:    This is news to us, Your Honor.       She

  7   appears on the list in docket 209 as a witness they will call

  8   at trial.

  9               MR. BOWMAN:    No, we didn't.     I'm looking at what I

 10   understood then -- we came for a pretrial and we had an entry

 11   on the final pretrial, which I have as 209; and it says that

 12   we would call Sharkey -- excuse me -- we withdrew Marsden,

 13   Stathyelich.    We withdrew her.

 14               MR. GRIGGS:    I see that now.

 15               THE COURT:    So who is here, just Ms. Weir?       Correct?

 16               MR. GRIGGS:    Yes.

 17               THE COURT:    Then you need to call her.

 18               MR. GRIGGS:    Will I need to call Mr. Love from

 19   California?

 20               THE COURT:    Well, you all have told me Mr. Love

 21   won't be here until Wednesday, correct?

 22               MR. GRIGGS:    Correct.

 23               THE COURT:    Well, then I won't make you call

 24   Mr. Love because he's not here yet.         That's your final expert?

 25               MR. GRIGGS:    That's their expert.
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  1                MR. BOWMAN:    That's my expert.

  2                The question before the Court, I believe is one of

  3   scheduling but also a question of when does the plaintiff

  4   close its case and the question arises of meeting burden of

  5   proof; and, you know, it's frustrating for us because we have

  6   tried to balance this and not waste the Court's time.

  7                On the other hand, I think there are issues for this

  8   Court to consider that can narrow the case as it goes forward;

  9   and I think there are witnesses that we may not have to call,

 10   depending because it is indeed -- I'll say it a third time --

 11   an issue of trying to prove a negative, which I think is why

 12   the trial rules are the way they are.         Does a plaintiff meet a

 13   burden of proof?     If so, then you respond.       If not, then you

 14   strike it off the list.

 15                THE COURT:    So you need to call all of your party

 16   witnesses.    Ms. Weir is your party representative, correct?

 17                MR. GRIGGS:    No, she is a party representative for

 18   Major Tool and Machine and Major Holdings.          We called our

 19   party representative as our first witness on Monday.

 20                THE COURT:    All right.   But Ms. Weir is present?

 21                MR. GRIGGS:   She is sitting in the room.

 22                THE COURT:    You're Ms. Weir.     All right.   Then you

 23   should called Ms. Weir.

 24                MR. GRIGGS:   We will pass on calling her in our case

 25   in chief.    We still will cross-examine her if she's called by
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  1   another party, which I understand she will be.

  2              THE COURT:    And you know they can change their mind

  3   and not call her.

  4              But you do intend to call her?

  5              MS. KRAHULIK:     We will be calling her tomorrow

  6   morning.

  7              THE COURT:    Do you have anybody left for today?

  8              MR. GRIGGS:     Dr. Love is the only one left.

  9              THE COURT:    That would be your last witness.

 10              MR. GRIGGS:     He will be our last witness.       Just to

 11   close the loop here; he was the subject, as you recall, of a

 12   Daubert motion.     You decided that the Court wanted to hear

 13   from him; and as Mr. Bowman has pointed out, depending on what

 14   the Court makes of Mr. Love, it could change the nature of the

 15   case in different ways.      So we need to have his appearance so

 16   that his qualifications and credibility can be adjudged by the

 17   Court.

 18              THE COURT:    So he won't be here until --

 19              MR. GRIGGS:     Next Wednesday.

 20              THE COURT:    First witness Wednesday morning?

 21              MR. GRIGGS:     That's our understanding.

 22              THE COURT:    Well -- you don't have anyone left to

 23   call today?

 24              MR. GRIGGS:     That's correct.

 25              THE COURT:    So other than Dr. Love, you would rest
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  1   after Dr. Love?

  2               MR. GRIGGS:     That is correct.

  3               THE COURT:    Do you have anyone you can call today?

  4   Does anyone have anyone they can call today so that we can

  5   continue?

  6               MS. KRAHULIK:    We have three -- I believe Moran has

  7   three witnesses here; correct, Glenn?

  8               MR. BOWMAN:     We would rather not call witnesses --

  9   these are fact witnesses that may or may not be needed and we

 10   would rather not call until they rest.         In particular -- and I

 11   don't think we need to disclose trial strategy, but they are

 12   fact witnesses we may or may not call.

 13               THE COURT:    What about you?

 14               MS. KRAHULIK:     Ms. Weir is here and we have other

 15   witnesses lined up for next week.        Moran was supposed to go

 16   next in order of proof.

 17               THE COURT:    Well, Moran's not able to call anyone.

 18   They say you may or may not have to call your fact witnesses

 19   after we hear from Dr. Love?       Is that what you're saying?

 20               MR. BOWMAN:     I really am trying to help the Court --

 21   we all are from the standpoint of efficiency, but I struggle

 22   within the -- trying to be efficient to suddenly not have an

 23   order of proof.    I struggle with that, Your Honor.         I really

 24   do.

 25               I mean, what are we going to be asking fact
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  1   witnesses if we think that key points of the plaintiff's case

  2   have not been established?         And there will be -- I will tell

  3   you, Your Honor, there will be a request of this Court under

  4   52 to find -- even though a bench trial, I think there are

  5   components of -- remember, the claim isn't brought under the

  6   Indiana Environmental Legal Action Statute.         That has a cause

  7   and contribute effect.      Then there's a 107 claim --

  8               THE COURT:    Right.

  9               MR. BOWMAN:   -- where it has different elements, and

 10   that's where I'm struggling with this because these are

 11   statutory claims, and I had no intention and I don't believe

 12   anybody has decided that once Von Duprin's done, there will

 13   not be a question of whether they have met those statutory

 14   elements.     That has to happen.

 15               THE COURT:    If I'm looking at Von Duprin's witness

 16   list, they listed 1 through 7; and then they say,

 17   "Additionally, Von Duprin may call the following witnesses for

 18   the purposes of authenticating exhibits"; and that's when they

 19   list Dr. Love.     So you may not call Dr. Love or you intend to

 20   call Dr. Love?

 21               MR. GRIGGS:    I'm sorry.    Which docket number are you

 22   looking at?

 23               THE COURT:    I'm looking at docket 182, which is your

 24   plaintiff's trial witness list.

 25               MR. GRIGGS:   We weren't sure at that point what
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  1   exhibits were going to come in.       One of the things that did

  2   not come in was Dr. Love's expert report.         At that point, for

  3   our final witness list that we submitted, the --

  4              THE COURT:    What docket is -- 182 is your final

  5   witness list.

  6              MR. GRIGGS:    Yes.

  7              THE COURT:    You removed Michael Marsden.        You intend

  8   to either call or cross-examine Eiler, Ferree, Fimmen, Groves,

  9   McInnes, Braun and you have Dr. Love.        You have Janna

 10   Stathyelich, but you're withdrawing her today, which you're

 11   allowed to do and Natalie Weir.

 12              MR. GRIGGS:    Correct.    So Love is on the list.       We

 13   would have called him this week.       He's not our witness.       We

 14   would have had to make the arrangements.         The Court indicated

 15   that each witness would be called once.

 16              THE COURT:    Was the preference.

 17              MR. GRIGGS:    We talked to counsel.       They said they

 18   would have him at trial.      They do plan to have him at trial

 19   next Wednesday; and if he was here now, we would be happy to

 20   examine him, but we did not believe we had to subpoena him

 21   when he was definitely going to be called by another party.

 22              THE COURT:    And he definitely will be here Wednesday

 23   morning?

 24              MR. BOWMAN:    He will definitely be here Wednesday

 25   morning.
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  1              To clarify, I really do have concerns, Your Honor,

  2   that intentionally, unintentionally, inadvertently, witnesses

  3   that we've gone out of our way to identify -- and fact

  4   witnesses -- this can be some of the more interesting and

  5   important information because we finally get to hear some real

  6   fact witnesses; but how much of this Court's time we need to

  7   take depends on the plaintiff's case; and I'm really

  8   struggling that as counsel for Moran and the commitments I

  9   have to my client -- I'll just say it.         I want to be

 10   efficient, but I have duties and obligations to my client.              Am

 11   I going to go forward and bring in fact witnesses when the

 12   plaintiff hasn't rested?      I have real concerns about that.

 13              MR. GRIGGS:     Counsel met after court ended yesterday

 14   in this very room.     We had a discussion about what other

 15   witnesses were going to be called.        We said we would be

 16   calling Sam Williams today and that they would then start

 17   putting on witnesses to fill the time that the Court had

 18   allocated to this case, and that since they couldn't fill all

 19   that time without Dr. Love, who couldn't get here from

 20   California -- that statement was made -- Moran asked Major if

 21   they would help out and put one of their witnesses on for

 22   Thursday, which they agreed to do.

 23              MS. KRAHULIK:     And we agreed, right.

 24              MR. GRIGGS:     I had all this worked out.       This came

 25   up five minutes ago.
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  1                MR. BOWMAN:     I never interpreted that as the

  2   plaintiff would never rest, whether -- if you rest, if counsel

  3   for Major and counsel for Moran do something different, that's

  4   one thing.    To have a plaintiff in a civil case like this not

  5   rest is pretty significant, and I didn't agree to that.

  6                THE COURT:    After Dr. Love, you will be resting.

  7                MR. GRIGGS:     Absolutely.     He is the last witness on

  8   our list.

  9                THE COURT:     Because you don't want to call Natalie

 10   Weir?

 11                MR. GRIGGS:     No.   We will limit ourself to

 12   cross-examination.        We don't think she has anything to add to

 13   our affirmative case.

 14                THE COURT:    What do you have to say?      You're

 15   standing.

 16                MS. KRAHULIK:     I just did not want to have to call

 17   Natalie until this was resolved.           It sounded like that was the

 18   direction we are heading.          We weren't planning on having her

 19   testify until tomorrow and only out of convenience to the

 20   parties were we going to take her out of order.

 21                THE COURT:     Who has a witness available today?      You

 22   have some witnesses available, but they're fact witnesses.             Is

 23   that what you're telling me, Mr. Bowman?

 24                MR. BOWMAN:     They're fact witnesses.

 25                THE COURT:     Who are they, Mr. Bowman?
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  1                MR. BOWMAN:     Michael Sharkey, former employee of

  2   Moran; Michael Fye, former employee of Von Duprin; and Kim

  3   Vedder is not here, but Kim Vedder is an IDEM representative

  4   who was involved in one of these sites.

  5                THE COURT:    Well, I'm going to have you call -- you

  6   need to call a witness.        And I'm sorry.    I know it's a fact

  7   witness, but we would waste a whole afternoon if we don't call

  8   a witness.    And so it is a bench trial, and you'll have an

  9   opportunity to -- plaintiff's going to rest Wednesday morning.

 10   We're going to call --

 11                Who do you have tomorrow, just Ms. Weir?

 12                MS. KRAHULIK:     Yes.

 13                THE COURT:    So Ms. Weir will be our only witness

 14   tomorrow.

 15                MR. BOWMAN:     Can we -- since it is a bench trial,

 16   can we draw a line now and say this testimony cannot be used

 17   as part of their case in chief on these fact witnesses?

 18                THE COURT:    Yes.

 19                MR. GRIGGS:     Fine.    No objection.

 20                MS. KRAHULIK:     No objection.

 21                MR. BOWMAN:     I think that solved it.

 22                MS. KRAHULIK:    In fact, I should probably add, Your

 23   Honor, Natalie Weir will be our only witness tomorrow,

 24   provided we get through the three witnesses today.           I don't

 25   know if one of them may end up carrying over till tomorrow.            I
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  1   have no idea how long they'll take, but --

  2              THE COURT:    So you just have the one witness?

  3              MS. KRAHULIK:     For tomorrow, yes.     And we're taking

  4   her out of order just to allow Mr. Love to get here from

  5   California.

  6              MR. BOWMAN:     That solves it.     I don't try cases

  7   often.   This does it enough that we have an understanding that

  8   as of 1:30 -- and we're calling Michael Sharkey -- that any of

  9   his testimony cannot be used to establish -- be considered

 10   part of your case in chief.

 11              MR. GRIGGS:     That's correct.

 12              MR. BOWMAN:     Outstanding.    We solved it.

 13              THE COURT:    Agreed.    I'm sure your witnesses will

 14   appreciate it.    They won't have to come back and sit in that

 15   room another day.

 16              MR. BOWMAN:     Very distressing to everyone, Your

 17   Honor.

 18              THE COURT:    I know.    This is going way faster than

 19   you all predicted.

 20       (Witness sworn.)
 21              THE COURT:    Before we begin, lawyers, I need to

 22   remind you to speak very slowly.       Witnesses, speak very slowly

 23   because, Mr. Sharkey, the court reporter is doing stenographic

 24   transcription, which means she's taking down every word that

 25   you say with her fingers.      I have this transcript right here.
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  1   So we need you to speak slowly.

  2              And lawyers, when you relate to terms that are

  3   technical or not familiar, the court reporter would

  4   appreciate -- if you could spell those words that are not in

  5   her dictionary already.      She's got it in her dictionary those

  6   words that were in the final pretrial -- that you talked about

  7   in the pretrial; and I believe she's gone through some of the

  8   pleadings, but there are lots of new terminologies that we're

  9   hearing for the first time.      So that we have a good record, do

 10   that for us.    Okay.   You may begin.

 11              MR. MENKVELD:     Hopefully, we can spell them.

 12              THE COURT:    You may begin.

 13              MICHAEL SHARKEY, DEFENDANT'S WITNESS, SWORN

 14                            DIRECT EXAMINATION

 15   BY MR. MENKVELD:

 16   Q   Good afternoon, Mr. Sharkey.

 17   A   Good afternoon.

 18   Q   Would you please state your full name?

 19   A   Michael Francis Sharkey.

 20   Q   And spell your last name, please.

 21   A   S-H-A-R-K-E-Y.

 22   Q   And Michael is the common spelling; is that correct?

 23   A   Yes.

 24   Q   What is your current address?

 25   A   1840 Perkins Avenue.
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  1   Q   Mr. Sharkey, are you familiar with a company named Moran

  2   Electric Service Inc.?

  3   A   Yes.

  4   Q   How is it that you're familiar with that company?

  5   A   Don Moran was my grandfather.

  6   Q   Was there a time when you worked for Moran Electric?

  7   A   Oh, yes.

  8   Q   And what I'll do with the name Moran Electric is probably

  9   shorten it to Moran or Moran Electric.         Is that okay?

 10   A   Yes.

 11   Q   How long in total did you work for Moran?

 12   A   Started in '66 as a helper and part-time job in high

 13   school.    In '67; several times in between there, and '79 came

 14   permanently -- in 1979 until 19, what, '96.

 15   Q   And I believe you said -- correct me if I'm wrong -- that

 16   you started for the first time working for Moran in 1966?

 17   A   Yes.

 18   Q   When you worked for Moran in 1966, what was your job

 19   title?

 20   A   Everything.    I did everything.      Floor sweeping.      You name

 21   it, I did it.

 22   Q   How old were you at that time?

 23   A   Sixteen.

 24   Q   How long in 1966 did you work for Moran?

 25   A   The summer.
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  1   Q     And after the summer, did you then leave Moran?

  2   A     Yes, school.

  3   Q     Did you go back to Moran to work?

  4   A     1967, summer.

  5   Q     And in the summer of 1967, what was your position with

  6   Moran?

  7   A     Pretty much the same, helper, sweeper.       You name it; I do

  8   it.

  9   Q     Whatever they needed?

 10   A     Yes.

 11   Q     At that time, were you a -- an actual employee of Moran?

 12   A     A part-time employee under a union permit.

 13   Q     Explain, if you will, what it means to have a union permit

 14   for Moran.

 15   A     Well, you go down to the union hall; and you give them

 16   money, and they give you a permit.        If I have to go out on a

 17   job as a helper, I can go on a union job as a helper or

 18   whatever.    It's a temporary permit basically.

 19   Q     And so does the permit authorize you to do work for a

 20   company whose work force is unionized?

 21   A     Yes, for IBEW.

 22   Q     What was the name of the union?

 23   A     International Brotherhood of Electrical Workers.

 24   Q     Was Moran Electric's workforce unionized?

 25   A     Oh, yes.
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  1   Q      Now, let's revisit again when you said you went back to

  2   Moran after 1967.     Did you back to Moran in 1968?

  3   A      No.

  4   Q      How about any other year during the 1960s?

  5   A      1973 and maybe 1975 maybe.    Almost a year at a time.       In

  6   between jobs, and then permanently in January of 1979.

  7   Q      So before you went to go work with Moran permanently, what

  8   sorts of jobs did you do there?

  9   A      Well, I washed cars, went to school for electronics, night

 10   school while I washed cars at Crossroads Lincoln-Mercury,

 11   stuff like that.

 12   Q      And in 1979 when you went back to work for Moran

 13   permanently, what job did you occupy then?

 14   A      Well, I was still a -- an apprentice and I did -- wound

 15   coils for dynamometers, worked on panels for trains --

 16   electrical panels, that kind of stuff, motors and what have

 17   you.

 18   Q      You said that you were an apprentice.      An apprentice to do

 19   what type of work?

 20   A      To become a shop journeyman electrician, on-the-job

 21   training.

 22   Q      On-the-job training?

 23   A      Yes.

 24   Q      Was there a certain apprenticeship-type program that you

 25   went through that was structured?
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  1   A   No, not really, not an in-shop apprenticeship, no.

  2   Q   Did you obtain any training that you used at Moran outside

  3   of working for Moran?

  4   A   I had an associate's degree in electronics, worked on

  5   television, radio, that kind of stuff.

  6   Q   Earlier, you mentioned that Moran's workforce is

  7   unionized?

  8   A   Yes.

  9   Q   Do you know why Moran decided to unionize its workforce?

 10   A   John Moran never said why.       He just said that's what he

 11   wanted.    They had been there since the inception of 481 local.

 12   He wanted it in there.      You can get more jobs being union too,

 13   so I think that's what he had in mind.

 14   Q   When you first went to work for -- are you familiar --

 15   withdraw the question.

 16              Are you familiar with OSHA safety regulations?

 17   A   Oh, yes.     Sure.

 18   Q   When you first went to work for Moran Electric, was OSHA

 19   in place, to the best of your recollection?

 20   A   I never heard of it before, no.

 21   Q   Did having a unionized labor workforce contribute at all

 22   to how the operations of Moran Electric were run?

 23   A   Yes.     If there was any problems, somebody there would

 24   gripe.     The union would step in.    That would get it

 25   straightened up; and there would be fines to pay, too.           I had
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  1   never heard of anybody doing it.       If there was anything

  2   dangerous there, they would have known.         That's for sure.

  3   Q   Did having a unionized work force contribute to safety or

  4   anything like that?

  5   A   Oh, yeah.     They follow safety rules by union and later on

  6   by IOSHA.    They all pretty much meshed together pretty well.

  7   Q   When is the last time you visited the property where Moran

  8   was located?

  9   A   It's been a few years back.       There was nothing there.

 10   Grass.   That's all.

 11   Q   If you saw an overhead aerial view of where the Moran

 12   property was located, would you be able to recognize it?

 13   A   Oh, yeah.

 14                MR. MENKVELD:   Please pull up Exhibit 1002.       Go to

 15   page PDF page 128, please.

 16                Now, if you would, Ms. Hill, we're going to scroll

 17   down on this a little bit.      I would like you to -- actually,

 18   I'm sorry.     Scroll up just a little bit so we can see the

 19   buildings that are a little transparent.

 20   BY MR. MENKVELD:

 21   Q   If you would, Mr. Sharkey, can you point to the Moran

 22   property, as you remember it?

 23   A   Right there.

 24   Q   If you touch the screen, I believe you'll see an arrow.

 25   A   Well, it's right here.
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  1   Q   It does take a little practice.

  2               THE COURT:    One touch.

  3   BY MR. MENKVELD:

  4   Q   Just one touch.      You just pointed to a building.       Do you

  5   remember what that building was at the Moran property?

  6   A   That's the motor shop and the offices.

  7   Q   I'm sorry.     I didn't hear you.

  8   A   I'm sorry.     Motor shop and the offices is that building,

  9   yeah.

 10   Q   Then are there any other buildings on the Moran property?

 11   A   Yeah.   Just south of it was the dynanometer [sic] shop,

 12   compressor shop, wiring department; and those were garages.

 13   Q   Can you just touch the dynamometer shop?

 14   A   (The witness complied.)

 15   Q   Was that always referred to by Moran employees as

 16   dynamometer or was it shortened?

 17   A   Dyn shop is what we called it.        D-Y-N, dyn, lot easier.       A

 18   lot of people can't say it.       I can't even say it.      Dynanometer

 19   or something.

 20   Q   Now, Mr. Sharkey, was there a time that Moran operated in

 21   a building to the north of the motor shop?

 22   A   Yes.

 23   Q   If you could please just touch the building that you

 24   remember Moran operating in.

 25   A   According to this, what's left of it, it's right there.
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  1   Is that it?     Right there.

  2   Q   Oops, I just cleared it.

  3              THE COURT:      Touch it again for him.

  4   BY MR. MENKVELD:

  5   Q   Put your finger on the building again.

  6   A   (The witness complied.)

  7   Q   What did people who worked at Moran call that building?

  8   A   Well, we called it the Coleman building.          It was Coleman

  9   Manufacturing was in there years back.         We didn't know what

 10   else to call it.     They make coolers and things, Coleman, like

 11   the camping coolers and stuff.

 12   Q   Do you have any understanding of whether Moran ever bought

 13   that building?

 14   A   Oh, yeah.     Yeah.

 15   Q   Do you know when Moran owned that building?

 16   A   Late '60s or early '67 maybe is when he bought it.           It was

 17   somewhere in there.       I remember it was still empty when I went

 18   to work that second summer, and we went in there and was

 19   cleaning it up.

 20   Q   So that would have been in 1967?

 21   A   Yeah, yeah.     Late summer, mid-summer, somewhere in there.

 22   Q   Do you know when Moran sold that building?

 23   A   It was around '84, somewhere in there.         I remember them

 24   tearing it down, but I don't know exactly -- it was around

 25   1984, maybe '83.     I don't know.
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  1   Q   Now, if we go back to -- actually, you've so far

  2   identified the dyn shop, the Moran motor shop, correct?

  3   A   Right.

  4   Q   And the -- what you call the Coleman building; is that

  5   right?

  6   A   Yes.

  7   Q   Are you familiar with the operations that occurred within

  8   those buildings?

  9   A   Oh, yeah.    Yes, I am.

 10   Q   So let's start here with the dyn shop.         If you could

 11   describe for us the operations that occurred in that building?

 12   A   Well, the dynanometers [sic], they would come in.            They

 13   are to test engine torque and horsepower.         This was done --

 14   water dyns was done in this building.        There's two different

 15   types, electric and water.      We did the water dyns in this

 16   shop.

 17              You pull it apart, sandblast, you do everything, clean

 18   it all up, undercut the armature and reweld to make it a

 19   certain size.    You have certain tolerances.       Make a new

 20   coil -- electric coil for it; and you put it in a thousand

 21   horse test cell and run the heck out of it, till the bearings

 22   fly out.     Then you get to do it all over again.

 23   Q   Now, did you ever actually work in the dyn shop?

 24   A   Yes, I supervised it.

 25   Q   What years did you supervise that shop?
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  1   A   '93 to last part of '95.       I just did it for a couple

  2   years.

  3   Q   Are there any other operations that you recall happening

  4   in the dyn shop?

  5   A   Well, there was the compressor shop.

  6   Q   What was that?

  7   A   Rebuild air compressors, rebuild, refurbish, whatever, and

  8   service and repair and all that.

  9   Q   Are you ready to move on to the motor shop or is there

 10   anything else you want to add?

 11   A   No, that was pretty much it.       There was a weld shop in the

 12   dyn shop, but that was part of the dyn shop.

 13   Q   Let's move on now to the motor shop.         And I just put an

 14   arrow there.    Am I correct when I say that's the motor shop?

 15   A   Yeah, that's it.

 16   Q   Now, can you describe for us the operations in the motor

 17   shop, please?

 18   A   Well, a motor would come in and be tore down.           If it

 19   needed degreased, it got degreased.        If it didn't, it got

 20   blown off and put into a -- what's called a burn-off oven to

 21   burn all the old insulation, all the wire so it could be taken

 22   down easier as far as the stater (phonetic) is concerned.

 23   Then it would be sandblasted, cleaned, new windings, new

 24   bearings, you know, all put back together and painted pretty

 25   and tested and sent on its way.
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  1   Q   And is there any -- actually, did you work in the motor

  2   shop ever?

  3   A   Off and on, yeah; for years off and on.         I've wound a

  4   couple of motors.     I wasn't that big into that.       I was more

  5   into the construction part.

  6   Q   What sort of work did you do in the motor shop aside from

  7   anything you just said?

  8   A   Well, I wound dyn coils for them because the motor shop

  9   wound the coils.     And I repaired train panels, which are

 10   electrical distribution panels for Amtrak, for trains.

 11   Q   And now let's move to the Coleman building.          And I'll tell

 12   you, in this lawsuit we've been calling it the Zimmer parcel.

 13   So just for everybody's -- did you understand that --

 14   A   Zimmer bottom, yeah.

 15                THE COURT:     One more thing.   Please don't talk at

 16   the same time.     Let the witness finish his answer before you

 17   ask the next question and get the whole question in before you

 18   begin the answer, please.

 19                THE WITNESS:     Okay.

 20                THE COURT:     Thank you.

 21   BY MR. MENKVELD:

 22   Q   So you understand the building I pointed to here to also

 23   go by the name of Zimmer?

 24   A   Yes.

 25   Q   So if I refer to that as the Zimmer parcel, will you
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  1   understand what I mean?

  2   A   Oh, yes.

  3   Q   What sort of operations did Moran conduct in that Zimmer

  4   building?

  5   A   It was the panel shop I worked in a lot.          We had winders,

  6   so I did both panels and winding.

  7              There was at one time a mold shop, which made

  8   injection molds and repaired them for Richardson and the

  9   compressor shop was in there.

 10              And then the wire department was on the side.        Where

 11   it's shown in gray, that's the only thing left that was left.

 12   That was the wiring department at that time.

 13   Q   I may have missed something here; but what you see left --

 14   I believe earlier you said what's left of the Zimmer parcel?

 15   A   Yes.

 16   Q   Is that a smaller part of something larger that was there

 17   at one point?

 18   A   Yes.    The rest of the building was just to the west of it

 19   that's real light right there.

 20   Q   You can take your finger and just kind of touch where the

 21   rest of the building was --

 22   A   Yeah, that's where the rest of it -- no, that ain't right.

 23   That's Ertel's.

 24   Q   Here.    I'll clear it for you.      Go ahead.

 25   A   Right there where the end of that pink thing is.
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  1   Q   So right here?

  2   A   No.

  3   Q   Whoops.     Now, I'm doing it.

  4             So right here?

  5   A   No.   That's still Ertel's -- no, it's not.         You're right.

  6   Q   In that open area between --

  7   A   Yeah, that's the open area.       You're right.     I see it now.

  8   Q   Well, while we're on it, do you see where the Ertel

  9   building was located, where Ertel Manufacturing operated?

 10   A   Oh, yes.

 11   Q   If you could just point to that building.

 12   A   All that.     Well, come on.

 13   Q   So that building runs all the way down to here?           Is that

 14   also Ertel's building all the way to the south?

 15   A   Yes, yes.

 16   Q   And so am I correct then if when I say the Zimmer building

 17   was constructed over to where I'm drawing on the screen, is

 18   that correct?

 19   A   I don't see your drawing yet.

 20               MR. MENKVELD:    May I approach, Your Honor?

 21               THE COURT:     You may.

 22   A   Where did you go?

 23   BY MR. MENKVELD:

 24   Q   The green lines.

 25   A   Yeah, that was all.       I see what you did.
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  1   Q   The portion -- is your testimony that that portion of the

  2   Zimmer building was actually torn down?

  3   A   Yes.

  4   Q   Now, we also see a little -- I believe it's referred to as

  5   a shed.    I'm trying to circle it.      Right there.    Do you see

  6   what I just circled?

  7   A   Yes.

  8   Q   Was that building part of the Coleman building?

  9   A   No.     That was Ertel's.

 10   Q   That was Ertel's building?

 11   A   Yeah, pretty sure, according to that map.

 12   Q   Now, you've described the operations in these buildings.

 13   Do you have knowledge of the types of certain chemicals that

 14   were used in some of the operations?

 15   A   Yes.

 16   Q   Now, let's just start with the Moran motor shop, which is

 17   where I pointed to.

 18   A   Okay.

 19   Q   Now as part of the operations in the Moran motor shop,

 20   were there any degreasing operations performed there?

 21   A   Yes.

 22   Q   Can you describe those for us, please?

 23   A   Well, there was a trichloroethylene degreaser.           They would

 24   put the parts down in the basket, put it down in there,

 25   whatever would fit down in there, let it sit, then bring it
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  1   up, hose it off and let it drip dry, and then blew off a

  2   little bit, whatever, if there was any left; and it would head

  3   for the burn-out oven.      That's pretty much it in a nutshell.

  4   Q   When you say "hose it off," what do you mean?

  5   A   It would be hosed off with a hose from the degreaser still

  6   with the trichloroethylene down in the pit.         It would be hosed

  7   off there to get the old insulation off of it as much as you

  8   can so it's not flying all over the place, you know, when you

  9   take it out of there and try to blow the rest of it off.

 10   Q   And so when the parts were blown off, would there be

 11   some -- and -- I believe you said trichloroethylene, right?

 12   A   Yes.

 13   Q   Do you understand trichloroethylene to also be referred to

 14   as TCE?

 15   A   I guess.     I'm not a chemist.

 16   Q   Did you call it by a certain name?

 17   A   Just called it trichloroethylene.        That's all I ever heard

 18   about it.

 19   Q   We'll call it that here then.

 20              If there was trichloroethylene on a particular part,

 21   when the part was being hosed off, where did the

 22   trichloroethylene go?

 23   A   They just blow it down and go back into the pit -- or back

 24   into the tank.    The tank was in the pit.

 25   Q   Into the actual degreaser?
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  1   A      Yeah.   It was a tank in a pit.

  2   Q      Can you describe for us how these tanks worked, how they

  3   ran?

  4   A      What I understand, it's a heated -- trichloroethylene is

  5   in there.      It's heated and it vaporizes.     As it comes to the

  6   top, it's heated.      It cools down and falls back down in.

  7   That's the gist I got.

  8              And we had a small air conditioner on top to make sure

  9   it never got out of the tank, just to make sure it dripped

 10   back down.      That worked out pretty good later on.       And so -- I

 11   mean -- and it heated up.      Evidently, it was really good.        I

 12   mean, you know, it did its job.       And they would hose it off

 13   and do whatever; and if it needed to go in the burn-out oven,

 14   it would go.      If it didn't, it would just go on to the next

 15   mechanic to tear it back down and everything.          It was

 16   pretty -- if you think about it, it was a pretty simple

 17   process, basically.

 18   Q      Now, how much trichloroethylene was used in the degreaser

 19   that was in the motor shop?

 20   A      Couldn't have been over one drum, 55-gallon maybe.

 21   Q      What makes you say that?

 22   A      Because that's the only time they ever dumped one in

 23   there.     Then they would -- when it got bad, they would -- used

 24   or whatever, they would pump it out of there and put it back

 25   in the 55-gallon drum.      Whoever -- I don't know who it was --
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  1   would come and take it to do whatever it is they do with it.

  2   Q   When you say "dump it in there," they would --

  3   A   They would --

  4   Q   Let me finish, please.      They would dump the drum in where?

  5   A   Well, they took the drum and -- they would pump the

  6   trichloroethylene into the drum.       They would lid it.      Somebody

  7   would write everything down, put the stickers on it; and they

  8   would take it outside for maybe two days next to the building

  9   until the guy came to get it for hazardous materials people,

 10   whoever they were.     I have no idea.

 11   Q   So when -- so was TCE delivered in a drum?

 12   A   Yes.   It came in a drum.

 13   Q   When it was delivered in the drum, was the TCE then put

 14   into the degreaser?     Is that how that worked?

 15   A   Yeah, yeah.    We didn't keep none around for any length of

 16   time.   It was not that often it was changed anyway.          It didn't

 17   need it.

 18   Q   How often do you think?

 19   A   Once every few months for changing, yeah.

 20   Q   Now, the degreaser itself, was that sitting on the ground?

 21   A   It was sitting in a pit, a concrete pit.

 22   Q   And how do you remember that it was sitting in a pit?

 23   A   Because I helped dig the hole when I was younger.           It was

 24   a big hole.

 25   Q   Now, aside from that degreaser sitting in that pit we
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  1   talked about -- well, actually withdraw that question.

  2                Was that pit dug into the soil?

  3   A      Yeah, right into the ground.

  4   Q      Was the degreaser put directly onto the soil?

  5   A      No, no.    It was a poured concrete pit.    It was like a big

  6   swimming pool -- not big but it was poured concrete, probably

  7   2-, 3-foot thick as far as I know.        I wasn't around when they

  8   poured it.       I had to help dig the hole.

  9   Q      What's the purpose for putting a degreaser into a concrete

 10   pit?

 11   A      Well, for containment; safety, containment.

 12   Q      Containment of what?

 13   A      Well, whatever you're putting in that pit, regardless.         We

 14   had a water pit over the dyn shop.        It was just water with a

 15   tank in it.       That was it.   I mean, whatever; for containment.

 16   Q      And to contain whatever is -- whatever is being --

 17   A      Yeah, was being used in that pit.

 18   Q      Now, also with respect to the motor shop, were there any

 19   other degreasing units being used in the motor shop that

 20   you're aware of?

 21   A      No.   That was the only degreaser the motor shop had.

 22   Q      You only witnessed one degreaser being used there.        Is

 23   that your testimony?

 24   A      Well, back in '66, it wasn't really a degreaser.        I think

 25   it was xylenol or something.        It wasn't trichloroethylene.
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  1   You can't see it there, but it was close to the door and

  2   everything.    I remember that.     That's one of the first things

  3   you see when you pulled in.

  4               THE COURT:     What did you say it was?

  5               THE WITNESS:    No, it was not trichloroethylene.         It

  6   was xylenol, Z-Y-L-O-N-L -- A-L or something.          I don't know

  7   even know if I'm saying it right.        It was kind of flammable.

  8   You could you put it in your Zippo lighter and it would work.

  9               THE COURT:     It was flammable?

 10               THE WITNESS:     I saw guys do that.

 11   BY MR. MENKVELD:

 12   Q   Now, in the motor shop -- have you heard of a chemical

 13   called tetrachloroethane or ethylene or PCE?

 14   A   No, I don't know what that is.

 15   Q   Do you have any knowledge of Moran ever using PCE or

 16   tetrachlorethylene?

 17   A   No, I've never heard that name.

 18   Q   Okay.     Now, let's move on to the -- I'm trying to point

 19   the best I can to what we call the Zimmer building.           I want to

 20   go very specifically to chemicals used in that building.

 21            Now, were there any pits with degreasers in the Zimmer

 22   building?

 23   A   No, there was not.

 24   Q   Were there any degreasers at all in the Zimmer building?

 25   A   No, just parts washers.
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  1   Q   Explain what these parts washers are.

  2   A   It's like a sink that sits on top of a -- between 35- and

  3   55-gallon drum, depending on what you rent, almost covered.

  4   It just circulates like mineral spirits is what it smelled

  5   like.     And you take the parts, and you put them in there and

  6   get them wet.     It had a brush with a hose on it so you kept

  7   blowing the stuff.     It was filtered and all that good stuff.

  8   Clean it all up, blow it off a little bit, let it dry, and put

  9   it back on the compressor.

 10   Q   Now, at the Zimmer building, did Moran have any degreasing

 11   operations like out at the motor shop?

 12   A   Not in the Zimmer building, no.

 13   Q   In the Zimmer building, do you have any knowledge of

 14   whether Moran did or did not use TCE in that building?

 15   A   They did not.

 16   Q   Do you have any knowledge of whether Moran used PCE or

 17   tetrachlorethylene in that building?

 18   A   No.

 19   Q   You have no knowledge or --

 20   A   No, they didn't use anything like that, just two or three

 21   of them little -- you rent those things.         The people that --

 22   the people you're leasing from come and change the barrels

 23   themselves.     It's a big secret formula or something.        I don't

 24   know.     Every so often, they just come in, wheel it in, take

 25   the old barrel out and away it goes; and you've got good,
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  1   fresh cleaner, whatever it is.       Like I say, it smelled like

  2   mineral spirits.

  3   Q   And is your testimony then that Moran did not use TCE in

  4   the Zimmer building?

  5   A   Absolutely not.

  6   Q   Now, let's go to the dyn shop.

  7   A   Okay.

  8   Q   Do you know if there are any degreasing operations in the

  9   dyn shop?

 10   A   For a short period of time, yes.

 11   Q   And when was that period?

 12   A   I can't tell you the exact year.        About '90 -- I don't

 13   know, maybe '89, '90, somewhere in there.

 14   Q   Did Moran use TCE in the dyn shop?

 15   A   Yeah, for a short period of time.

 16   Q   And how did that short period degreasing operations come

 17   to happen?

 18   A   Well, Mr. Phelps thought it would be nice to have a

 19   smaller one over there to help with his smaller motors over in

 20   his area.    The only place he could put it was in our area.          So

 21   they did.    They liked it and it really didn't pan out for him

 22   very good.    So it was closed off, shut down, emptied out, and

 23   then later gone.

 24   Q   Who is Mr. Phelps?

 25   A   He ran the motor shop.
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  1   Q   Did you work at the same time Mr. Phelps worked at Moran?

  2   A   Oh, yeah.

  3   Q   You said it didn't pan out for him --

  4   A   Yeah, it didn't work like he wanted it to.

  5   Q   Let me just finish, please.       You said it didn't pan out

  6   for him to have a degreaser in the dyn shop.          Just explain

  7   what happened with that degreaser.

  8   A   Well, it didn't work out for him.        He had to travel all

  9   the way back and forth with all these little parts, which

 10   didn't amount to anything.      The guys that worked -- there were

 11   still a few compressors around.       The welders and all them

 12   guys, they didn't like the smell.        They didn't like it in

 13   there.    He said, "Let's just close it up."       I guess they

 14   pumped it out and took it out and that was it.

 15   Q   Did TCE have a pretty distinct smell?

 16   A   Yeah, yeah.    I can vaguely remember it now; but yeah, you

 17   could smell it on certain -- depending on air pressure or

 18   whatever.    I don't know how they did that.       You could smell

 19   it, not throughout the whole building; but if you were close

 20   enough, you would smell it.

 21   Q   Now, let's go to -- well, actually, tell us, if you will,

 22   Mr. Sharkey, if there were any other degreasing operations in

 23   the dyn shop that we haven't discussed.

 24   A   No.

 25               MR. MENKVELD:    Now, let's go to Exhibit 1109,
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  1   please.    We will go to -- actually, leave it here for a

  2   second.

  3   BY MR. MENKVELD:

  4   Q   Mr. Sharkey, throughout your employment with Moran

  5   Electric, did you ever see any spills of TCE?

  6   A   No, never.

  7   Q   Did you ever see any releases of TCE outside at all?

  8   A   No, huh-uh.

  9   Q   Did you ever see any releases or spills of TCE inside any

 10   of the buildings?

 11   A   No, huh-uh.

 12               MR. MENKVELD:    Now, let's go to PDF page 16, please.

 13   Let's just started with a blowup of this area here.

 14   BY MR. MENKVELD:

 15   Q   Now, do you see on this exhibit, Mr. Sharkey, three pits

 16   labeled "pit 1" sort of at the top left?

 17   A   Over here?

 18   Q   Yeah, you can touch it.

 19   A   Yeah, that's it.

 20   Q   Then do you see "pit 2," which is off to the right there?

 21   A   Yes.

 22   Q   Then "pit 3," which is just below that?

 23   A   Yeah.

 24   Q   Can you explain for us -- we'll start with pit 1, what

 25   pit 1 was used for?
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  1   A   Well, that was a big vacuum tank.          That was part of that

  2   newer building that was built between the -- that was -- that

  3   was used -- it was a vacuum tank that was about 2 inches

  4   thick.   Called it the bean pot because it looked like a big

  5   pressure cooker.    You put coils and bigger stuff in there and

  6   vacuumed it.    Takes all the air out.        It varnishes.   It's to

  7   penetrate further and then the air and all that.          You release

  8   an inert gas into it after that so you don't blow the lid off

  9   and slowly bring it up.        It was a big vacuum varnish tank.

 10   That's what it was, big one.

 11   Q   Now, did that tank use any TCE?

 12   A   No, just varnish.

 13   Q   So -- I don't want to have to keep asking you whether you

 14   used PCE -- and my apologies if I asked you this before, but

 15   do you have any knowledge of whether Moran used any PCE or

 16   tetrachlorethylene at all at any time?

 17   A   No, I never heard or seen any of it.

 18   Q   Now, let's look at pit 2, which you identified.

 19   A   Okay.    Those are varnish tanks.

 20   Q   Pit 2?

 21   A   This one right here, pit 2.        It says "pit 2."

 22   Q   What was pit 2 --

 23   A   Those are varnish tanks.

 24   Q   And explain to --

 25                COURT REPORTER:     Excuse me.   Can I ask you to please
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  1   wait until the question is finished before you answer.

  2                THE WITNESS:    I'm sorry.   I'm sorry.

  3   BY MR. MENKVELD:

  4   Q   If you would, please, just explain what varnish tanks were

  5   used for.

  6   A   They were for dipping coils and motors for insulation.

  7   Varnish is insulation.

  8   Q   Now, did the tanks used in pit 2 ever use TCE as far as

  9   you know?

 10   A   No.

 11   Q   Now, let's talk about pit 3, which you identified as being

 12   here.     Can you explain to us what pit 3 was used for?

 13   A   That's the trichloroethylene tank.

 14   Q   So this is the vapor degreaser that we discussed earlier;

 15   is that right?

 16   A   Yes.    That was it, yes.

 17   Q   Now, if you look at --

 18                MR. MENKVELD:   If you would scroll up just a little

 19   bit, Ms. Hill.     Other way.

 20   BY MR. MENKVELD:

 21   Q   Do you see any other area in the Moran motor shop here

 22   where any other pits were located or any other degreasers were

 23   located?

 24   A   No, there is none.

 25   Q   During your time there, right?
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  1   A   Yes.

  2   Q   Now, could there have been at some other point when you

  3   were not there?

  4   A   No, no.

  5               MR. MENKVELD:    Now, scroll down to the dyn shop,

  6   please.    Let's clear this.

  7               Just a little more please, Ms. Hill.

  8   BY MR. MENKVELD:

  9   Q   Now, you'll see two pits referenced here in the dyn shop,

 10   Mr. Sharkey.     You'll see one called "pit 5."       Can you see

 11   that?

 12   A   Yes.

 13   Q   Can you touch that so we can identify it.

 14   A   (The witness complied.)

 15   Q   Thank you.     And do you see another pit just below that?

 16   A   Yeah, right there.

 17   Q   That's pit 4.     Can you describe for us what pits 5 and

 18   pits 4 were used for.       Pit 5 -- let's start with pit 5.

 19   A   Pit 5 was a water tank down in a pit, and it was our

 20   catch-up water for testing water dyns because city water could

 21   not keep up.     Uses a lot of water when you're running a dyn

 22   and everything.     So it was a catch -- H2O, water, that's all

 23   it was.

 24   Q   And was there ever any, to your recollection, TCE used in

 25   pit 5?
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  1   A      No.

  2   Q      Were there any degreasers in pit 5?

  3   A      No.

  4   Q      Now, pit 4, please describe for us what pit 4 was used

  5   for.

  6   A      That must be the little -- the small degreaser, the

  7   trichloroethylene.

  8   Q      And again, how long do you think that degreaser was in

  9   place at the Moran dyn shop?

 10   A      Could have been in place several months, but it was only

 11   used two or three.

 12   Q      Two or three months?

 13   A      As far as I know, yeah.

 14   Q      Now, earlier, Mr. Sharkey, I believe you testified that

 15   Moran used 55 gallons of TCE at a time approximately?

 16   A      I believe so, yeah.

 17   Q      Are you aware of Moran using -- well, first of all, do you

 18   know what an underground storage tank is?

 19   A      Oh, yes.

 20   Q      Are you aware of Moran ever using an underground storage

 21   tank to store TCE?

 22   A      No.

 23   Q      Are you aware of Moran ever using an underground storage

 24   tank to store any sort of solvents?

 25   A      No.
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  1   Q   Are you aware of underground storage tanks on the Moran

  2   property?

  3   A   Oh, yes.

  4   Q   Let's start with -- well, tell us what you know about

  5   underground storage tanks on the Moran property.

  6   A   Well, the big ones are mostly there for the boilers.

  7   They're oil-fired boilers.      It was fuel oil.      There was a

  8   20,000-gallon -- they say 10,000, but I don't think so.             Maybe

  9   8,000-gallon, and that was for -- that took care of both dyn

 10   and motor shop boilers.

 11   Q   And these are -- and what did those tanks hold in them?

 12   A   Pardon?

 13   Q   What did those tanks hold in them?         What did they store?

 14   A   Oh, they stored fuel oil for the boilers.

 15   Q   And I believe you said the sizes of the tank.           Are there

 16   two separate tanks that you're referring to?

 17   A   Yes, but they were tied together with a pipe.           So you

 18   wound up, like, almost 30,000 gallons, give or take.

 19   Q   So why would any operation want 30,000 gallons of fuel oil

 20   to run boilers?

 21   A   Boilers take a lot of fuel oil.        These were steam boilers.

 22               MR. MENKVELD:    If you could go back to Exhibit 1002,

 23   please, PDF page 128.

 24   BY MR. MENKVELD:

 25   Q   Now earlier, Mr. Sharkey, we identified this as the Zimmer
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  1   building.     Are you aware of any underground storage tanks on

  2   that property?

  3   A   None that I have ever heard of or seen, no.

  4   Q   When did you stop working for Moran again?

  5   A   '90 -- had to be '96 or '95; '96 I believe.

  6   Q   Why did you stop working there?

  7   A   Because the bank closed us up.

  8   Q   Explain to us a little more.         What do you mean by that?

  9   A   Well, they closed my dyn department, first of all.           They

 10   let the motor shop stay open for a while longer to finish

 11   their Amtrak stuff.      Other than that, everybody went home.          A

 12   lot of them went to Horner.

 13               THE COURT:     Who closed you up?

 14               THE WITNESS:     The bank.

 15               THE COURT:     The bank.

 16               THE WITNESS:     Yeah.

 17   BY MR. MENKVELD:

 18   Q   If you want to explain what you mean by the bank closed

 19   you up, you can tell us the story behind that.

 20   A   My mother, when she took over as CEO, had to get a

 21   million-dollar loan from the bank to pay off one of her

 22   brother's wives -- ex-wives I should say.          So she did.   That

 23   was fine.     There was nothing wrong with that.       Payments were

 24   only 23,000 a month.       Big deal.     That's one AR10 out of the

 25   motor shop.
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  1              Well, they decided to tell us that Amtrak was closing,

  2   which was not true.     They decided well, you know -- they

  3   closed us up; wouldn't allow us to pay our union dues, just

  4   everything.    Closed my shop up, and I had two years of work

  5   waiting to come in the door.       That was it.

  6              So they sold -- had an auction, sold everything,

  7   emptied the buildings.      Then called my mother and said, "Well,

  8   we can't sell the buildings because that would be against the

  9   law."     And she said, "Well, it was against the law for you to

 10   close them."     That was nice.

 11              But anyway, that's how, you know -- that's what

 12   happened.     She sold the buildings to Dynagear for practically

 13   nothing since the bank was going to take it anyway; and that

 14   was it.    All done.

 15   Q   What did Moran do with the things that were located in the

 16   buildings?

 17   A   The bank auctioned them off, everything, lock, stock and

 18   barrel.

 19   Q   After that happens, did you still have access to the

 20   buildings?

 21   A   I did.     I had keys to it still.     I was in charge of the

 22   keys.

 23   Q   At that time, did you work for anybody in the area?

 24   A   I was working down at Job Corps; Atterbury at Job Corps at

 25   the time as an electrician.
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  1   Q   What was the purpose for you having keys to the Moran

  2   buildings?

  3   A   I was head of maintenance, and I was also in charge of all

  4   the keys.

  5   Q   Earlier, I believe you mentioned the buildings were sold

  6   to Dynagear; is that right?

  7   A   Yes.

  8   Q   Did you have any involvement with that process?

  9   A   Yes.     I showed them the buildings.      Since I was the only

 10   one that had keys, they wanted to look at the building.            So I

 11   met them there one day with my mother and my brother, and I

 12   took them all through the buildings because I could get into

 13   them.

 14   Q   When you say you took them all, who did you take through

 15   the buildings?

 16   A   Bob Green, the owner of Dynagear, and one of his

 17   engineers.

 18   Q   Who is Bob Green, and why was he looking at these

 19   buildings?

 20   A   Because he owned Dynagear that just bought Ertel's.

 21   Dynagear was out of Chicago.       He bought Ertel because Ertel's

 22   wouldn't do his gears.      So he said, "I'll buy you and that'll

 23   be it; and you'll do my gears."

 24   Q   Do you remember Bob Green's full first name by chance?

 25   A   Just Robert Green.
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  1   Q   When you showed Mr. Green around the Moran buildings, what

  2   condition were the Moran buildings in?

  3   A   Actually, better than I thought they would be because they

  4   had been empty for a couple years.        They weren't leaking.      It

  5   was in pretty good shape actually for two years old -- you

  6   know, for sitting idle for two years.

  7   Q   Did you have a chance to look in the pits when you looked

  8   through those buildings?

  9   A   Yeah, I looked in them, glanced down in them.           The one in

 10   the motor shop looked pretty clean.        Of course, the one over

 11   on the other side, I guess it was all right.          I didn't pay

 12   that close attention to them.       I do remember the one in the

 13   motor shop, looking down in it, because I thought, boy, you

 14   know, that stuff's got to really tear the concrete up but it

 15   didn't.    Didn't do anything to it.      Looked a little discolored

 16   maybe.    That was it.

 17   Q   Were the pits in the dyn shop still there?

 18   A   The water pit was.      I remember that.     I didn't go over to

 19   the other corner where the other one was.         It probably was.

 20   After Dynagear took it, they tore that test cell down --

 21   building and filled that in.       The other one was filled in.

 22   They used it for warehousing.       That area was used for

 23   warehousing.

 24   Q   Now, you worked in this area from 1966 off and on to 1979;

 25   is that right?
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  1   A   Yeah.

  2   Q   And then permanently from 1979 to 1993 or '95

  3   approximately?

  4   A   '95 or '6 I'm sure.

  5   Q   Now, during that time did you witness the operations of

  6   other companies in the area?

  7   A   Yeah.     We did a lot of work at Major Tool, a lot of

  8   electrical.    They were constantly building on and building.

  9   We did all their electrical.

 10   Q   Who did the electrical for Major Tool?

 11   A   Moran Electric did.      Well, I helped.

 12   Q   Were you involved in that work?

 13   A   Yes, uh-huh.     I worked out of the wiring department.

 14   Q   Did you personally see the operations of Ertel

 15   Manufacturing?

 16   A   Yeah.     Oh, yeah.   Yes.

 17   Q   Just describe for us, if you will, what you were able to

 18   observe when you looked at the Ertel building.

 19   A   Well, they made valve guides.        The foundry would mold --

 20   make molds and pour the shots.       They go through a grinder.

 21   After that, they get a million of them.         Go through a grinder.

 22            Then they go to what's called a gang drill that

 23   drilled a hole in the center -- the first hole.          Then they go

 24   through a chamfering machine.       Then they go to what was called

 25   a turntable that did other machining parts, you know,
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  1   machining on it.    They wound up -- I don't know what they

  2   cleaned it in, to tell you the truth; but whatever they did

  3   wound up in a big bin.

  4   Q   Was there ever a time where there was a concern about

  5   Ertel's industrial hygiene?

  6   A   Oh, yeah.     John Moran was always on them about that.

  7   Q   I'm sorry.     Who was on them?

  8   A   John Moran.

  9   Q   Tell us again who John Moran is.

 10   A   Was my grandfather, owner of Moran Electric.

 11   Q   Why was John Moran on them about that?         Tell us that

 12   story.

 13   A   Because they kept leaching over into our area.           The

 14   cutting oils and everything, everything, whatever they used

 15   just leaching out the windows, down the blocks.          It was

 16   everywhere.     It was pretty bad.

 17   Q   And so what was John Moran's problem with that happening?

 18   A   He said, "You were messing up the soil."          There was a very

 19   narrow part between the Zimmer building and them.           It was just

 20   getting on that narrow part.       It was just getting everywhere.

 21   Q   And John Moran had a problem with that?

 22   A   Well, yeah.     Gave him something to gripe about.

 23   Q   Now, do you know if Ertel Manufacturing was -- had a

 24   unionized workforce?

 25   A   No.   They were nonunion.
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  1   Q   Now, did you personally witness the operations of a

  2   company named Von Duprin?

  3   A   Very shortly.     I was in there a couple times just to

  4   deliver fans.

  5   Q   Well, let's look at the exhibit that we have up here.            Can

  6   you point to where the Von Duprin building was located?

  7   A   Yeah, right here.

  8   Q   Touch it one more time so we can try to get an arrow.

  9   A   (The witness complied.)

 10   Q   It's within that area of where you pointed?

 11   A   Yeah.

 12   Q   Now, if you would, please, just continue telling us the

 13   story about the time you delivered fans.

 14   A   Well, the fans would come in.        They were pedestal fans,

 15   big pedestal fans.     We would clean them up.      A lot of times

 16   the motor would be ate up, would have to put a new motor on

 17   it, put new blades on it, whatever it took and then take them

 18   back over there working.      We would just carry them over there

 19   because they were right across the street.

 20   Q   How long would you say you were actually in the Von Duprin

 21   building?

 22   A   No more than 10, 15 minutes at a time if we could help it.

 23   Q   Why do you say that?

 24   A   Because it was nasty in there.        I don't know how people

 25   could work in there, could see in there.         That's what I
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  1   remember.     That was back years ago.

  2   Q   So when you walked in there, describe for us what you

  3   actually saw.

  4   A   Haze, a lot of haze.      Sometimes it would burn your nose.

  5   They did plating in there, so a lot of haze; a lot of guys

  6   with yellow hands, you know.       We were kids.    We were 16, 17

  7   years old.     We just didn't want to go in there anymore.

  8   Q   Do you know whether Von Duprin had a unionized workforce?

  9   A   Oh, I don't think they did.

 10   Q   Let me ask you this question.        How is it that you would

 11   know whether a company has a unionized workforce?

 12   A   Well, there was a lot of reasons.        They would have made

 13   good money.     They would have cleaned up their act, stuff like

 14   that.   That's why we know Ertel's didn't either.

 15   Q   As a member of the union, would you look to go work for

 16   companies that were unionized?

 17   A   Well, as customers, it didn't matter if they were

 18   unionized or not.     We couldn't hire out of the union.

 19                MR. MENKVELD:   Understood.

 20                I'll pass the witness.

 21                THE COURT:   Okay.   You will go next, Ms. Krahulik.

 22                             CROSS-EXAMINATION

 23   BY MS. KRAHULIK:

 24   Q   Mr. Sharkey, I'm Angela Krahulik.        I represent Major Tool

 25   and Machine and Major Holdings in this lawsuit.          I met you
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  1   years ago when you were deposed, but I wasn't the one asking

  2   you the questions; so you probably don't remember me.

  3              You said a minute ago that you had an opportunity to

  4   do work for Major Tool and Machine at some point in your

  5   career?

  6   A   Yes.

  7   Q   And Major Tool and Machine was a clean operation, right?

  8   A   Oh, yes, yes.     They were good.

  9   Q   We also talked a little bit about Mr. Phelps, who worked

 10   in the motor shop with you.       Mr. Phelps is unfortunately

 11   deceased now, isn't it?

 12   A   Yes, uh-huh.

 13   Q   And he would be the best person to rely on for a

 14   description of the degreasing operations in the motor shop?

 15   A   Yeah.    Yes.

 16   Q   And I guess in the dyno shop, too?

 17   A   It was his baby, too, yes.

 18                MS. KRAHULIK:    Can we pull up Exhibit 1002, please;

 19   and I think it was page 128, that map we were looking at?

 20                There we go.    Can you zoom in just a little bit on

 21   that to kind of get rid of the left side more so than

 22   anything.     There we go.

 23   BY MS. KRAHULIK:

 24   Q   You showed us several of the buildings on this map

 25   earlier, and you talked about an area outside the motor shop
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  1   where drums would be stored until they could be picked up.

  2               MR. MENKVELD:     Objection.     Misstates his testimony.

  3   He did not say "drums."

  4               MS. KRAHULIK:     I think he said 55-gallon drums were

  5   stored there when they were waiting to be picked up.

  6               THE COURT:     Do you recall?

  7               THE WITNESS:     Yeah.     They would be.   I mean, that's

  8   where they would put them alongside there so the truck was

  9   easy in the back gate to come and get them.

 10   BY MS. KRAHULIK:

 11   Q   Can you just show us where that was in relation to the

 12   motor shop?

 13   A   Right along this side right here -- well, my fingernail --

 14   right there.

 15   Q   So -- on the north side?

 16   A   No.    That would be the east side.

 17   Q   The east side.       So it was on the east side of the building

 18   over there?

 19   A   Yes.

 20   Q   And that's where drums of spent TCE would be stored for a

 21   time?

 22   A   Well, for a day or two.          They wouldn't be there long.

 23   Q   Where were drums with new TCE stored until they were used?

 24   A   As far as I know, they were brought -- when they came to

 25   pick up the used, they brought the new one.          So they wouldn't
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  1   be there long.

  2   Q   You said they were changed out every couple months?

  3   A   Two or three months.      Depends on how busy they've been.

  4   Q   Okay.    You mentioned parts washers; and you said there

  5   were several, two north of the alley at what we've called the

  6   Zimmer Paper building, right?

  7   A   Yes.

  8   Q   And then several in the dyno shop and the motor shop?

  9   A   Motor shop didn't have any.       It was the Zimmer building

 10   had two of them.     One for the compressor shop, and I think the

 11   mold shop used one of them rarely.        And there was -- in the

 12   dyn shop -- there was one in the dyn shop while the compressor

 13   shop was in there.

 14   Q   And you said that the operations at the building north of

 15   the alley -- the Zimmer Paper building we're calling it but

 16   that Moran operated from like 1967 to '83 or '84?

 17   A   Yeah.

 18   Q   Those operations included wiring, compressor repair,

 19   injection mold, and panel shop, right?

 20   A   Yes.

 21   Q   And --

 22   A   And some dyn winding.

 23   Q   When you were deposed, you described those processes --

 24   and I just want to see if you still agree with me.

 25              As far as the panel operation, you said you would take
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  1   all the components off the panel, go through them, measure

  2   them, make sure everything was okay, clean them up, replace

  3   what needed to be replaced, and then ship them back to Amtrak;

  4   is that right?

  5   A   Pretty much it in a nutshell.

  6   Q   More or less?     Yeah.

  7              And as far as the molds for the mold department, you

  8   said they would be repaired; and the machinists would repair

  9   them, remachine them, clean them up, and send them back,

 10   right?

 11   A   For the most part, yes.

 12   Q   And then as far as air compressors in that building, you

 13   said they would be overhauled, rebuilt; and you guys did air

 14   compressors of all types?

 15   A   Yes.

 16   Q   And you would have to break them down, clean them up, and

 17   then repair them?

 18   A   Yes.

 19   Q   Then I think we've covered everything except wiring in

 20   there.     What wiring operations were conducted in that

 21   building?

 22   A   Outside wiring, construction, electricians, running pipe,

 23   pulling wire, putting in lighting, outside wiring.

 24   Q   So in that building north of the alley, that was going on?

 25   A   Well, the department was in that, yes.
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  1   Q      So that's where the outside electricians were sent out of?

  2   A      Yeah, your traveling journeyman electricians.

  3   Q      Got it.   Thank you.

  4              Now, you worked in or at Moran summer of '66, summer

  5   of '67 and then maybe a couple of year stints in '73 and about

  6   '75?

  7   A      Yeah, after I got out of the Navy.

  8   Q      And you came there permanently in '79 until it was closed?

  9   A      Yeah.

 10   Q      So I think by my calculation, if Moran owned that property

 11   north of the alley that we've called the Zimmer Paper parcel,

 12   from '67 to 84, they owned it for approximately 21 years?

 13   Does that sound about right?

 14   A      Sounds good.

 15   Q      And you were there for about eight of those years?

 16   A      Okay.

 17   Q      And so what was going on there during the other time, you

 18   wouldn't know?

 19   A      Well, it would be -- when the compressor department and

 20   everybody moved in there, I was there; and they were still

 21   there when I came back.       So they were doing the same thing --

 22   Q      But you weren't there on a day-to-day basis --

 23   A      No, no, no, no, no.

 24   Q      Gotcha.

 25              Now, earlier today, you said that the parts washers
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                           SHARKEY - CROSS/KRAHULIK             Vol. 3 - 693


  1   that were used in the Zimmer Paper building did not utilize

  2   TCE?

  3   A      No, they did not.

  4   Q      Now, when you were deposed -- and I'll tell you the date

  5   of that -- back in August of 2016.        It was the 12th of August,

  6   2016.     Mr. Thomas asked you on behalf of Major Tool -- and I'm

  7   reading from page 128, line 11 of your deposition -- or line

  8   10 of your deposition as to the parts washer.

  9                 "What would they put in the barrel"; and you said, "I

 10   have no idea what their chemical is."

 11                 Mr. Thomas said, "But it's some sort of chemical"; and

 12   you said, "Oh, yeah, like I said, you use it at home in your

 13   garage, but just one of those small ones.         That's what they

 14   needed."

 15                 Do you recall that?

 16   A      Yes.

 17   Q      So you can't identify what specific chemical was used in

 18   the parts washer?

 19   A      No, but I wouldn't think you could have it in your home.

 20   Q      Because it was used industrially?

 21   A      It was used in every garage in the country.       Any mechanic

 22   knows what it is.

 23   Q      It's used to wash parts?

 24   A      People came and changed that oil or whatever it was, you

 25   know.     You didn't mess with it.    All you did was call them.
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  1   It's sludgy.     Let's get a new one.

  2   Q   And you used it to clean parts?

  3   A   Yeah, just a common cleaner.

  4                MS. KRAHULIK:     Thank you.    No further questions.

  5                THE COURT:    Ms. French, you may.

  6                MS. FRENCH:     Thank you, Your Honor.

  7                               CROSS-EXAMINATION

  8   BY MS. FRENCH:

  9   Q   Mr. Sharkey, I don't believe that we've met.           My name is

 10   Alex French.    I'm an attorney for Von Duprin LLC in this

 11   lawsuit.

 12              What year did Moran begin operating in the area that

 13   you've described on Exhibit 1002?

 14   A   You're talking the whole street?

 15   Q   Yes.     When did they first begin operating in the area?

 16   A   1931, I believe.

 17   Q   When did you begin working there full time?

 18   A   In '66; 1966.

 19   Q   And then you left for a time.           Came back in the '70s?

 20   A   Went to school.        I was in high school.

 21   Q   Then you left for a time after you worked there in the

 22   late '60s?

 23   A   Yes.     I went in the Navy.

 24   Q   Came back for a brief time in the '70s?

 25   A   Yeah.
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  1   Q   And came back for a longer period of time beginning in the

  2   late '70s, early '80s --

  3   A   Came back permanently --

  4              COURT REPORTER:     I'm sorry.    One at a time, please.

  5   BY MS. FRENCH:

  6   Q   Came back permanently --

  7   A   1979 --

  8              THE COURT:    Okay.    You did it again.

  9              Ask your question.

 10   BY MS. FRENCH:

 11   Q   Came back permanently in the late '70s early, '80s?

 12              THE COURT:    You may answer.

 13   A   Came back in January of 1979.

 14   BY MS. FRENCH:

 15   Q   Thank you.

 16            How long was pit 3 operated as a vapor degreaser?

 17   A   Pardon me?

 18   Q   How long was pit 3, which you discussed earlier, operated

 19   as a vapor degreaser?

 20   A   I'm trying to think.      Somewhere in the '70s.      I was there

 21   for a short period of time, and that's when I helped dig the

 22   hole.   So it wasn't long after that, evidently.

 23   Q   Did you ever see the varnish vacuum tank cleaned?

 24   A   The varnish vacuum tank?

 25   Q   You discussed a vacuum tank --
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  1   A   Oh, the big vacuum tank.        No.     It didn't get used that

  2   often.     It was pretty new when we got closed up.

  3   Q   You mentioned you mainly worked in construction for Moran.

  4   Where did you do that work?

  5                MR. MENKVELD:     Objection.     Misstates his testimony.

  6                THE COURT:    Your response?

  7                MS. FRENCH:     Your Honor, I believe he was discussing

  8   what operations he observed in certain buildings; and he said

  9   he mainly worked in construction.

 10                THE COURT:    And what's your question?

 11   BY MS. FRENCH:

 12   Q   Where did you perform construction work on behalf of

 13   Moran?

 14                THE COURT:    I'll allow him to answer the question

 15   and overrule your objection.

 16   A   All over town.

 17   BY MS. FRENCH:

 18   Q   So that work was performed elsewhere than at the Moran

 19   property?

 20   A   Yes.

 21   Q   Did you ever observe Von Duprin dumping any chemicals?

 22   A   No.

 23                MS. FRENCH:     Nothing further.

 24                THE COURT:    Okay.

 25                MR. MENKVELD:     Very short redirect, Your Honor.
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  1              THE COURT:    You may.

  2                           REDIRECT EXAMINATION

  3   BY MR. MENKVELD:

  4   Q   Mr. Sharkey, you were asked about 55-gallon drums that

  5   were stored outside of the motor shop, right?

  6   A   Yes.

  7   Q   Did Moran use -- ever use more than one 55-gallon drum of

  8   TCE at a time?

  9   A   Not that I'm aware of.

 10   Q   Now, you were also asked a question about what chemicals

 11   or materials were in the parts washers.         Do you recall being

 12   asked that?

 13   A   Yes.

 14   Q   And I believe you testified -- now, you couldn't ID

 15   exactly what was in that parts washer; is that right?

 16   A   No.

 17   Q   But could you say for sure that it was not TCE?

 18   A   Oh, yes.

 19              MR. MENKVELD:     Pass the witness.

 20              THE COURT:    Any questions on those?

 21              MS. KRAHULIK:     No.

 22              THE COURT:    None?

 23              All right.    Thank you, sir.     You may be excused.

 24       (Witness excused.)

 25              THE COURT:    Go ahead and call your next witness.
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  1                MR. MENKVELD:     Yes, Your Honor.   We'll call Mr. Fye.

  2          (Witness sworn.)
  3                THE COURT:    Mr. Bowman, you may examine your

  4   witness.

  5                MR. BOWMAN:     Thank you.

  6                 MICHAEL FYE, DEFENDANT'S WITNESS, SWORN

  7                              DIRECT EXAMINATION

  8   BY MR. BOWMAN:

  9   Q      Would you please state your name for the record, please?

 10   A      My name is Michael E. Fye, F-Y-E.

 11   Q      What is your current address?

 12   A      2339 East County Road 100 North, Kokomo, Indiana, 46901.

 13   Q      I appreciate you appearing today.     We issued a subpoena;

 14   and you were kind enough to call me and then appear, correct?

 15   A      Yes, after some rescheduling, yes.

 16   Q      I believe you may have also talked to counsel at -- for

 17   Major.     I realize you were trying to understand who called

 18   you.

 19              But before today, you and I have not met, correct?

 20   A      That is correct.

 21   Q      And we have not really had a chance to talk about the

 22   testimony you're about to give; is that correct?

 23   A      That is correct.

 24   Q      Just a few ground rules to help you.       You will not be very

 25   long, but you have not given a deposition in this case.            So to
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  1   be clear, we have a court reporter who is being very kind to

  2   make sure we have a good record.

  3   A   Okay.

  4   Q   And the one rule that we are constantly breaking that you

  5   and I will not break is that I will ask you a question, and

  6   wait until I'm done before you answer it; and I will not

  7   interrupt you until you're done with your answer; is that

  8   fair?

  9   A   Yes.

 10   Q   And she likes yeses and noes and no head nods.           Okay?

 11   Ready to do this?

 12   A   I am.

 13   Q   What do you currently do today?

 14   A   I am retired.

 15   Q   When did you retire?

 16   A   Retired the first time in 2010 from Delphi Electronics.

 17   Retired the second time doing consulting for a plastics

 18   company called RTP located here in Indianapolis.

 19   Q   And tell us about your educational background.

 20   A   Okay.   I graduated from Clay Township High School in 1963.

 21   Q   Clay Township?

 22   A   Clay Township High School.       Consolidated, it would be

 23   Maconaquah near Bunker Hill, Indiana.        I left, went to IU in

 24   the fall of 1963.     Started out -- was going to major in art.

 25   Decided that I would probably starve to death if I was going
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  1   to do art.

  2              I switched to biology and then switched to biology in

  3   education school because my French was horrible.          I didn't

  4   have to have a language.

  5              I attended for three semesters.      It was a time of

  6   political activity.     My grades were not very good, and I came

  7   home to Kokomo at the end of fall 1964 semester.

  8              I started working at an inn at a company called Union

  9   Carbide Stellite, and I starting learning how to be a

 10   machinist.

 11   Q   That was 1964?

 12   A   Yes.     When I started would be '65.

 13   Q   '65?

 14   A   '65.

 15   Q   I do want to clarify.      There's a lot of legal machinations

 16   here that you're not aware; but you did give a deposition --

 17   and I didn't meet you at the time -- in another case related

 18   to your work at Von Duprin, correct?

 19   A   That is correct.

 20   Q   Okay.

 21   A   That was in 2015, I believe.

 22   Q   Okay.     And the reason I mention that is I did read it

 23   before today.     I don't know that we'll need it; but I remember

 24   and want to sum up in the early '60s, mid-'60s, you kind of

 25   bounced back and forth between IU Bloomington and IU Kokomo --
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  1   A   Correct.

  2   Q   -- and did some studies in I think it was biology?

  3   A   Correct.

  4   Q   Then after that, you went to Union Carbide.

  5   A   I'm sorry.    That was between IU Bloomington and going back

  6   to IU Bloomington I was at Union Carbide Stellite.           Okay?

  7   Q   When did you cease any of your university studies?

  8   A   Early '70s.

  9   Q   What did you do -- you did not end up with a degree?

 10   A   I did not.    I had lots of master's hours, but the

 11   scheduling never worked.

 12   Q   As I remember, you had some biology in addition to art?

 13   Is that the area of study?

 14   A   I did switch to biology, okay?        Since I had a -- somewhat

 15   of a skill, I worked a lot at the chemistry department on --

 16   while I went to school basically managing the student machine

 17   shop.

 18   Q   You did have -- come out of school with some experience

 19   with manufacturing and some exposure -- some work with

 20   manufacturing?

 21   A   Right.

 22   Q   And some exposure -- work with chemicals?

 23   A   Yes.

 24   Q   At some point, did you then start working for a company

 25   called Von Duprin?
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  1   A   I did.

  2   Q   When was that?

  3   A   I believe that was summer of '74, I believe.          You may have

  4   to -- I haven't done a resumé in almost 40 years either.

  5   Q   And so that we can put a -- book ends on this, when did

  6   you cease working at Von Duprin?

  7   A   I believe it was -- it was sometime in 1977, I believe.

  8   Q   Can you identify for us the specific Von Duprin location

  9   that you were at?

 10   A   The location was basically at the corner of 19th and what

 11   was Martindale and on the north, 20th Street, roughly.

 12   Q   Do you know if Martindale is now Dr. Andrew J. Brown?

 13   A   I do know that.        I couldn't remember what it was called,

 14   but I do know it changed names.

 15                MR. BOWMAN:    Do you have the prior figure that was

 16   used --

 17   BY MR. BOWMAN:

 18   Q   I'll show you a figure.       We have some fun toys, and this

 19   won't take long.     That's actually a picture, and you and I can

 20   interact with that; and what can happen -- and I will do this.

 21   I can actually touch the screen and make an arrow appear.            Did

 22   you see that?

 23   A   Yes.

 24   Q   I can also make it go away.        I am magical.

 25              Can you touch the screen, if you see -- I'm
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  1   wondering -- I've not shown this to you before.          So I will

  2   tell you that it is north and south.        Can you figure out if I

  3   showed you Martindale where you think Von Duprin might be?

  4   A     Yeah, if you can show me Martindale.

  5   Q     I believe this is Martindale.

  6   A     Oh, that's Martindale?

  7   Q     Yeah.   This is 20th Street.    If that's 20th Street, 19

  8   Street corridor.      Does that help you at all?

  9   A     Up is north?

 10   Q     Up is north.

 11   A     Okay.   And this being Martindale -- what's this street

 12   right here?

 13   Q     I think that might be 18th Street -- yeah, that would be

 14   19th -- that would be 19th.       We've got some addresses there.

 15   If you can't figure it out, that's all right.          But you

 16   remember it being on Martindale around 20th Street?

 17   A     Right; but it was, like, 19th and Martindale and then I

 18   remember a --

 19   Q     And the company was Von Duprin?

 20   A     The company was Von Duprin.

 21   Q     That's good enough.

 22                 MR. BOWMAN:   Why don't we pull up Exhibit 1107, page

 23   36.    I'll have this up so we can move along, Mr. Fye.

 24   BY MR. BOWMAN:

 25   Q     When you started at Von Duprin, what did you do?
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  1   A   I was hired as a finishing engineer.

  2   Q   What did that involve?

  3   A   That involved trouble-shooting issues with painting,

  4   plating, anodizing -- I'm sorry -- oxidizing and creating new

  5   finishes.

  6   Q   What did Von Duprin make?

  7   A   Von Duprin made panic exit hardware.

  8   Q   For doors?

  9   A   For doors.

 10   Q   Pretty -- and I looked at your deposition -- lots of

 11   different kinds of closure/locking devices for doors with

 12   different parts, correct?

 13   A   Correct.

 14   Q   Some were painted?

 15   A   Some were painted.

 16   Q   Some were plated I think would be the term?

 17   A   Electroplated, yes.

 18   Q   Some were brass already and just needed -- they were

 19   brass?

 20   A   Either oxidized or a clear coat to keep them from

 21   oxidizing.

 22   Q   Some were stainless?

 23   A   Some were stainless.

 24   Q   Kind of covered the idea?

 25   A   Some were die cast.
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  1   Q      But what was not stainless often had to be plated or

  2   painted, correct?

  3   A      That is correct.

  4   Q      Okay.   We can zoom -- well, let's not zoom in yet.       I'll

  5   represent to you that that is --

  6                  MR. BOWMAN:   Go to the first page for us.

  7   BY MR. BOWMAN:

  8   Q      This is a Columbia Baseline Assessment Report for

  9   1925-1940 Columbia Avenue, Indianapolis, Indiana, Mundell

 10   project number.       I assume you've never seen this before.

 11   A      I have not seen this.

 12   Q      Does the address 1925-1940 Columbia Avenue ring a bell at

 13   all?

 14   A      I believe that was the legal address of Von Duprin.

 15                  MR. BOWMAN:   If you'll go back to that figure then.

 16   BY MR. BOWMAN:

 17   Q      I'm not asking you to --

 18                  MR. BOWMAN:   Scroll up.   I think it's the one up

 19   above.

 20                  MS. FRENCH:   Objection, Your Honor.    Just before we

 21   proceed further, I think that this particular exhibit, though

 22   in evidence, has some markings and things that this witness

 23   hasn't testified to his recollection; and if we're going to

 24   have him read off things and try to refresh his recollection

 25   based on what's in the exhibit, I'm not sure that's an
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  1   appropriate use of this particular exhibit.

  2              MR. BOWMAN:    I can wait.     Let's that take down.

  3   Let's take that down.     We can start.

  4   BY MR. BOWMAN:

  5   Q   As parts were fabricated, describe the fabrication process

  6   in general; and if you can, describe different areas within

  7   the facility and what they were set aside to do, if you can do

  8   that.

  9   A   Raw castings of these various materials -- various parts

 10   of various materials came into a production machine shop.            The

 11   materials were roughed out, if you will, machined, taking the

 12   bare metal exterior edges, machining the insides, machining

 13   holes through them and basically roughing it out so it's going

 14   to work -- the mechanics will work.        Some of them were rough

 15   ground with, you know, big grinders to get the general shape.

 16            The ones that were not the really cheap, inexpensive,

 17   rough die cast stuff that -- it was machined, it would go

 18   directly for cleaning and painting.

 19            Most of the other stuff -- I'm talking about the

 20   better, if you will, materials, the aluminum, the brass, the

 21   stainless steel, that sort of thing, would go to a polishing

 22   department.    Polishing department was a series of machines

 23   with big grinding wheels and polishing wheels, something like

 24   you would want to buff something up with.

 25            First of all, you use various abrasives on the wheels,
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  1   getting the surface better.      If it's going to be a -- let's

  2   say a matte or a low gloss finish, sort of a brushed finish,

  3   it would, kind of end there.

  4              Some of the stuff was high polish.      So you would go

  5   with different compounds down to a really fine compound to get

  6   basically a mirror finish; but then it would go into the

  7   finishing department for whatever finish it was going to get,

  8   if any.

  9   Q   Was there a specific area designated where the cleaning

 10   and painting occurred?

 11   A   Yes.    That was the finishing department.

 12   Q   And where was that located in the building?

 13   A   Sort of the mid -- middle of the building on the

 14   Martindale Street side.      So that would be the center east.

 15   Q   Center east.     Okay.

 16              As part of cleaning, what equipment was available or

 17   used for cleaning of parts?

 18   A   It depends on -- for cleaning, it depended on what the

 19   eventual finish was going to be.

 20   Q   Okay.

 21   A   If it were going to be plated or oxidized, it would be put

 22   in a aqueous solution, basically soapy water, rather strong

 23   caustic.    Then it would be rinsed, and it would go through a

 24   basically semiautomatic electroplating machine where it would

 25   be -- the parts would be loaded on racks, loaded onto the
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  1   machine.     This big monorail on a hydraulic structure would

  2   lift up; and then it would index over, drop the parts on the

  3   racks down, down into the appropriate tanks.

  4              After a certain period of time, it would be raised up,

  5   move over.    Typically, it was past a process tank.         It's going

  6   to be a rinse, may be one or two rinses.         Go up again.    It's

  7   ready for a plating operation.       So in the case of the copper,

  8   nickel, chrome -- which there's a lot of those parts that got

  9   copper, nickel, chrome.      It would go into the copper solution,

 10   electrified, get a flash of copper on there, up, over, rinse.

 11              Then it would go into a special nickel bath, and this

 12   was an unusual nickel bath.       It actually instead of -- you

 13   used to see plating things that are very, very shiny.           This

 14   would be a very matte surface.       It was a special bath that had

 15   a lot of solids in there that it created when you plated the

 16   nickel.

 17   Q   So that was plating, and there's plating baths?

 18   A   It was plating baths.

 19   Q   Let's talk about the other process then.

 20   A   Okay.     Nickel, then chrome, then out.      So that's set.

 21              The other process before we get the paint would be

 22   oxidation where it would be cleaned.        It would be put in a

 23   special chemical that would turn the -- in this case brass --

 24   it would turn it sort of a brown architectural color and get

 25   rinsed and get out.
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  1            Okay.    Painting.   You ready for painting?

  2   Q   Yes, sir.

  3   A   The painting took place on a -- another monorail, only

  4   this monorail wasn't moving -- I should say wasn't moving up

  5   and down.   The track was stationary.

  6            So there was an area where people would hang racks

  7   again, but these weren't plating racks.         These were for

  8   painting, and they would load parts.        Each of those racks were

  9   designed for an individual part.       So they would load those on,

 10   and this chain -- monorail was moving all the time.

 11            So the first thing you would need to do before you

 12   painted them, you need to clean them.        They would have

 13   machining oils.     They would have various waxes and buffing

 14   compounds still left on them in molds.

 15   Q   Sure, you need to clean them.

 16   A   It had to be very clean.       So the monorail would take the

 17   parts up in a row, lined up like little soldiers hanging from

 18   the ceiling, go into a Detrex degreaser.

 19            It would go in.      It would then -- the railing

 20   descended into the vapor zone of the Detrex degreaser, move

 21   around; and then it would come out of the degreaser, up in the

 22   air, come around.     It would then cool at that time because the

 23   degreaser was pretty hot, and then it would go into a Ransburg

 24   paint booth.     A Ransburg paint booth is a special way of

 25   painting that uses electrostatic, and the parts on the racks
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  1   would come in and make a loop around in a paint booth and go

  2   back out.

  3            In the middle of that booth was something that looked

  4   very much like a big LP record in the middle; pump the paint

  5   up through the center.      It would get onto this disk -- a

  6   spinning disk and would spray out all the way around.

  7            Now, it was open in the front.        The reason it didn't

  8   come out at you is because both the paint and the parts were

  9   oppositely charged.       So the paints --

 10   Q   Never heard of that.

 11   A   -- mist out, go to the parts, and actually go around and

 12   come in the backs.

 13   Q   Could I show you a map or a figure that shows a layout of

 14   the facility to refresh your memory about the locations of

 15   those operations?

 16   A   Please.

 17               MR. BOWMAN:     I think there's one without the line,

 18   Ms. Hill.   Further up.     There it is.     There it is.

 19   BY MR. BOWMAN:

 20   Q   Do you need water?

 21   A   Yeah, I'm dry.       Very dry.

 22               MR. BOWMAN:     Let the record show we owe them a

 23   bottle of water.

 24               THE COURT:    The record will so reflect.

 25
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  1   BY MR. BOWMAN:

  2   Q      Here's the lid so you don't spill on special government

  3   property.

  4                   MR. BOWMAN:     I'm nothing but humorous, Your Honor.

  5                   THE COURT:     I see.

  6   BY MR. BOWMAN:

  7   Q      Okay, Mr. Fye, here we go.

  8                   MR. BOWMAN:     First of all, zoom out.

  9   BY MR. BOWMAN:

 10   Q      Is that sort of the general footprint of the building you

 11   see?     It's largely square, but there's an area off to the top,

 12   right?    We'll zoom in but the general format.

 13   A      Oh, okay.

 14   Q      Right?    It was kind of a rectangle, but there was a spot

 15   up -- there's an area up near the top, right?

 16   A      Yeah, I think that's --

 17   Q      So we're going to zoom in on the bottom.           Get right to it.

 18   Here we go.

 19              There was a warehouse near the bottom there; is that

 20   right?     Do you recall that warehouse?

 21   A      Yeah --

 22   Q      Do you remember a warehouse to the south?

 23                   MS. FRENCH:    Objection, Your Honor.     The warehouse

 24   is a 1995 addition.           I think we've already established this

 25   witness did not work there from '77 to after.
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  1                MR. BOWMAN:     Thank you.

  2                So if you'll zoom out further.

  3   BY MR. BOWMAN:

  4   Q   Do you see -- it says, "Former plating and plating area."

  5   Does that -- is that an appropriate location?

  6   A   Yes.

  7   Q   And then above it was "plating and finishing"?

  8   A   Yes.

  9   Q   Then it's got "former sumps and drain lines."           Do you

 10   remember a sump up in that area?

 11   A   You're going to have to expand that for me to see it.

 12              Yes, okay.     Wow.

 13   Q   Well, I'll withdraw that question.

 14   A   I --

 15                THE COURT:     The question -- sir, he withdrew the

 16   question.

 17                Next question.

 18   BY MR. BOWMAN:

 19   Q   Do you remember, they've got an area marked where the

 20   former parts washer area is.        Is that where you recall the

 21   parts washer?

 22   A   Roughly.     The floor plan there is totally different than

 23   when I was there.

 24   Q   Where was --

 25                MR. BOWMAN:    If you'll zoom out a little Ms. Hill,
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  1   just a little.

  2   BY MR. BOWMAN:

  3   Q   Where was the parts washer when you were there?

  4   A   Are you talking about the degreaser --

  5   Q   The degreaser.

  6   A   The degreaser was --

  7                THE COURT:   And you can touch the screen.

  8   A   -- along this wall.       That must be a fence, I think.

  9   BY MR. BOWMAN:

 10   Q   So it was on the east side of the wall?

 11   A   East side.     That's where the washer was.       The paint -- big

 12   paint booth and the oven were in here, okay.

 13   Q   Okay.

 14   A   And the electroplating, the automatic plating was in here;

 15   and the hand process line that did various finishes that was

 16   not automated but was still doing plating or oxidizing was

 17   roughly in here, I believe.       And the lab appears to be in the

 18   same place.

 19   Q   Where it was?     Okay.   I'm going to clear that because for

 20   today, what matters is this area is where you recall the

 21   Detrex degreaser.     Right in there.     Is that close enough?

 22   A   Yes.

 23   Q   Let's talk about that.      You came into the facility in

 24   1974?

 25   A   Right.
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  1   Q   As part of your job duties, did you have reason to be

  2   around the Detrex degreaser?

  3   A   Yes.

  4   Q   Tell me about the condition of the -- finish, please.

  5   A   When I first began work there, it was in the middle of a

  6   summer shutdown.

  7   Q   Okay.

  8   A   So the facility was not operating.

  9   Q   Okay.

 10   A   They were doing summer or scheduled maintenance.           The

 11   degreaser was empty.     It was -- it had some problems.        It had

 12   some corrosion on the inside, and one of the main things that

 13   was supposed to happen during this shutdown is that the

 14   machine was supposed to be repaired.

 15              Now, when I say "corrosion," I'm talking about

 16   internal corrosion.     So the degreaser's designed out of welded

 17   mild steel; but to keep them from corroding, they have, like,

 18   a two-component paint -- thick paint all around the inside to

 19   separate whatever the contents is going to be from the steel.

 20              Well, that had broken down.     So there were lots of

 21   places where it was down to bare, rusty steel.          The process to

 22   get it back up and running was to sandblast the inside.            I'm

 23   trying to remember whether we did that ourselves or whether we

 24   had somebody in there.      During the shutdown, a lot of work was

 25   done by the salary people.
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  1              So anyway, sandblasted the inside, cleaned it down;

  2   and then actually the foreman at that time put on a hood and a

  3   suit and went in and sprayed -- you know, repainted the inside

  4   of the machine.

  5              Then it had to be heated.     So they used a -- used

  6   canvas to close off the openings and used what's known as a

  7   salamander.    It's like an industrial heater, propane or

  8   whatever you use; and it just blows a flame out the front to

  9   heat whatever area -- they use it a lot in open garages and

 10   things like that.

 11              So anyway, then it was cured.     Then the -- then this

 12   unit was secured back up, refilled with the trich, and went

 13   back into operation.

 14   Q   Bunch of questions, but let's just go from where you are.

 15   When you said "trich," what was your understanding of the

 16   chemical that was used in that Detrex degreaser?

 17   A   Trichloroethylene.

 18   Q   Have you ever heard of tetrachlorethylene or PCE?

 19   A   Oh, you mean like perchloroethylene?

 20   Q   Yes.    Was perchloroethylene used in it?

 21   A   No, not while I was there.

 22   Q   Was the degreaser in any kind of a pit, containment, or

 23   was it on the floor?

 24   A   I don't recall a pit.

 25   Q   Do you think it was just on the floor?
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  1   A   I do not recall a pit, right.

  2   Q   Do you recall it being in any kind of a tray or

  3   containment?

  4   A   I'm trying to think -- remember if it had any kind of a

  5   little dam around it.     Some of our plating tanks had a little

  6   dam, but I'm not recalling that.       I really am not.

  7   Q   That's fine.    During your three years there, did you ever

  8   go through that kind of a full takedown and repair that you

  9   were around on this Detrex degreaser?        Did that ever occur

 10   again?

 11   A   No.    No.

 12   Q   Detrex degreaser had, for want of a better word, a lower

 13   containment area that contained the solvent, correct?

 14   A   Yes.

 15   Q   Was your understanding then -- was that heated then into a

 16   vapor?

 17   A   It was heated.

 18   Q   As Von Duprin operated for the three years you were there,

 19   was it a situation in which that conveyor and that Detrex

 20   degreaser ran the whole time that the plant was operating?

 21   A   Pretty much.    I mean, pretty much, with the exception of

 22   perhaps monorail issues, chain stretch and adjustments and

 23   things like that, I don't recall much -- many issues or

 24   downtime with the degreaser at all.

 25   Q   Okay.    And the point is none of us have been in that
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  1   operation, and so your testimony is helpful.

  2               Once you're in, start the shift, Detrex is on and

  3   creating a vapor?

  4   A     Right.

  5   Q     Parts are able to go in if that's running?

  6   A     Right.

  7   Q     If parts aren't going in, they're waiting to go in; but

  8   the Detrex is still heated up?

  9   A     It's still up to heat, and the vapor level is sitting

 10   there at the cold zone.

 11   Q     Were the repairs conducted on the Detrex degreaser by

 12   anyone other than employees of Von Duprin?

 13   A     I'm trying to think if our plumber was involved.         I'm sure

 14   he was.     A plumber -- the -- most of the maintenance was

 15   contracted out.       So we had, like, a regular electrician; and

 16   we had a regular plumber.       Plumber from Majors Plumbing and

 17   Heating.       His name was Bill Spurlock.

 18   Q     Were you ever part of the process of taking spent or old

 19   solvent out of the Detrex degreaser?

 20   A     No.

 21   Q     Were you ever part of the process of putting new, clean

 22   solvent into the Detrex degreaser?

 23   A     Personally, no, but I saw it.

 24   Q     You jumped ahead on me.     You did see new solvent put into

 25   it?
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  1   A   Yes.

  2   Q   What was the process?

  3   A   I want to put a caveat here.       Some of this I recalled

  4   after my deposition.

  5   Q   Okay.

  6   A   When I went to the deposition, I wasn't really sure what I

  7   was going to be talking about, so I hadn't done much thinking.

  8              So I got some time to think this time, and the one

  9   major fill that I remember was after -- early on when we got

 10   the machine back working, a tank truck pulled upside the

 11   building on Martindale.      They fed a hose through, and they

 12   filled the machine and -- with the trich.         I even have a

 13   memory of seeing the truck out there and the hose, and the

 14   name on the truck was Gold Shield.

 15   Q   So you saw the tank being filled?

 16   A   Right.

 17   Q   Through a hose?

 18   A   Yes.

 19   Q   Through a window?

 20   A   There was a doorway adjacent there, a small area between

 21   the building and the fence; and they had an area in the fence

 22   where they could pass the hose through the fence from the

 23   street.    Big hose.

 24   Q   Is that the only time you ever saw it filled?

 25   A   I think so.    I think so.
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  1   Q   Do you know how much material solvent was put in it at any

  2   one time?

  3   A   I do not recall.

  4   Q   Did you ever see anyone take old or spent or dirty solvent

  5   out of it?

  6   A   I honestly don't recall seeing that happen.

  7   Q   What were the dimensions of the Detrex degreaser?

  8   A   It was close to the wall with room to walk between the

  9   wall and the Martindale side and the machine.          Roughly, I'm

 10   saying, like, small dimension, maybe 8 or 10 feet wide.

 11   Length, 15, 16 feet perhaps.       Height, probably 12 to 15 feet

 12   high.

 13   Q   You've talked about new solvent being brought in on a

 14   truck.     Did you ever have a situation of seeing clean solvent

 15   ready to be used sitting in any kind of a barrel or container

 16   waiting to be used in the facility?

 17   A   Perhaps, but no vivid memory of -- I know it had to be

 18   replenished.

 19   Q   You've done this so far.       I do not want you to guess.

 20   A   Okay.

 21   Q   And you haven't so far.

 22              Do you remember seeing spent solvent in any kind of a

 23   container waiting to be taken away?

 24   A   Yes.

 25   Q   And the question that we started with here is do you
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                            FYE - DIRECT/BOWMAN                 Vol. 3 - 720


  1   remember where in the facility of those containers -- where

  2   they were stored?

  3   A   Outside.

  4   Q   On the north side?

  5   A   On the north side.      North -- would be the northeast corner

  6   of the property.

  7              MR. BOWMAN:    We'll go back to this figure.        Ms. Hill

  8   is going to zoom out so we can see more.         Okay.   There we go.

  9   BY MR. BOWMAN:

 10   Q   Can you see on there -- is that enough for you to be able

 11   to tell us --

 12   A   Let me see farther north.

 13   Q   See farther north.

 14   A   In that area of the facility.

 15   Q   Do a circle.

 16   A   In here (indicating).      This various area.      You know,

 17   specific to the foot, no; but barrels were kept out there.

 18   Q   Barrels that you understood --

 19   A   Would be --

 20   Q   One at a time.     Barrels that you understood contained

 21   older solvent?

 22   A   I can say that I believe so.       I did not know for a fact.

 23   Q   But you believe so?

 24   A   The reason being the -- looking back on it, I know the

 25   labeling requirements were not near what they became later.
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  1   So --

  2   Q   And we're kind of doing this on the fly.          This is fun, and

  3   I just realized something.      I keep saying "solvent."       When I

  4   say solvent, that would be the trich?

  5   A   Right.

  6   Q   Anytime I said "solvent," TCE, trich?

  7   A   Right.   I mean, there was certainly other solvents.

  8   Q   And that's why I needed to clean that up.          I'm only

  9   concerned about the trich that was in the Detrex degreaser.

 10   Right?

 11   A   Okay.

 12   Q   And that TCE, trich, would have been stored you think in

 13   that area?

 14   A   Yes.

 15   Q   And the material that was brought in by Gold Shield, you

 16   believe, was TCE or trich?

 17   A   On the initial fill, I don't think I remember seeing a --

 18   I mean, I wasn't there for both shifts.         I don't remember

 19   seeing another truck.

 20   Q   But you were led to understand that the material in that

 21   Detrex degreaser was trich or tri?

 22   A   Yes.

 23   Q   You weren't involved in the process of purchasing TCE for

 24   that Detrex degreaser at any time, were you?

 25   A   I was not.
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  1   Q   Do you recall seeing any drips of TCE as the parts came

  2   out of the Detrex degreaser hitting the floor?

  3   A   Yes.

  4   Q   So drips of TCE would come out as the parts came out?

  5   A   On occasion.

  6   Q   That was not a constant thing?        It was more occasional?

  7   A   It was more occasional.

  8   Q   Explain that occasional to us.

  9   A   The occasional would be -- I think if highly loaded, not

 10   all of the -- if I may back up and explain how a degreaser

 11   works.

 12   Q   Sure.

 13   A   A degreaser is a tank that is heated.         It has an open area

 14   above; and at a certain height, it has a cold water rail

 15   around it.    You run city water, cold water.       The solvent is

 16   heavier than air.     So you heat it up to its boiling point,

 17   which is below the boiling point of water as well.           You would

 18   have a vapor; and you could look in there, and you could see

 19   this dense vapor coming up just to the point of where it

 20   starts cooling.

 21              And when you put parts in there that are coming in

 22   cold, the degreasing vapor condenses on the parts, drips down;

 23   and when it does, it's taking the dirt and whatever else

 24   you're trying to get off.

 25              So goes through.   It comes back out.      There's
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  1   generally an area when it comes back out to the -- above the

  2   vapor zone.    The parts are hot, so you get quite a bit of

  3   evaporation of whatever was still wetted.

  4             If it's loaded really heavily or for whatever reason,

  5   sometimes there will be a little bit of residual solvent that

  6   will occasionally drip down; and you will see the spot almost

  7   immediately because it's warm solvent, almost immediately

  8   (indicating) evaporates.

  9   Q   The Von Duprin facility was not air-conditioned, was it?

 10   A   It was not.

 11   Q   So I assume then that process of the extent to which

 12   solvents did or did not evaporate from the part did depend

 13   upon whether it was winter versus summer, correct?

 14   A   Correct.

 15   Q   It would depend upon, in your experience, humidity?

 16   A   Humidity, yes.

 17   Q   A lot of environmental -- building environment impacted

 18   whether that happened or not, correct?

 19   A   That's correct.

 20   Q   Do you ever recall any other releases -- and that's our

 21   term of the solvent, TCE, being somewhere other than in that

 22   Detrex degreaser?     Ever see it get out anywhere else?

 23   A   No.

 24   Q   If I understand, there was a time you had to get into a

 25   sewer at Von Duprin?
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  1   A   Correct.

  2   Q   Tell us about that.

  3   A   Toward the end of my time there, there was starting to be

  4   all kinds of regulations promulgated to control what was going

  5   into the sewers and coming out of plants.         At that time, we

  6   really didn't have a collection point for our waste stream,

  7   the rinse waters, that sort of thing from the plating

  8   operation.

  9             So we -- there were, I think, three of us.         We went

 10   down in the sewer, entered a manhole I think roughly at 20th

 11   and Martindale or whatever, and proceeded down where we

 12   thought the number of paces, if you will -- I don't know

 13   whether it's been replaced, but I believe the original sewer

 14   was built in the 1800s.      It was probably 8 feet in diameter,

 15   made of brick; and I walked along and no more than 3 or

 16   4 inches of effluent down far enough where we could find the

 17   outlet.

 18   Q   The lateral from Von Duprin?

 19   A   Yeah, coming straight out of the plating area into the

 20   sewer.

 21   Q   And your purpose was to investigate?

 22   A   And collect.

 23   Q   And collect a sample?

 24   A   Collect a sample, seal it up, send it to a lab to see --

 25   for them to check whatever the -- mostly, it was -- we were
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  1   looking for hex chrome.

  2   Q   Did you ever see the results?

  3   A   I do not -- I probably did.       I do not recall.      It was,

  4   like I say, pretty late in my tenure.

  5   Q   So this is 1974, you believe -- '77 I mean?

  6   A   Yeah, close to there, I believe.

  7   Q   During that process, did you remember any unusual smells

  8   around that outlet?

  9   A   Not around the outlet.

 10   Q   Okay.

 11   A   Immediately taken by -- when we went into the sewer, there

 12   was a concern because a lot of paint fumes, paint solvent

 13   fumes, aromatics, MEKs or toluene, sort of a mixture of

 14   different solvents, paint solvent smells is how I would

 15   recognize it.    Kind of like if you're painting -- if you're

 16   painting something in your garage with the windows closed.

 17   Q   Do you believe that as you worked there, to come to

 18   understand that TCE had a certain smell when it vaporized?

 19   A   Yes.

 20   Q   Did you smell TCE in the sewer?

 21   A   I can't say that I did.      I can't say for sure that I

 22   didn't because the -- the paint smell was pretty overpowering.

 23   Q   As you were there for the three years, again, depending on

 24   the environment, but was it common for there to be a general

 25   haze within the facility as you were working there?
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  1   A      Certainly in the summer.     We had tanks of plating

  2   solutions that were very hot.       We have a lot of mist and

  3   evaporation; and during -- especially during the summers or

  4   dry winters, we had to, you know, do a lot of solvent

  5   manipulation and changing just so the paint operation would

  6   work.        In other words, not flash off too quickly, not flash

  7   off too slow.

  8   Q      When you say "solvent," you are talking about TCE?

  9   A      No.    I'm sorry.   I'm talking about paint solvents.     Paint

 10   solvents were -- the paint solvents and the plating tanks were

 11   the things that I was certainly most concerned about because

 12   the degreaser was working fine.

 13   Q      Did the degreaser in those kinds of days add to the haze

 14   in the facility?

 15   A      I can't say one way or the other really.

 16   Q      After you left in '77, did you have a reason ever to come

 17   back to the Von Duprin facility on Columbia Avenue, Martindale

 18   Hubble -- Martindale Hubble.        That's an inside lawyer joke --

 19   Martindale?

 20   A      I believe I came back once or twice --

 21   Q      You were in sales of chemicals after that, right?

 22   A      I was in sales of mostly plating chemicals.

 23   Q      And you sold that to Von Duprin for a little while, didn't

 24   you?

 25   A      The company that I worked for sold stuff to Von Duprin,
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  1   mostly plating chemicals and supplies.           Von Duprin was not my

  2   client.

  3   Q   The final question then is:          Did you have an opportunity

  4   after that to come back -- and what we're interested in -- and

  5   see that Detrex degreaser any time really after 1977?

  6   A   I'm sure I was in the area.          Did I notice the degreaser or

  7   take any active notice of it, no.

  8                MR. BOWMAN:    Okay.   Thank you very much.

  9                THE COURT:     All right.   We'll go ahead and have our

 10   afternoon break.     We'll take about 10, 15 minutes; and then we

 11   will allow the remaining lawyers to cross-examine the witness.

 12       (A recess was taken.)

 13                THE COURT:     You may be seated.

 14                We're ready for cross-examination.

 15                MR. GARDNER:     Very briefly, Your Honor.

 16                               CROSS-EXAMINATION

 17   BY MR. GARDNER:

 18   Q   Sir, Sam Gardner on behalf of the Major Defendants, Major

 19   Tool and Machine and Major Holdings LLC in this matter.            I've

 20   got very brief couple questions for you.

 21              During your testimony earlier today, you were asked

 22   about the use of trich or TCE at the Von Duprin facility, do

 23   you remember that?

 24   A   Yes.

 25   Q   You also noted that there were -- I wrote down "certainly
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                                   11125
                              FYE - CROSS/FRENCH                Vol. 3 - 728


  1   other solvents that were used at the facility"; is that

  2   correct?

  3   A   That's correct.

  4   Q   Are you familiar with the solvents tetrachlorethylene or

  5   perchloroethylene?

  6   A   I am.

  7   Q   Do you know if those solvents were used at any time at the

  8   Von Duprin facility?

  9   A   While I was there, I do not recall any use of perc,

 10   perchloroethylene.

 11   Q   And that would be the same -- also for tetrachlorethylene

 12   as well?

 13   A   Yes.

 14   Q   They're the same thing?

 15   A   Yes.

 16               MR. GARDNER:    No further questions, Your Honor.

 17               THE COURT:     That was brief.

 18               Ms. French.

 19               MS. FRENCH:     I believe I can be even briefer.

 20                              CROSS-EXAMINATION

 21   BY MS. FRENCH:

 22   Q   What exactly was in the barrels that you referenced being

 23   stored on the northern part of the Von Duprin property while

 24   you were working there?

 25   A   They were not identified.
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  1               MS. FRENCH:    Nothing further.

  2               THE COURT:    You have a very narrow area for any

  3   redirect.    Do you have any?

  4               MR. BOWMAN:    No, no, no.

  5               THE COURT:    Wonderful.     Thank you very much, sir.

  6   You may be excused.

  7       (Witness excused.)

  8               THE COURT:    Do you want to get one more witness in?

  9               MR. BOWMAN:    Call Kim Vedder.

 10       (Witness sworn.)
 11               THE COURT:    You may have a seat.

 12               Counsel wants to state her name for the record.

 13               MS. LASHBROOK:    This is April Lashbrook.       I

 14   represent the Indiana Department of Environmental Management.

 15   I'm here on behalf of the agency to represent Kim Vedder.

 16               THE COURT:    Thank you.

 17               All right.    Mr. Menkveld, you may.

 18               KIMBERLY VEDDER, DEFENDANT'S WITNESS, SWORN

 19                             DIRECT EXAMINATION

 20   BY MR. MENKVELD:

 21   Q   Good afternoon, Ms. Vedder.        Would you please state your

 22   name?

 23   A   Kim Vedder.

 24   Q   Will you spell your last name, please?

 25   A   V, as in Victor, E, as in Edward, D, as in David, another
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  1   D, E, as in Edward, R, as in Richard.

  2   Q   And your full first name is Kim or something longer?

  3   A   Kimberly.

  4   Q   Would you spell that, please?

  5   A   K-I-M-B-E-R-L-Y.

  6   Q   Who are you currently employed by?

  7   A   Indiana Department of Environmental Management.

  8              COURT REPORTER:     Excuse me, ma'am.      Could you move a

  9   little closer to the microphone?

 10   BY MR. MENKVELD:

 11   Q   Who are you currently employed by?

 12   A   Indiana Department of Environmental Management.

 13   Q   And what is your position with -- we'll call it IDEM?

 14   A   I am a geologist.

 15   Q   You have a bachelor's degree, correct?

 16   A   I have a bachelor of science in geology from Earlham

 17   College in Richmond, Indiana, and a master's of science degree

 18   in geology from Miami University in Oxford, Ohio.

 19   Q   In your role with IDEM, you worked on a property, a site

 20   located at 245 -- 2045 Dr. AJ Brown Avenue in Indianapolis; is

 21   that right?

 22   A   That is correct.

 23              MR. MENKVELD:     Please pull up Exhibit 1001.

 24   BY MR. MENKVELD:

 25   Q   Ms. Vedder, this is Exhibit 1001.        Can you identify where
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  1   the Ertel Manufacturing property is located?

  2   A   I want my other glasses.

  3                THE COURT:   And you can touch the screen, and it'll

  4   make a mark.

  5   A   (The witness complied.)

  6   BY MR. MENKVELD:

  7   Q   Thank you.     Now, are you aware that there were buildings

  8   on the Ertel site that have been demolished?

  9   A   Yes.

 10                MR. MENKVELD:     Please pull up Exhibit 1002 and go to

 11   page 128.    Bring the picture down for us, please.         Down the

 12   other way.

 13   BY MR. MENKVELD:

 14   Q   Okay, Ms. Vedder.        Now, on this photograph, can you

 15   identify the Ertel site as you know it?

 16   A   This does not show any property lines.         You want me to

 17   click on the building?

 18   Q   Yes.     I'm not looking for you to show property lines, just

 19   the area where the Ertel site is located.

 20   A   (The witness complied.)

 21   Q   I see a little pink line that I think you drew.           Sometimes

 22   it's an arrow.    Sometimes it's a line.       I just put a green

 23   arrow on the screen.      Is that where the Ertel building is

 24   located?

 25   A   That is where it was located.
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  1   Q   Right.   Okay.    So that's one of the buildings that was

  2   demolished; is that correct?

  3   A   That is correct.

  4   Q   Now, does this figure also depict a property that we

  5   sometimes refer to as the Zimmer Paper parcel?

  6   A   There was a Zimmer parcel, and there was a Zimmer Paper

  7   Company.

  8   Q   Will you tell us on this figure what you refer to as the

  9   Zimmer parcel?

 10   A   Zimmer parcel is this -- had this building on it.

 11   Q   And -- right there, where I just put the arrow?

 12   A   That is correct.

 13   Q   And the building on the Zimmer parcel is located then to

 14   the southeast of where I put the arrow on the Ertel building;

 15   is that correct?

 16   A   That is correct.

 17   Q   Is it your understanding that the buildings that we just

 18   highlighted on the screen have been demolished?

 19   A   That is correct.

 20   Q   Now, you were in your role at IDEM involved in the

 21   investigation and remediation of the Ertel site and the Zimmer

 22   parcel; is that correct?

 23   A   That is correct.

 24   Q   When did you become involved in that project?

 25   A   February 2005.
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  1   Q   And if you will, explain to us and the Court what your

  2   involvement was with that project?

  3   A   I was the assigned geologist.

  4   Q   And as the geologist, what was your job to perform in this

  5   particular area?

  6   A   To review investigative proposals and to review the work

  7   and the sampling results that were collected from that work.

  8   Q   Did you have any input into what samples were taken and

  9   from what locations?

 10   A   Some.

 11   Q   And you probably worked with a team of people at IDEM who

 12   all worked together to investigate this particular area; is

 13   that right?

 14   A   Yes.

 15   Q   And within that team, you were the project geologist; is

 16   that correct?

 17   A   Yes.

 18   Q   Now, were you in every building that made up the Ertel

 19   site before the buildings were demolished?

 20   A   Yes.

 21   Q   Am I right when I say that you had to visit the Ertel site

 22   so often that you actually lost track of how many times you

 23   were there?

 24   A   That is correct.

 25   Q   Now, will you please describe for us the condition of the
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  1   Ertel site when you first saw it before investigations began?

  2   A   It was abandoned, neglected.       There was a lot of foundry

  3   waste and probably --

  4                COURT REPORTER:   Ma'am, I'm sorry.      I'm having

  5   trouble hearing you.

  6                THE WITNESS:   Sorry.

  7                It was abandoned, neglected.      Part of the building

  8   was falling down.     There was quite a bit of foundry waste

  9   inside and outside.     There was a lot of petroleum oil waste.

 10   There were drums in certain parts of the building.           There was

 11   oil in the southern part of the building.         There was standing

 12   water inside the building in certain parts.

 13   BY MR. MENKVELD:

 14   Q   Was the Ertel site and the building so bad that it

 15   actually gave you nightmares for a period that you recall?

 16   A   I don't remember.

 17   Q   Now, when you walked in the Ertel building, do you

 18   remember a sludge that -- on the floor of some of the Ertel

 19   buildings?

 20   A   Yes.

 21   Q   And I believe you said that there was standing water.

 22   That was in some of the buildings, correct?

 23   A   That was where you put the top green arrow, yes.

 24   Q   Now, did you also witness a basement that was flooded in

 25   the Ertel building at one point?
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  1   A      Yes.

  2   Q      Did you refer to that as a PCB basement or was that

  3   another basement?

  4   A      There were two basements that were both flooded at times.

  5   Q      Now, did the water in both of the basements actually rise

  6   and fall at various times?

  7   A      In the PCB basement it did.     Sometimes it was dry.

  8   Sometimes it was up, depending on groundwater.           The other

  9   basement, we did not have sufficient information on to

 10   evaluate whether it was going up or down.

 11   Q      And Ms. Vedder, if I could get you to slow down just a

 12   little bit, just for the sake of the court reporter.           Thank

 13   you.

 14                 So I believe you said the water in one of the

 15   basements would actually rise and fall with the groundwater

 16   rising and falling; is that correct?

 17   A      Correct.     That was the PCB basement.   There were no

 18   solvents there.        There was just PCB.

 19   Q      That's okay.     We're --

 20                 Now, was there a mosquito problem --

 21   A      Yes.    That was the northern basement.

 22   Q      Ms. Vedder --

 23                   THE COURT:   Let me give instructions.

 24                   Would you please let him finish his question before

 25   you talk because the court reporter is doing stenographic
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  1   transcription, and she can't double take.          So she needs you to

  2   let the attorney finish his question, and then you may give

  3   your answer; and he'll allow you to finish your answer.            Thank

  4   you.

  5                  And if you would continue to talk into the

  6   microphone because I'm having difficulty hearing you also.

  7   Thank you.

  8   BY MR. MENKVELD:

  9   Q      Okay.   Ms. Vedder, you're aware that Moran challenged the

 10   issuance of certain IDEM actions, right, an NFA on the Ertel

 11   site, for example?

 12   A      Yes.

 13   Q      And you have given testimony in the hearings on behalf of

 14   IDEM; is that correct?

 15   A      Yes.

 16                  MR. MENKVELD:     Your Honor, I would just like to

 17   treat the witness as hostile so I can ask leading questions

 18   from this point forward.

 19                  THE COURT:    Any objections?   He wants to lead.

 20                  MR. GRIGGS:     No.

 21                  THE COURT:    Okay.   I'll allow you to lead.

 22   BY MR. MENKVELD:

 23   Q      Now, there was a mosquito problem in the PCE basement that

 24   flooded; is that right?

 25   A      In the northern basement, correct.
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  1   Q   What was done to remedy that mosquito problem?

  2   A   We contacted Marion County Health Department.           They

  3   brought fish to eat the mosquitoes and their larvae.

  4   Q   And those mosquitoes would actually spend the winter

  5   there, right?

  6   A   Correct.

  7   Q   So during that period of at least one winter, a building

  8   on the Ertel property was flooded; is that right?

  9   A   Can you restate the question?

 10   Q   Yeah.   So at least during one winter, there were fish

 11   living in this basement in the water, correct?

 12   A   Correct.

 13   Q   Which means that the water was in the basement over the

 14   winter for at least one winter, correct?

 15   A   In that basement, correct.

 16   Q   Now, isn't it also the case that there was a water main

 17   that broke inside of an Ertel building?

 18   A   Yes, in early 2007 in the foundry building.

 19   Q   If you will, you can point to which building the foundry

 20   building is on the figure that's on your screen.

 21            There are a couple marks on here.        Let me clear them;

 22   and if you could point to them again, I would appreciate it?

 23   A   (The witness complied.)

 24   Q   And because of that water main that broke, there was

 25   actually standing water in the Ertel building; is that right?
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  1   A   Inside that particular building, yes.

  2   Q   When that water pooled, did you notice that the pool of

  3   water actually had its own sheen on it?

  4   A   No, not the water from that broken main.

  5   Q   Which water did you once describe as having its own sheen

  6   on it?

  7   A   I think that's the water in the storm sewer.

  8   Q   The water in the storm sewer that's on the Ertel site?

  9   A   Correct, next to that foundry building.

 10   Q   Now, the water that flooded the Ertel buildings would

 11   actually wash out of the Ertel buildings and into the storm

 12   sewer; is that correct?

 13   A   Somewhat correct.     There was only one building that had

 14   water flooding out of it; and that's that last building I

 15   marked, the foundry building on the very east side of the

 16   property where the water main broke.        That water went into

 17   that building that had foundry waste there, and then it --

 18   some of that water exited that building on the west side of

 19   that building; and it pooled a little bit along the west side

 20   of that same building.

 21            I'm not really aware of other parts of any of that

 22   structure that was flooded to the point where water was

 23   leaving the building.     That foundry building is the only one

 24   that I recall having water leave the building.

 25   Q   Okay.   Wasn't there a concern that the water leaving that
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                                   11136
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  1   building might actually be carrying TCE or PCE?

  2   A   I don't recall, but the sampling data shows there was no

  3   TCE or PCE in that building.       And it's foundry waste, so

  4   foundry waste does not contain PCE or TCE.

  5   Q   Okay.    Let's just stick to the question, Ms. Vedder.          I

  6   appreciate that.

  7              Were you able to test the concentrations of the

  8   contaminants leaving the Ertel building and entering the storm

  9   sewers?

 10   A   We did not sample the water going into the storm sewer.

 11                MR. MENKVELD:    Pull up Exhibit 1219, please, PDF

 12   page 38.

 13   BY MR. MENKVELD:

 14   Q   Ms. Vedder, I'm just showing this to you to refresh your

 15   recollection.     The last sentence of this building [sic] refers

 16   to TCE, PCE and PCBs.        If you read the last part of the

 17   sentence, it says, "Based on historic knowledge of the

 18   property and without proper sampling of the runoff, these

 19   chemicals of concern cannot be ruled out as entering the storm

 20   sewer and runoff."

 21              Did I read that correctly?

 22   A   Yes.

 23   Q   And the question is, was the water that was actually

 24   running off into the storm sewers tested?

 25   A   No.
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  1   Q   Now, were you also involved in the remediation of the

  2   Zimmer parcel?

  3   A   Somewhat.

  4   Q   What was your involvement in the Zimmer parcel?

  5   A   They showed us proposals, but it was not enrolled in the

  6   Brownfields program.     So in my mind, we did not provide

  7   regulatory feedback in order -- the type of feedback we would

  8   normally provide in order to achieve closure from a regulatory

  9   program.

 10   Q   At that time, you said the Zimmer parcel was not enrolled

 11   in a regulatory program?

 12   A   That is correct.

 13   Q   You're aware that soils were removed from that property?

 14   A   Yes.

 15   Q   Were those soils removed from that property with IDEM

 16   oversight?

 17   A   Could you specify "IDEM oversight"?

 18   Q   Did IDEM approve of the soil removal on the Zimmer parcel?

 19   A   Only to the extent that we felt that removing soil was not

 20   going to create a problem.

 21   Q   Now, during remediation activities on the Zimmer parcel,

 22   are you aware that there was a leaking drum found on the

 23   Zimmer parcel?

 24   A   I don't remember.

 25                MR. MENKVELD:   Pull up Exhibit 1219, please, page 4.
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  1   BY MR. MENKVELD:

  2   Q   Ms. Vedder, this is an e-mail from you to Mr. Chris

  3   Harell; is that correct?

  4              Is that correct?

  5   A   Yes.    I'm still reading it.

  6   Q   Okay.    I'll read it for you.      The -- there are only three

  7   sentences to this e-mail.      The second one, you can read it to

  8   us or I can read it to you, whichever you prefer.

  9   A   Would you read it?

 10   Q   Sure.    "The drums were Zimmer drums and are being removed

 11   to inside the Zimmer building to a containment area.           The

 12   leaking drum will be cleaned up and removed by a contractor

 13   who will also dispose of other drums."

 14              Did I read that correctly?

 15   A   Yes.

 16   Q   And when you refer to "Zimmer drums" in the Zimmer

 17   building, are you referring to the Zimmer parcel in this

 18   e-mail?

 19   A   I presume so.

 20   Q   Were any other Zimmer properties being remediated at that

 21   time?

 22   A   No.

 23   Q   Now, at some point, you drew a map of the Ertel and the

 24   Zimmer area; is that correct?

 25   A   I drew multiple maps, yes.
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  1   Q    And there were in these maps in this area -- those

  2   buildings were actually numbered; is that right, as in A, B,

  3   C?

  4   A    I am not sure whether I used those numbers.         I know that

  5   QEPI used those numbers.      I don't know whether I used them on

  6   any of my maps.     I don't remember.

  7   Q    Sure.    But you have seen QEPI's maps?

  8   A    That is correct.

  9   Q    And I'm not going to admit this as an exhibit, but I would

 10   like to just hand you figure 1 from a QEPI report.           Just if

 11   you would take a look in particular at the numbers on the

 12   Zimmer property.

 13               Do you see those numbers?

 14   A    Yes.

 15   Q    Does that refresh your recollection at all as to what

 16   numbers were used to identify the buildings on the Zimmer

 17   property?

 18                MS. KRAHULIK:   Excuse me.     Can you identify for us

 19   what you're showing the witness?

 20                MR. MENKVELD:   Sure.    It's a figure from a QEPI

 21   report dated April 16th of 2007.

 22                THE COURT:   Does it have an exhibit number?

 23                MR. MENKVELD:   No.     It's just used to refresh her

 24   recollection, Your Honor.

 25                If you would, please, pull up Exhibit 1073.        Let's
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  1   go to page 46.

  2   BY MR. MENKVELD:

  3   Q      Ms. Vedder, do you recollect that this building was

  4   referred to often as building K?

  5   A      I recollect seeing it on the exhibit you just showed me.

  6   Q      But aside from that, you don't remember that?

  7   A      No.

  8   Q      Did you ever refer to that building as the little blue

  9   building on Zimmer?

 10   A      Possibly.

 11   Q      During IDEM's investigation, do you know if that building

 12   I just circled -- it's the sort of irregular shape in the top

 13   left -- the northwest corner of the Zimmer parcel -- do you

 14   know if that building was determined to be a source of PCE or

 15   TCE?

 16   A      There was no determination made, at least that I can

 17   remember.

 18                MR. MENKVELD:    Just pull up Vedder's first

 19   deposition, Vedder 1, please.       Go to PDF 52.     Page 205?

 20                MR. GRIGGS:     Marc, could you alert us what exhibit

 21   number we're looking at?

 22                MR. MENKVELD:    This is not an exhibit.     This is a

 23   deposition that the witness gave.

 24                You know what, I'll actually make this a little

 25   easier for you, Ms. Vedder, if I can.
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                                   11141
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  1   BY MR. MENKVELD:

  2   Q   Ms. Vedder, do you remember your deposition was taken in a

  3   lawsuit previously filed by the City of Indianapolis against

  4   Ertel Manufacturing Corporation on April 7th of 2010?

  5   A   I am aware of that lawsuit, and I'm aware that I gave a

  6   deposition.

  7   Q   It's been a while.       You probably don't remember the exact

  8   date, right?

  9   A   I remember nothing.

 10   Q   If you would, please, just read -- I'm going to hand you a

 11   copy here.     If you would read line 7 of page 205 here, and

 12   then just read all of page 206.

 13   A   Seven through 25?

 14   Q   Um-hum.

 15   A   So this reads --

 16   Q   Just read it to yourself, please.

 17   A   Oh.

 18   Q   Is that sufficient to refresh your recollection that there

 19   was a PCE or TCE source in the little blue building on the

 20   Zimmer property?

 21   A   Yes.

 22   Q   And was there --

 23                MR. MENKVELD:   If you could pull up 1073 again,

 24   please.

 25
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  1   BY MR. MENKVELD:

  2   Q   Does that refresh your recollection as to whether there's

  3   a source from that building that I just circled on the Zimmer

  4   property?

  5   A   I'm not sure I understand the question.         Are you asking me

  6   whether that building was a source or whether the

  7   contamination from there had been determined to be derived

  8   from there?     You're asking me whether there was a potential

  9   source there?

 10   Q   I'm asking when you were working on this property, did you

 11   determine that there was a TCE or PCE source from that little

 12   blue building on the Zimmer parcel?

 13   A   A potential source, yes.

 14   Q   As part of those lawsuits, you were deposed again about a

 15   month later on May 7th of 2010, right?         Do you remember being

 16   deposed multiple times during those lawsuits?

 17   A   I'm sorry.     I don't remember being deposed multiple times.

 18   Q   Well, here again, you were asked -- let's get you to read

 19   these two pages.     445, please.

 20   A   Here?

 21   Q   Um-hum.

 22            Does that refresh your recollection, Ms. Vedder?           When

 23   you were asked the question, "Do you think the little blue

 24   building is a source area," what was your answer?

 25   A   I said that I thought it was a source.
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  1   Q   Thank you.    Now, do you have recollection that the doors

  2   from this building that I just circled lined up with the doors

  3   of the Ertel building?

  4   A   Yes.

  5   Q   And based on what you observed, was it your belief that

  6   people working in the Ertel building went to this building to

  7   wash parts, to clean parts?

  8   A   That was a guess.

  9   Q   Okay.   Now, was it your belief based on your observations

 10   that there was an in-ground degreaser in that building?

 11   A   Yes.

 12   Q   Now, are you aware in 2007 that a company in the area

 13   wanted to redevelop the Ertel and Zimmer parcel?

 14   A   Yes.

 15   Q   And what was the name of that company?

 16   A   Major Tool.

 17   Q   Are you aware that Major Tool had certain deadlines to

 18   meet to construct a new building on the Ertel site and the

 19   Zimmer parcel?

 20   A   Yes.

 21   Q   Is it your belief that Major Tool was pushing and

 22   timing -- or excuse me -- driving the timing and deadlines for

 23   remediation of the Ertel site?

 24   A   It's my belief that it was a cooperative effort between

 25   IDEM and Major Tool and the city to try and meet those
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  1   deadlines.

  2   Q      I appreciate that, but I want you to focus on my question.

  3                 Do you believe that Major Tool was pushing the

  4   deadlines for remediation of the Ertel site?

  5   A      I don't know.

  6                   MR. MENKVELD:    Pull up OEA day 3, please, PDF 13,

  7   533.

  8   BY MR. MENKVELD:

  9   Q      Ms. Vedder, you remember testifying at an OEA hearing

 10   involving Moran Electric; is that correct?

 11   A      Yes.

 12   Q      You actually testified twice -- or actually just once

 13   during those hearings; is that correct?

 14   A      I don't remember.        I have lost track of how many times I

 15   have been asked to testify.

 16   Q      And I appreciate that.

 17                   MR. MENKVELD:    Let's go to the first page, please.

 18   BY MR. MENKVELD:

 19   Q      So this is a transcript taken from the third day --

 20                   MR. MENKVELD:    Scroll down, please.

 21   BY MR. MENKVELD:

 22   Q      -- of an OEA hearing on October 26th of 2016.        Would you

 23   dispute that you actually gave testimony on that day, which I

 24   understand was some time ago?

 25   A      I remember that -- giving testimony on that day.
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  1                MR. MENKVELD:   Go to PDF page 13, please.

  2   BY MR. MENKVELD:

  3   Q   On line 5 of this page we see, you were asked, "Wasn't it

  4   your belief that Major Tool and Machine, Inc. was pushing the

  5   timing and driving the deadlines of Ertel remediation at the

  6   Ertel site?"

  7              What was your answer on line 9?

  8   A   I said, "Yes."

  9                MR. MENKVELD:   You can take it down.

 10   BY MR. MENKVELD:

 11   Q   Do you know who Chris Rothenberger is?

 12   A   Yes.

 13   Q   Was there a time when you spoke -- actually, tell us who

 14   Chris Rothenberger is.

 15   A   I believe he was the health and safety person with Major

 16   Tool.

 17   Q   Did you work with Mr. Rothenberger when some investigation

 18   of this particular area was done?

 19   A   Yes.

 20   Q   And at some point, you wanted to take soil samples of the

 21   Major property; is that correct -- the Major Tool property?

 22   A   Yes.

 23   Q   And I believe you refer to that as the Dynagear courtyard?

 24   A   Yes.

 25   Q   And the Dynagear courtyard is what was formerly the Moran
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  1   property; is that correct?

  2   A   Yes.

  3   Q   Those samples were not taken, were they -- the groundwater

  4   samples?

  5   A   I don't remember.     It sounds -- I really don't remember.

  6   Q   Do you recall Mr. Rothenberger not being comfortable with

  7   groundwater samples being taken on that property and,

  8   therefore, they weren't?

  9   A   I recall both of us perhaps not being 100 percent

 10   comfortable with that topic without getting permission from

 11   legal advice; and that may be why they weren't taken, if they

 12   weren't taken, which I can't quite remember.

 13   Q   Let's see if we can help you.

 14              I'm going to hand you the transcript from your

 15   deposition dated May 7, 2010, the one that you just looked at

 16   a few minutes ago here.      This was taken in the case of the

 17   City of Indianapolis versus Ertel Manufacturing.          I realize

 18   this was in 2010.     If you would read from line 10 down,

 19   please.

 20              Done?

 21   A   Um-hum.

 22   Q   After reading that, can you say today that

 23   Mr. Rothenberger was not comfortable with those groundwater

 24   samples being taken?

 25   A   Yes.
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  1                MR. MENKVELD:   Pass the witness.

  2                THE COURT:   Ms. Krahulik, you may cross-examine the

  3   witness.

  4                              CROSS-EXAMINATION

  5   BY MS. KRAHULIK:

  6   Q   Hi, Ms. Vedder.       I don't know that we've met.      I'm Angela

  7   Krahulik, and I represent Major Tool and Machine and Major

  8   Holdings in this case.

  9              Mr. Menkveld was just asking you about sampling at a

 10   property owned by Major Tool and Machine; and that was not to

 11   be sampling on the main Major Tool and Machine campus, right?

 12   It was on the property formerly owned by Moran Electric?

 13   A   Yes.

 14   Q   You mentioned earlier that the closure -- the remediation

 15   efforts and the closure and redevelopment of the Ertel, former

 16   Zimmer properties was a cooperative effort between the

 17   agencies and Major Tool and Machine and also the city, right?

 18   A   Yes.

 19   Q   And was there an award given related to the success of

 20   that effort?    Do you remember?

 21   A   No, I don't remember.

 22   Q   You don't remember going to a dinner where someone

 23   received an award for the redevelopment?

 24   A   No, I really don't.       I probably would not have been part

 25   of that.
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  1   Q   Do you remember a tank being removed from the former

  2   Zimmer property that you marked on the map?

  3   A   Yes.

  4   Q   A rather large tank?

  5   A   Yes.

  6   Q   Do you remember if that tank was leaking?

  7   A   I don't remember.      I don't remember.

  8   Q   If it was, would leaking be caused by the removal or it

  9   was leaking so it was removed?

 10              MR. MENKVELD:     Objection.    Speculation.

 11              THE COURT:    Do you have a response to the objection?

 12              MS. KRAHULIK:     I'll withdraw the question.

 13   BY MS. KRAHULIK:

 14   Q   Would Nivas Vijay be the right person to ask about the

 15   removal of that tank and its condition?

 16   A   Yes.   I don't think we were present for that removal.           I

 17   would ask Nivas, but the tank would have been removed because

 18   it was in the way of the redevelopment.

 19   Q   And it was the right thing to do to remove the tank?

 20   A   Yes.

 21              MS. KRAHULIK:     No further questions.      Thank you.

 22              MR. GRIGGS:     Von Duprin has no questions for this

 23   witness.

 24              THE COURT:    Do you have any redirect?

 25              MR. MENKVELD:     No redirect, Your Honor.
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  1              THE COURT:    Thank you, ma'am.      You are excused.

  2              Counsel, you and your client may leave.

  3       (Witness excused.)

  4              THE COURT:    All right, lawyers.      It's 4:30.    Do you

  5   have any more witnesses for today?

  6              MR. MENKVELD:     We don't, Your Honor.      The next

  7   witness on the list, I believe, is Ms. Weir, who I believe is

  8   expected to go in the morning.

  9              THE COURT:    Okay.    Ms. Weir will be here in the

 10   morning.   We just don't want people to have to keep coming

 11   back.

 12              MS. KRAHULIK:     Yes, she will be here.

 13              THE COURT:    All right.    We'll go ahead and adjourn

 14   for the day.    We'll start back at 8:30 a.m.       Who do we have

 15   tomorrow other than Ms. Weir?       Is she it for tomorrow?

 16              MS. KRAHULIK:     She is because the next witness that

 17   Moran was going to call won't be here until Wednesday.

 18              THE COURT:    And that's your expert?

 19              MS. KRAHULIK:     That is Moran's expert.

 20              THE COURT:    Who do you have left?      Who are you going

 21   to call?

 22              MS. KRAHULIK:     We have Natalie Weir.      We have Chris

 23   Rothenberger.    We have Rob Walker, who's our expert; Gary

 24   Hokkanen, who is our expert.

 25              Who am I forgetting, Sam?       Nivas Vijay, and Nivas
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  1   can't be here until next week either.          He's got an

  2   out-of-state wedding.

  3                THE COURT:    So you're anticipating doing your four

  4   witnesses on Wednesday?

  5                MS. KRAHULIK:     Wednesday, Thursday, because I know

  6   we're done Thursday early.

  7                THE COURT:    Thursday we're going till 3.

  8                Tomorrow we'll -- tomorrow I get my award.        So

  9   tomorrow we go to noon.

 10                MS. KRAHULIK:     I believe Natalie Weir will probably

 11   take the whole time tomorrow.       We may be done a little bit

 12   earlier.

 13                THE COURT:    So we will do Ms. Weir tomorrow.         Then

 14   you've got your other three witnesses.          Who do you have left?

 15                MR. MENKVELD:    Just our expert, Dr. Love.

 16                THE COURT:    Okay.   We're doing --

 17                MS. KRAHULIK:    We have four more witnesses, Your

 18   Honor.     I believe they will finish their case, and then we

 19   will put on the rest of ours.        We're just taking Natalie Weir

 20   out of order to use the time.

 21                THE COURT:    Mr. Griggs, the only person you have

 22   left is Love, right?

 23                MR. GRIGGS:     That's correct.

 24                THE COURT:    All we need is Love.     As soon as we get

 25   Mr. Love here, we can wrap this case up.
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  1              All right, lawyers.      Have a good evening, and I'll

  2   see you at 8:30 a.m.

  3              COURTROOM DEPUTY:     All rise.

  4             (The proceedings were adjourned at 4:31 p.m.)
  5

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  1                      CERTIFICATE OF COURT REPORTER
  2

  3        I, Cathy Jones, hereby certify that the foregoing is a
  4   true and correct transcript from reported proceedings in the
  5   above-entitled matter.
  6

  7

  8    /s/ Cathy Jones                                August 14, 2019
    ______________________________
  9   CATHY JONES, RDR, FCRR
      Official Court Reporter
 10   Southern District of Indiana
      Indianapolis Division
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